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                                    Exhibit 7.3

                        Restructuring Transactions Notice

                 [To be filed on or before the Exhibit Filing Date]
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                                   Exhibit 7.4(a)

             Certificate Of Incorporation For Reorganized DPH Holdings

                  [To be filed on or before the Exhibit Filing Date]
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                                  Exhibit 7.4(b)

                     Bylaws Of Reorganized DPH Holdings

                 [To be filed on or before the Exhibit Filing Date]
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                                          Exhibit 7.7

                                Master Disposition Agreement

[Exhibits and Schedules to the Master Disposition Agreement will be filed under separate notice]
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          FREEDOM OF INFORMATION ACT CONFIDENTIALITY REQUESTED

                                                          EXECUTION COPY




                   MASTER DISPOSITION AGREEMENT

                                 AMONG

                         DELPHI CORPORATION,

                   GM COMPONENTS HOLDINGS, LLC,

                 GENERAL MOTORS CORPORATION
(SOLELY WITH RESPECT TO ARTICLE 6 AND SECTIONS 9.11.1, 9.19, AND 9.38),

                     PARNASSUS HOLDINGS II , LLC,

                                   AND

       THE OTHER SELLERS AND OTHER BUYERS PARTY HERETO

                              DATED AS OF

                                June 1, 2009
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                         MASTER DISPOSITION AGREEMENT

        THIS MASTER DISPOSITION AGREEMENT (this “Agreement”), dated as of June 1,
2009, is among DELPHI CORPORATION, a Delaware corporation (“Delphi”) on behalf of
itself and the other entities set forth on Schedule 1 and Schedule 2; GM COMPONENTS
HOLDINGS, LLC, a Delaware limited liability company (“Parent”), on behalf of itself and the
other buyers set forth on Schedule 1, which is to be provided by Parent to Delphi as provided in
this Agreement (each a “GM Buyer,” and, collectively with Parent and the Australian Buyer (as
defined below), the “GM Buyers”); GENERAL MOTORS CORPORATION, a Delaware
Corporation ("GM") (solely with respect to ARTICLE 6 and Sections 9.11.1, 9.19, 9.38.1 and
9.38.2); PARNASSUS HOLDINGS II, LLC, a Delaware limited liability company on behalf of
itself and the other buyers that may later be set forth on Schedule 2 as provided in this
Agreement (“Company Buyer,” and collectively with the GM Buyers, the “Buyer” or
“Buyers”).

       WHEREAS, Parent is a direct or indirect subsidiary of GM;

       WHEREAS, Company Buyer is an Affiliate of Platinum Equity Capital Partners II, L.P.;

       WHEREAS, Delphi, through certain of its Affiliates referred to in this Agreement, is
engaged in the Steering Business and the business conducted at the UAW Sites (but excluding
the business conducted at the technical centers included in the UAW Sites other than the
Lockport technical center) (together, the “GM Business”) and the Company Business (as
hereinafter defined);

        WHEREAS, the GM Securities Sellers (as hereinafter defined) own, directly or
indirectly, the GM Sale Securities (as hereinafter defined), and the Company Securities Sellers
(as hereinafter defined) own, directly or indirectly Company Sale Securities (as hereinafter
defined);

       WHEREAS, the GM Asset Sellers (as hereinafter defined) own the GM Acquired Assets
(as hereinafter defined), and the Company Asset Sellers (as hereinafter defined) own the
Company Acquired Assets (as hereinafter defined);

        WHEREAS, on October 8, 2005 (the “Petition Date”), the Filing Affiliates (as
hereinafter defined) filed voluntary petitions for relief (the “Bankruptcy Cases”) under Chapter
11 of Title 11, U.S.C. §§ 101-1330 (as then amended) (the “Bankruptcy Code”), in the United
States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”);

       WHEREAS, this Agreement shall be an Exhibit to the Plan of Reorganization (as
hereinafter defined);

        WHEREAS, Delphi and the applicable Sellers desire to sell substantially all of their
assets and specified liabilities with respect to the GM Business and the Company Business to the
applicable Buyers and the Buyers desire to acquire substantially all of such assets and the
specified liabilities as set forth in this Agreement; and


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        WHEREAS, in furtherance of that desire and as contemplated by Sections 365, 1123 and
1146 of the Bankruptcy Code and in furtherance of the Filing Affiliates’ plan of reorganization,
the GM Securities Sellers, Company Securities Sellers, the GM Asset Sellers and Company
Asset Sellers desire to sell or cause the sale to the applicable Buyers all of their respective right,
title and interest in and to the GM Sale Securities, the Company Sale Securities, GM Acquired
Assets (as hereinafter defined) and the Company Acquired Assets (as hereinafter defined), and
Buyers desire to make such purchase, subject to and in accordance with the terms and conditions
set forth in this Agreement.

       NOW, THEREFORE, in consideration of the premises and the representations,
warranties, covenants and agreements contained in this Agreement and other good and valuable
consideration, and intending to be legally bound, the Parties agree as follows:

                                           ARTICLE 1.
                                          DEFINITIONS.

              1.1      Certain Defined Terms.

       As used in this Agreement, the following terms have the meanings set forth below or in
the Sections referred to below:

       "363 Sale Motion" – Section 9.2.1.

        “Accounts Receivable” means all trade accounts receivable, including intercompany
trade receivables, and other rights to payment from customers and all other accounts or notes
receivable from third parties and Affiliates and the full benefit of all security for such accounts or
notes that are not received prior to the Closing Date.

       “Acquired Assets” means the GM Acquired Assets and the Company Acquired Assets.

       “Acquired Contracts” means all Contracts that relate to the GM Business or the
Company Business, as the case may be, provided that in the case of Pre-Petition Contracts, the
Acquired Contracts include only the Assumed and Assigned Contracts.

         “Administrative Assets” of an Asset Seller, means books, records and instruments
relating to the business, operations, condition of (financial or other), or results of operations of
such Asset Seller with respect to the applicable Business and other administrative assets
including advertising and promotional materials, catalogues, price lists, correspondence, mailing
lists, customer lists, vendor lists, photographs, production data, computer files, operating data
and plans, sales materials and records, purchasing materials and records, personnel records of
employees, billing records, sale order files, accounting records, other financial records, and
related work papers that relate to the applicable Acquired Assets, budgets, pricing guidelines,
ledgers, journals, deeds and title policies; provided, however, that Administrative Assets do not
include Intellectual Property, Technical Documentation, Environmental Records or GM
Environmental Records.

       “Administrative Claims” means a Claim for payment of an administrative expense of a
kind specified in section 503(b) of the Bankruptcy Code and entitled to priority pursuant to


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section 507(a)(1) of the Bankruptcy Code, including, but not limited to, claims arising under the
DIP Agreement, the actual, necessary costs and expenses, incurred on or after the Petition Date,
of preserving the estates and operating the business of Delphi, including wages, salaries, or
commissions for services rendered after the Petition Date, professional claims, all fees and
charges assessed against the estates under chapter 123 of title 28, United States Code, and all
allowed claims that are to be treated as Administrative Claims pursuant to a Final Order of the
Bankruptcy Court under section 546(c)(2)(A) of the Bankruptcy Code.

        “Affiliate” means, with respect to any Person, any Person which directly or indirectly
through one or more intermediaries, controls, or is controlled by, or is under common control
with, such Person. The term “control” for purposes of this definition, means ownership of more
than fifty percent (50%) of the shares or other equity interest and having power to elect a
majority of the members of the board of directors or similar body governing the affairs of such
Person. For the purpose of applying this definition to GM under Section 9.13.2, “control” means
ownership of more than twenty percent (20%) of the shares or other equity interests of such
Person.

       “Agreement” – Recitals.

       “Ancillary Agreements” means the GM Ancillary Agreements or the Company
Ancillary Agreements, as applicable.

         “Appaloosa Claim” means Delphi’s claims against Appaloosa Management L.P. or any
other plan investors or other parties arising from or relating to the Equity Purchase and
Commitment Agreement, dated as of August 3, 2007, as amended, including that certain
litigation against Appaloosa Management L.P. and other plan investors who were party to such
Equity Purchase and Commitment Agreement, as amended, and styled Delphi Corporation v.
Appaloosa Management L.P., et al., filed in the U.S. Bankruptcy Court S.D.N.Y. on May 16,
2008 (Case No. 05-44481), including any settlements, modifications or claims related thereto.

        “Asset Sellers” means the GM Asset Sellers and the Company Asset Sellers, as
applicable.

        “Assumed Administrative Liabilities” means the Administrative Claims excluding
Liabilities under the DIP Agreement, with respect to the categories set forth on Schedule 1.1.A
and, with respect to the GM Buyers, those Hedging Agreements which they assume.

       “Assumed and Assigned Contracts” – Section 9.3.

       “Assumed Liabilities” – GM Assumed Liabilities or Company Assumed Liabilities, as
applicable.

       “Australian Assets” means the GM Acquired Assets located or taken to be located in
Australia.

     “Australian Buyer” means the Australian Buyer of the Australian Assets, Rhodes
Automotive manufacturing Pty Limited ABN 41 129 320 494.



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     “Australian Seller” means the Australian Seller of the Australian Assets, Delphi
Automotive Systems Australia Limited ABN 31 065 439 885.

       “Bankruptcy Cases” – Recitals.

       “Bankruptcy Code” – Recitals.

       “Bankruptcy Court” – Recitals.

       “Bankruptcy Rules” mean the U.S. Federal Rules of Bankruptcy Procedure.

        “Brazilian Real Estate” means the fraction of the condominium stated as being owned
by Delphi Brazil and enrolled under the real estate certificate (matrícula) No. 76.477 registered
before the real estate register office of the City of Porto Alegre, State of Rio Grande do Sul.

       “Business” means the GM Business or the Company Business, as applicable.

       “Business Day” means any day that is not a Saturday, a Sunday or other day on which
banks are required or authorized by law to be closed in the City of New York.

       “Buyer Loan Documents” means the loan documents to be executed on or prior to the
Closing pursuant to which GM and an Affiliate of Company Buyer have agreed to make certain
loans and provide certain financial accommodations to Company Buyer.

       “Buyer(s)” – Recitals.

       “Buyer Transition Services Agreement” means the Transition Services Agreement in
the form attached hereto as Exhibit 1 to be entered between GM Buyers and Company Buyer.

       “C Lenders” means all Tranche C Lenders (as defined in the DIP Agreement).

        “Cash” means the sum of cash, cash equivalents and liquid investments plus all deposited
but uncleared bank deposits at Closing and less all outstanding checks and electronic payments
of the Business, in each case as determined in accordance with GAAP.

      “China Entities” means Delphi Saginaw Lingyun Drive Shaft Co. Ltd., Saginaw
Lingyun Drive Shaft (Wuhu) Co., Ltd. and Saginaw Steering (Suzhou) Co., Ltd.

       “China L/C” – Section 9.23.1.

       “China L/C Period” – Section 9.23.1.

       “Claims” mean all bankruptcy claims (as defined in Section 101 of the Bankruptcy
Code), other claims, written notices, causes of actions, proceedings, complaints, investigations
and Proceedings, of any nature whatsoever.

       “Closing” – Section 11.1.1.

       “Closing Date” – Section 11.1.1.


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       “Code” means the Internal Revenue Code of 1986, as amended.

       “Collective Bargaining Agreements” mean all collective bargaining agreements with
any labor union, works council or other representatives of Transferred Employees (including
local agreements, amendments and supplements, and material letters and memoranda of
understanding of any kind) that are in effect as of the date of this Agreement.

      “Commercial Agreement” means the Commercial Agreement among the GM Buyers
and Company Buyers of even date herewith.

       “Company Acquired Assets” – Section 2.1.4.

      “Company Ancillary Agreements” means the Transfer Agreements and other
agreements referred to in Section 11.3.

        “Company Asset Buyer(s)” means the Buyers set forth on Schedule 2, which Company
Buyer will use commercially reasonable efforts to provide to Delphi ten (10) Business Days after
the date of this Agreement, with respect to the assets set forth opposite their names.

        “Company Asset Sellers” means Sellers set forth on Schedule 2, with respect to the
assets set forth opposite their names.

       “Company Assumed Liabilities” – Section 2.2.2

        “Company Business” means all businesses of Delphi and its subsidiaries, other than the
GM Business, the businesses solely conducted at the Excluded Assets and the businesses to be
sold as part of the Pending Transactions.

       “Company Buyer” – Recitals.

       “Company Confidentiality Agreement” means the confidentiality agreement between
Platinum Equity and Delphi, dated September 5, 2008.

       “Company IP License Agreement” – Section 9.9.3.

       “Company Licensed Intellectual Property” means rights with respect to Intellectual
Property licensed or sublicensed to Sellers from a third party, and that is used or held for use in
the Company Business.

       “Company Purchase Price” – Section 3.2.1.

        “Company Purchased Intellectual Property” means any Seller’s and/or any of their
respective Affiliate’s right, title and interest in Intellectual Property other than the Steering
Purchased Intellectual Property and subject to rights granted to GM Buyers hereunder.

       “Company Real Property” means the real property relating to the Company Business.




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        “Company Sale Securities” mean all of the outstanding shares of the Sale Companies,
and all of the outstanding shares of the JV Companies that are owned by Sellers as set forth on
Schedule 2 to this Agreement.

       "Company Securities Buyers" means the Buyers set forth on Schedule 2, which
Company Buyers will use their commercially reasonable efforts to provide to Delphi, ten (10)
Business Days before Closing but, in any event, in sufficient time to complete filings under
Competition/Investment Laws, with respect to the Sale Companies set forth opposite their
names.

       “Company Securities Seller(s)” means the securities sellers set forth on Schedule 2 to
this Agreement, with respect to the Company Sale Securities set forth opposite their names.

        “Company Sellers” means the Company Securities Sellers and Company Asset Sellers,
as applicable.

         “Competition/Investment Law” means any Law that is designed or intended to prohibit,
restrict or regulate: (i) foreign investment; or (ii) antitrust, monopolization, restraint of trade or
competition.

        “Consent” means any consent, approval, authorization, waiver, permit, agreement,
license, certificate, exemption, order, registration, declaration, filing or notice of, with or to any
Person, or the expiration or termination of the waiting period under any Competition/Investment
Law, in each case required to permit the consummation of any of the transactions contemplated
by this Agreement.

       “Contracts” mean purchase orders, sales agreements, service contracts, distribution
agreements, sales representative agreements, employment or consulting agreements, leases,
product warranty or service agreements and other binding commitments, agreements,
arrangements and undertakings of any nature.

        “Controlled Group” means any trade or business (whether or not incorporated):
(i) under common control within the meaning of Section 4001(b)(1) of ERISA with any of the
Sale Companies; or (ii) which together with any of the Sale Companies is treated as a single
employer under Section 414(t) of the Code.

        “Copyrights” mean: (i) all copyrights, works of authorship or copyrightable works
existing anywhere (registered, published, unpublished, protected by statutory law or otherwise)
and registrations, renewals, revivals, reissuances, extensions and applications for copyright
registration thereof, and all rights therein provided by international treaties or conventions;
(ii) moral rights (including, without limitation, rights of paternity and integrity), and waivers of
such rights by others; (iii) database and data protection rights whether or not based on copyright;
(iv) semiconductor chip mask work registrations and applications therefor; and (v) rights to sue
or recover and retain damages and costs and attorneys’ fees for present, future and past
infringement of any of the foregoing.

       “CSC” – Section 9.9.12.



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       “Cure Amounts” mean all cure amounts payable in order to cure any monetary defaults
required to be cured under Section 365(b)(1) of the Bankruptcy Code or otherwise to effectuate,
pursuant to the Bankruptcy Code, the assumption of and/or assignment to Buyers of the
Pre-Petition Contracts included within the Assumed and Assigned Contracts under the Plan
Modification Order.

       “Data Room” means the virtual data room maintained by Merrill Corporation in which
the documents and information related to the Steering Business were disclosed to Parent’s
representatives and counsel and the virtual data rooms maintained by Delphi in which documents
and information related to the other Acquired Assets, Sale Companies and applicable JV
Companies were disclosed to Parent’s and Company Buyer's representatives and counsel.

        “Day 1” means work commenced among the Sellers, the GM Buyers and the Company
Buyers to separate the information technology systems required to run the GM Business from the
Sellers’ and the Company Buyers’ systems on the Closing Date or at a mutually agreed upon
post-Closing Date.

       “Day 2” means logical and physical separation such that the information technology
systems required to run the GM Business in a stand-alone application environment, a stand alone
database environment and a stand-alone physical data center environment, including, for
example, in cases where a physical move of the application may be required, such as a move
from a Delphi-wide environment to a GM Business dedicated environment.

         “Debt Obligations”, as applied to any Person, mean obligations (i) for borrowed money,
(ii) evidenced by bonds, debentures, notes, and similar instruments, (iii) under financing or
capital (as opposed to operating) leases (determined in accordance with GAAP) and other similar
instruments, and (iv) all accrued interest, fees and charges in respect of any of the foregoing.

       “Deferred Item(s)” – Section 2.5.1.

       “Delphi” – Recitals.

         “Delphi Brazil” means Delphi Automotive Systems do Brasil Ltda., a Brazilian limited
liability company, with head office at Avenida Goiás, No. 1820 / 1860, in the City of São
Caetano do Sul, State of São Paulo, enrolled with the Brazilian General Taxpayers’ Registration
(CNPJ/MF) under No. 00.857.758/0001-40.

        “Delphi FICA Litigation” means the FICA refund claim being litigated in Delphi
Corporation, Delphi Automotive Systems LLC, and Delphi Automotive Systems Services LLC
v. United States of America, (Case no. 08 Civ 04487 (PKC) in the U.S. District court of the
Southern District of New York) in which Delphi et. al. is seeking a refund of employment taxes
relating to payments made to certain union members upon ratification of collective bargaining
agreements in 1999 and 2003 together with any other similar claims relating to other pre-Closing
periods.

       “Delphi HRP” means the Delphi Hourly-Rate Employees Pension Plan.

       “Delphi India” means Delphi Automotive Systems Pvt. Ltd.


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       “Delphi Polska” means Delphi Polska Automotive Systems Sp.z.o.o., a Polish company.

       “DIP Agent” means JPMorgan Chase Bank, N.A. in its capacity as the administrative
agent under the DIP Agreement.

      “DIP Agreement” means that certain Amended and Restated Revolving Credit, Term
and Guaranty Agreement, dated as of May 9, 2008, among Delphi, the subsidiaries of Delphi
named therein, the lenders party thereto and the DIP Agent, as amended through May 21, 2009.

       “DIP Lenders” shall mean the Senior DIP Lenders and the C Lenders.

         “DIP Priority Payment” means the aggregate amount (after giving effect to the
application of any applicable cash collateral) necessary to pay on the Closing Date, in dollars:
(i) all outstanding and unpaid fees and expenses then due under Section 10.05 of the DIP
Agreement (including any counsel and advisor fees payable under Section 10.05 of the DIP
Agreement); (ii) accrued and unpaid interest and fees then due on account of Tranche A Loans
(as defined in the DIP Agreement) and Tranche B Loans (as defined in the DIP Agreement);
(iii) the then outstanding principal amounts of the Tranche A Loans and Tranche B Loans; and
(iv) up to $350,000,000 of Swap Exposure (as defined in the DIP Agreement) that are not
Assumed Liabilities for those Hedging Agreements (as defined in the DIP Agreement) that are
not Assumed Liabilities; provided that any such amount under this subsection (iv) shall be
reduced by the amount of the Hedging Agreements that are Assumed Liabilities.

      “EC Merger Regulation” means Council Regulation of the European Community No.
139/2004 of January 20, 2004 on the control of concentrations between undertakings.

       “EDS” – Section 9.9.11.

        “Encumbrance” means: (i) with respect to the Sale Securities, any voting trust,
shareholder agreement, proxy, preemptive right, right of first refusal, or other similar restriction;
and (ii) with respect to the Acquired Assets (including the Sale Securities or any other shares of
capital stock owned by Sellers, Buyers or their respective Affiliates) or any other property or
asset, any lien, charge, claim, pledge, security interest, conditional sale agreement or any other
title retention agreement, lease, mortgage, security interest, option or other encumbrance
(including the filing of, or agreement to give, any financing statement under the Uniform
Commercial Code of any jurisdiction or a similar law relating to security interests in and over
Personal Property).

       “Enterprise Contracts” – Section 9.17.

       “Enterprise Providers” – Section 9.17.

        “Environment” means the following media (whether individually or commingled): air,
water, surface water, groundwater (whether an aquifer or water below the surface of the ground)
and ground (whether at the surface or below the surface) and all organisms, ecosystems, flora
and natural resources.




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        “Environmental Law” means any and all statutes, rules, regulations, ordinances,
directives, decrees, treaties, provisions of any constitution and principles (including principles of
the common law) and Governmental Orders applicable to the conduct and the operation of the
Business, and relating to pollution or the protection of the Environment or protection of human
health from environmental hazards, excluding workplace health and safety laws (including
OSHA and similar foreign laws).

       “Environmental Permits” mean any licenses, permits, authorizations and approvals
issued by any Governmental Authority and required to be obtained by the Business in respect of
the Acquired Assets under Environmental Laws.

         “Environmental Records” means any and all books, records, notes, reports, letters,
memoranda, assessments, testing data, maps, Environmental Permits, certificates, applications,
approvals, surveys, agency inspection reports, compliance audit records or reports,
communications or other written, printed or electronically or magnetically recorded materials,
communications or data, relating to: (i) the use, management, handling, transportation, release,
storage, treatment or disposal of any Hazardous Material in, about or under any Real Property;
(ii) the environmental condition of the Real Property; and (iii) compliance with Environmental
Laws by the Business; whether located at a Real Property or in the possession of Delphi’s Legal
Staff or Operations Support Group at Delphi's Troy headquarters or otherwise provided to the
GM Buyers or the Company Buyer for Real Property relating to the GM Business or the
Company Business, respectively; excluding, however, any such records which are subject to the
attorney-client, attorney work product or similar privilege because such records contain
confidential communications, mental impressions, conclusions, opinions or legal theories of
Sellers’ counsel (“Privileged Environmental Records”); provided, however, that Sellers shall
ensure that any material factual or technical information or data regarding the environmental
condition or compliance status of any property or facility of the Business or the Real Property is
otherwise contained in the Environmental Records.

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended,
and the rules and regulations promulgated thereunder.

       “Excepted Shared Intellectual Property” means the Shared Intellectual Property listed
in Schedule 9.9.1.

       “Excluded Assets” – Section 2.1.5.

       “Excluded Facilities” – Section 2.1.5.F.

       "Existing GM Assets" – Section 12.1.6.

       “Facilities Separation & Relocation Plan” – Section 9.9.10.

       “Filing Affiliates” mean Delphi and the following Affiliates of Delphi, each of which are
included in the Bankruptcy Cases and are Asset Sellers and/or Securities Sellers: Delphi
Automotive Systems LLC, Delphi China LLC, Delphi Automotive Systems (Holding), Inc. and
Delphi Technologies, Inc., and the Affiliates identified on Schedule 1.1.F.



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        “Final Order” means an order of the Bankruptcy Court or any court with jurisdiction, or
findings and conclusions relating to an order of the Bankruptcy Court or any court with
jurisdiction, as to which the time to file an appeal, a motion for rehearing or reconsideration
(excluding any motion under Federal Rule of Civil Procedures 60(b)) or a petition for a writ of
certiorari has expired and no such appeal, motion or petition is pending.

      “Final Plan Modification Hearing” means the Bankruptcy Court hearing to approve the
Plan Modification Order.

        “GAAP” means United States generally accepted accounting principles and practices as
in effect from time to time, consistently applied throughout the specified period, unless otherwise
noted or disclosed herein.

       “GM” – Recitals.

       “GM Acquired Assets” – Section 2.1.3.

        “GM Ancillary Agreements” – means the Transfer Agreements and other agreements
referred to in Section 11.2.

       “GM Asset Buyer(s)” means the Buyers set forth on Schedule 1, which GM will use
commercially reasonable efforts to provide by Parent to Delphi not less than ten (10) Business
Days after the date of this Agreement (it being understood that such Buyers identified after the
date of this Agreement must agree in writing to be bound by all of the terms, conditions, and
provisions in this Agreement and no other GM Buyer is released from its obligation hereunder),
with respect to the assets set forth opposite their names and the Australian Buyer in respect of the
Australian Assets.

        “GM Asset Sellers” means Sellers set forth on Schedule 1, with respect to the assets set
forth opposite their names and the Australian Seller in respect of the Australian Assets.

       "GM Assumed Contracts" – Section 12.1.6

       “GM Assumed Liabilities” – Section 2.2.

       “GM Business” – Recitals.

       “GM Buyer(s)” – Recitals.

       “GM/Company Ancillary Agreements" means this Agreement, the Buyer Transition
Services Agreement, the Supply Agreement, the Commercial Agreement, the Access Agreement,
the Securities Purchase Agreement and any other agreement executed and delivered in
connection therewith.

       “GM Confidentiality Agreement” means the confidentiality agreement between GM
and Delphi dated September 12, 2005, as amended.




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       “GM-Delphi Agreement” means the Agreement dated as of May 9, 2008 among GM,
Delphi and the Filing Affiliates, as amended by Amendment No. 1 dated October 6, 2008,
Amendment No. 2 dated November 7, 2008, and Amendment No. 3 dated January 30, 2009 and
as amended and restated in its entirety pursuant to the Interim Financing Amendment.

        “GM-Delphi Liquidity Agreements” mean (i) the GM-Delphi Agreement and (ii) the
Partial Temporary Accelerated Payment Agreement dated as of December 12, 2008 (as amended
through January 30, 2009.

        “GM Environmental Records” mean any and all books, records, notes, reports, letters,
memoranda, assessments, testing data, maps, Environmental Permits, certificates, applications,
approvals, surveys, agency inspection reports, compliance audit records or reports,
communications or other written, printed or electronically or magnetically recorded materials,
communications or data, relating to: (i) the use, management, handling, transportation, release,
storage, treatment or disposal of any Hazardous Material; (ii) environmental site conditions; and
(iii) compliance with Environmental Laws, in each case concerning the GM Business or any GM
Real Property, so long as such records were provided by GM to any of Sellers or Delphi
Automotive Systems Corporation, a Delaware corporation, or their respective Affiliates, and
which are still in the possession of Delphi’s Legal Staff or Operations Support Group at Delphi's
Troy headquarters or located at any GM Real Property. Privileged Environmental Records shall
not include any GM Environmental Records.

       “GM Financing” – Section 6.3.

       “GM Financing Agreements” – Section 6.1.

       “GM Leased Real Property” – Section 4.8.1.

       “GM IP License Agreement” – Section 9.9.1.

       “GM Licensed Intellectual Property” – means rights with respect to Intellectual
Property licensed or sublicensed to Sellers from a third party, and that is used or held for use in
the GM Business, including such rights in associated Contracts listed on Schedule 4.14.1.

       “GM Owned Real Property” – Section 4.8.2.

       “GM Purchase Price” – Section 3.1.1.

       “GM Real Property” – means the GM Leased Real Property and the GM Owned Real
Property.

       “GM Sales Securities” mean all of the outstanding shares of the Sale Companies and all
of the outstanding shares of the JV Companies that are owned by Sellers as set forth on
Schedule 1 to this Agreement.

       “GM Securities Buyers” means the Buyers set forth on Schedule 1, which GM Buyers
will use their commercially reasonable efforts to provide to Delphi, ten (10) Business Days
before Closing, but in any event, in sufficient time to complete filings under


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Competition/Investment Laws, with respect to the Sale Companies set forth opposite their
names.

      “GM Securities Seller(s)” means the securities sellers set forth on Schedule 1 to this
Agreement, with respect to the GM Sale Securities set forth opposite their names.

       “GM Sellers” means the GM Securities Sellers and GM Asset Sellers, as applicable.

       “GM Transfer Agreements” – Section 11.2.3.

       “Governmental Approval” means any Consent of, with or to any Governmental
Authority.

        “Governmental Authority” means any United States or foreign federal, state, provincial
or local government or other political subdivision thereof, any entity, authority or body
exercising executive, legislative, judicial, regulatory or administrative functions of any such
government or political subdivision, and any supranational organization of sovereign states
exercising such functions for such sovereign states such as the European Union.

        “Governmental Order” means, with respect to any Person, any judgment, order, writ,
injunction, decree, stipulation, agreement, determination or award entered or issued by or with
any Governmental Authority and binding on such Person.

       “GSA” means the Global Settlement Agreement, as amended, effective as of September
29, 2008, between Delphi and GM.

        “Hazardous Materials” means any element, mixture, chemical, hazardous substance,
constituent, waste, pollutant, contaminant or material including petroleum or petroleum-based or
petroleum-derived substances, polychlorinated biphenyls, asbestos-containing materials,
noxious, radioactive, flammable, corrosive or caustic compound (whether solid, liquid or
gaseous), which are regulated, or can give rise to Losses under an Environmental Law or an
Environmental Permit.

       "Hearing Date" – Section 9.2.2.

        “Hedging Agreements” means any agreement with respect to any swap, forward, future
or derivative transaction or option or similar agreement involving, or settled by reference to, one
or more rates, currencies, commodities, equity or debt instruments or securities, or economic
financial or pricing indices or measures of economic, financial or pricing risk or value, any
similar transaction or any combination of the foregoing transactions.

       “HP” – Section 9.9.12.

      “HSR Act” means the Hart Scott Rodino Antitrust Improvements Act of 1976, as
amended, and the rules and regulations promulgated thereunder.




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         “Income Tax” or “Income Taxes” means any and all United States or non-United States
federal, national, state or local Tax based on or measured in whole or in part by income or
profits, including any interest, penalties or other additions thereto.

       "India L/C" – Section 9.35.

       "India L/C Period" – Section 9.35.

       “Information Tax Returns” – Section 9.4.3.

       “Insurance Policies” means all insurance policies relating to the operations of the
Business, including any and all claims and rights thereunder and the proceeds thereof and all
prepaid insurance premiums.

       “Intellectual Property” means Patent Rights, Trademark Rights, Copyrights, Software,
Trade Secrets and Know-How.

        “Interim Financing Amendment” means that certain amended and restated GM-Delphi
Liquidity Agreement, dated the date hereof, by and among GM and Delphi and the Filing
Affiliates, that, among other things, provides up to $250 million of additional liquidity to Delphi
through the Closing Date.

        “Inventory” means finished goods, raw materials, work-in-process, packaging, stores,
stock, office supplies, parts, packaging materials and other inventory and accessories related
thereto which are held at, or are in transit from or to, the locations at which the Business is
conducted or located at customers’ premises on consignment, or wherever else located, which
are used or held for use by Sellers or the Sale Companies in the conduct of the Business (together
with all rights of Sellers against suppliers of such inventories).

     “IP License Agreements” means collectively the GM IP License Agreement, the
Company IP License Agreement and the Pending Transactions IP License Agreements.

     “IUE-CWA” means the Industrial Division of the Communications Workers of America,
AFL-CIO, CLC and its Local Unions 717 (Warren), 83698 (Clinton) and 83718 (Brookhaven).

       “JV Companies” means the Steering JV Companies and the Company JV Companies.

       “KDAC” means Korea Delphi Automotive Systems Corporation.

       “Know-How” means proprietary technical and business knowledge and information,
regardless of whether recorded and, if recorded, regardless of the media in which it is recorded,
such knowledge and information including specifications, designs, methodologies, processes and
production techniques, technologies, manufacturing and production processes, research and
development information, drawings, specifications, designs, plans, proposals, technical data,
formulae, algorithms, vendor and marketing and business data and customer and vendor lists and
information, whether or not confidential together with the rights to sue or recover and retain
damages and costs and attorneys’ fees for present, past and future misappropriations or otherwise
of any of the foregoing.


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      “Knowledge” means Knowledge of Company Buyer, Knowledge of GM Buyer or
Knowledge of Sellers, as applicable.

        “Knowledge of Company Buyer” or “Company Buyer's Knowledge” (or a similar
phrase) means the actual, conscious knowledge of the individuals listed on Schedule 1.1.B with
respect to the matters specified for such individuals on Schedule 1.1.B.

        “Knowledge of Delphi” or “Delphi's Knowledge” (or a similar phrase) means the
actual, conscious knowledge of the individuals listed on Schedule 6.3A with respect to the
matters specified for such individuals on Schedule 6.3A .

       “Knowledge of Buyers” – Section 6.3.

        “Knowledge of GM Buyer” or “GM Buyer's Knowledge” (or a similar phrase) means
the actual, conscious knowledge of the individuals listed on Schedule 1.1.B with respect to the
matters specified for such individuals on Schedule 1.1.B.

        “Knowledge of Sellers” or “Sellers’ Knowledge” (or a similar phrase) means the actual,
conscious knowledge of the individuals listed on Schedule 1.1.A with respect to the matters
specified for such individuals on Schedule 1.1.A.

        “Law” means any and all applicable laws, rules, regulations, directives, decrees, treaties,
statutes, provisions of any constitution and principles (including principles of the common law)
of any Governmental Authority, as well as any applicable Governmental Order, but not including
Environmental Laws.

       “Leases” – Section 4.8.1.

       “Liabilities” mean any and all liabilities and obligations of every kind and description
whatsoever, whether such liabilities or obligations are known or unknown, disclosed or
undisclosed, matured or unmatured, accrued, fixed, absolute, contingent, determined or
undeterminable, on- or off- balance sheet or otherwise, or due or to become due, including Debt
Obligations and those arising under any Law, Environmental Law, Claim, Governmental Order,
Contract or otherwise.

     “Licensed Intellectual Property” means the GM Licensed Intellectual Property and the
Company Licensed Intellectual Property.

       “Losses” mean any and all Claims, Liabilities, losses, damages, fines, penalties and costs
(in each case including reasonable out-of-pocket expenses (including reasonable attorneys’,
accountants’, technical consultants’, engineers’ and experts’ fees and expenses)).

       “Manufacturing Facilities” means the manufacturing facilities owned or operated by the
Steering Business located at Saginaw, Michigan; Queretaro, Mexico; Juarez, Mexico; Sabinas
Hidalgo, Mexico; Strasbourg, France; Somerton, Australia; Bangalore, India; Suzhou, China;
Porto Alegre, Brazil; Gliwice, Poland; Gurgaon, India; and Tychy, Poland.




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        “Material Adverse Effect” means any change, occurrence or development that,
individually or in the aggregate, has or would reasonably be expected to have a material adverse
effect on the business, assets, Liabilities (except to the extent assumed or retained by Sellers’
hereunder), results of operations or financial condition of the GM Business or the Company
Business, as applicable, taken as a whole, but excludes any effect: (i) resulting from general
economic or business conditions (except to the extent such change, occurrence or development
has a significantly disproportionate adverse effect on such Business); (ii) affecting companies in
its industry or its markets generally (except to the extent such change, occurrence or
development has a significantly disproportionate adverse affect on such Business); (iii) resulting
from any changes in any Law, or in GAAP or any foreign generally accepted accounting
principles; (iv) that is cured before the date of any termination of this Agreement by Parent
pursuant to Section 12.1 hereof; (v) resulting from the negotiation, announcement or
performance of this Agreement or the transactions contemplated hereby, including by reason of
the identity of any Buyer or communication by any Buyer or its Affiliates of its plans or
intentions regarding operation of such Business; (vi) resulting from any act or omission of any
Seller taken with respect to the Company Business or the GM Business, as applicable, with the
prior written consent of GM or the Company Buyer, as applicable; (vii) resulting from the filing
of the Bankruptcy Cases or from any action approved by the Bankruptcy Court; (viii) resulting
from the regulatory status of any Buyer; (ix) resulting from acts of war or terrorism, whether or
not directed at such Business or Buyer; or (x) resulting from the financial condition of GM or
any voluntary or involuntary filing of bankruptcy involving GM.

       “Material Contracts” – Section 4.14.1.

       “Mexican VAT Amount” – Section 9.20.1.

       “Mexico Deposit” – Section 9.20.2.

       “Mexico LTAs” – Section 9.20.1.

       “MRA” means the Amended and Restated Restructuring Agreement dated September 12,
2008 between GM and Delphi.

       “New York Courts” – Section 14.16.

       “Non-U.S. Benefit Plan” – Section 4.13.13.

       “Non-U.S. Employees” means the employees (salaried and hourly) who are employed by
Asset Sellers or Seller Affiliate in, and dedicated to, the Business in a country other than the
United States immediately prior to the Closing and identified on Schedule 4.13.1.

       “OEM” means automotive original equipment manufacturer.

       “OFAC” – Section 5.9.

      “Operating Agreement” means the operating agreement contemplated in the Buyer
Loan Documents substantially in the form of Exhibit 1.2.



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       “Option Exercise Agreement” means the Option Exercise Agreement dated March 3,
2009 between GM and Delphi.

        “Ordinary Course of Business” means the usual, regular and ordinary course of a
business consistent with the past practice thereof (including with respect to quantity and
frequency); provided, however, that where the Sellers’ practices are modified to address the
effects of economic conditions affecting the automotive and automotive supply industry or
current economic conditions, such term means practices consistent with the practices of Sellers
and its Affiliates used in managing Delphi’s business in general; and, provided further, that the
Sellers’ usual, regular and ordinary course of business shall be deemed to include practices
which are consistent with the practices of the Sellers from and after the Petition Date to the
extent consistent with the Bankruptcy Code or orders issued by the Bankruptcy Court.

       “Organizational Document” means, as to any Person, its certificate or articles of
incorporation, its regulations or by-laws or any equivalent documents under the law of such
Person’s jurisdiction of incorporation or organization.

       “Other Services” – Section 9.17.

        “Other Steering Business Liabilities” means the Liabilities of Non-Filing Affiliate
Sellers that are attributable to the Steering Business other than Liabilities with respect to Income
Taxes and Debt Obligations or Liabilities arising under any Environmental Law.

       “Other Technical Documentation” means all documented technical information owned
by Sellers that is currently in the files of Sellers used but not primarily used in the Business.

       “Parent” – Recitals.

         “Parnassus Class C Interest” means Class C membership interests in Parnassus in the
nominal amount of $145.5 million, having an annual cash dividend at the rate of 8% (payable
quarterly in arrears), and subject to mandatory redemption at the conclusion of the tenth year
after issuance; and (1) being subject to mandatory redemption in such amounts as set forth in the
operating agreement and at such times as distributions are made to the holders of the Class A and
Class B interests of Parnassus, and (2) ranking pari passu in right of distribution with the holders
of the Class A and Class B interests of Parnassus in the percentages set forth in the operating
agreement. The Parnassus Class C Interest may be issued by Parnassus Holdings II, LLC or such
other entity as may be the “Company Buyer” under this Agreement, and shall be held by either
Sellers, a trust or an agent as determined by Sellers, provided, however, that regardless of the
issuer or form, the Parnassus Class C Interest shall have substantially the same terms, conditions
and economic entitlements as set forth herein.

       “Party(ies)” means the Sellers and/or Buyers.

         “Patent Rights” means: (i) patentable inventions, whether or not reduced to practice,
and whether or not yet made the subject of a pending patent application or applications;
(ii) designs, ideas and conceptions of patentable subject matter, including, without limitation, any
invention disclosures and inventor certificates, whether or not reduced to practice and whether or
not yet made the subject of a pending patent application or applications; (iii) national (including


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the United States) and multinational invention and design registrations or applications, patents
and patent applications, provisionals, substitutions, reissues, divisionals, continuations,
continuations-in-part, extensions and reexaminations and all rights, in each case provided by
international treaties or conventions; and (iv) rights to sue or recover and retain damages and
costs and attorneys’ fees for present, future and past infringement of any of the foregoing.

       “PE Financing Agreements” – means the Buyer Loan Documents, and Securities
Purchase Agreement (together, and including, without limitation, any and all exhibits, annexes,
schedules, fee letters and other ancillary documents).

      “Pending      Transactions”     means     Seller’s   pending   transactions    set   forth   on
Schedule 2.1.5.J.

       “Pending Transactions IP License Agreement” – Section 9.9.4.

      “Permits” means licenses, consents, approvals, permits and other Governmental
Approvals, but not including Environmental Permits.

        “Permitted Encumbrance” means: (i) security interests relating to vendor tooling
arising in the Ordinary Course of Business and not delinquent; (ii) any Encumbrance that may be
created by or on behalf of GM or its Affiliates with respect to the GM Acquired Assets or the
GM Sale Securities, or by or on behalf of Company Buyer or its Affiliates with respect to the
Company Acquired Assets or the Company Sale Securities or Buyers; and (iii) in relation to Real
Property: (a) Encumbrances relating to any current real estate or ad valorem taxes, proceedings
or assessments not yet due and payable or delinquent or being contested in good faith by
appropriate Proceedings; (b) mechanic’s, materialmen’s, laborer’s and carrier’s liens and other
similar liens arising by operation of law or statute in the Ordinary Course of Business for
obligations which are not delinquent and which will be paid or discharged prior to the Closing
Date; (c) matters which an ALTA survey, or a similar survey in any other country, would
disclose (other than the failure of the applicable Buyer to own the relevant property); (d) rights of
the public and adjoining property owners in streets and highways abutting and adjacent to the
Real Property; and (e) easements, covenants, restrictions and other encumbrances of public
record (provided that, in the event any such Encumbrance relates to a sum owed, the applicable
Seller shall indemnify GM and the applicable Buyer against any costs or expenses arising
therefrom); (iv) such other Encumbrances, the existence of which, in the aggregate, would not
materially interfere with or materially affect the use of the underlying asset to which such
Encumbrances relate; and (v) in the case of Sale Securities of the JV Companies, restrictions
contained in the joint venture agreement or shareholders agreement or related agreements
affecting such Sale Securities.

        “Person” means any individual, partnership, firm, corporation, association, trust,
unincorporated organization, joint venture, limited liability company, Governmental Authority or
other entity.

       “Personal Property” means tangible personal property other than Inventory, including
production machinery, equipment, tools, dies, jigs, molds, patterns, gauges, production fixtures,
material handling equipment, related spare parts, business machines, computer hardware and



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other information technology assets, office furniture and fixtures, in-factory vehicles, trucks,
model shop equipment, laboratory test fixtures and other tangible personal property, whether
located on the Real Property, at the place of business of a vendor or elsewhere primarily used or
held for use in the conduct of the applicable Business; provided, however, that the Personal
Property does not include Intellectual Property.

       “Petition Date” – Recitals.

       "Plan Modification Motion" – Section 9.2.1.

      “Plan Modification Order” means the order entered by the Bankruptcy Court approving
the modifications to the Filing Affiliates' Plan of Reorganization under section 1127 of the
Bankruptcy Code, including all transactions contemplated by this Agreement.

       “Plan of Reorganization” or “Plan” means Delphi’s joint plan of reorganization,
including all schedules and exhibits thereto, as confirmed by the Bankruptcy Court on January
25, 2008, as modified by the Plan Modification Order entered by the Bankruptcy Court
approving modifications to Delphi’s joint plan of reorganization under section 1127 of the
Bankruptcy Code.

       “Plan of Reorganization Documents” means those documents that are to be filed by the
Filing Affiliates with the Bankruptcy Court seeking modifications to the Plan of Reorganization.

       “Post-Closing Mexico Utilities” – Section 9.20.2.

        “Post-Petition Contracts” mean the Acquired Contracts of the Filing Affiliates relating
to the applicable Business entered into by such Filing Affiliates on or after the Petition Date.

        “Pre-Petition Contracts” mean the Acquired Contracts of the Filing Affiliates relating
to the applicable Business entered into by such Filing Affiliates before the Petition Date.

       “President’s Designee” has the meaning given to such term in that certain Loan and
Security Agreement by and between GM and The United States Department of the Treasury,
dated as of December 31, 2008, as may be amended from time to time.

      “Privileged Environmental Records” is defined within the definition of Environmental
Records.

        “Proceeding” means any action, claim, charge, complaint, grievance, demand, suit,
proceeding, arbitration, citation, summons, subpoena, inquiry, or investigation of any nature,
civil, criminal, regulatory or otherwise, in law or in equity, by or before any Governmental
Authority or any arbitrator or arbitration or grievance panel.

       “Product(s)” means the UAW Site Products and the Steering Products.

       "PRP" – Section 9.5.3.

       “Purchase Price” means the GM Purchase Price and the Company Purchase Price.


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           “Purchase Price Assumed Debt” – Section 9.20.1.

       “Purchased Intellectual Property” means the Steering Purchased Intellectual Property
and the Company Purchased Intellectual Property.

           “Real Property” means the Owned Real Property and the Leased Real Property.

           “Retained Liabilities” – Section 2.3.

           “Retained Plans” – Section 2.3.3

        “Saginaw Brazil” means Saginaw Indústria e Comércio de Auto Peças Ltda., a Brazilian
limited liability company, with head office at Rua Giuseppe Mandelli, No. 118, Bairro São João,
in the City of Porto Alegre, State of Rio Grande do Sul, enrolled with the Brazilian General
Taxpayers’ Registration (CNPJ/MF) under No. 08.762.025/0001-34.

       “Sale” means the sale, assignment and transfer of the Acquired Assets and Sale Securities
from applicable Sellers to applicable Buyers in accordance with this Agreement and the relevant
Transfer Agreements.

       “Sale Companies” mean the Affiliates of Delphi engaged in the applicable Business, the
stock or other equity of which is being transferred to Buyer, directly or indirectly, under this
Agreement, as indicated on Schedule 1 and Schedule 2 (excluding the JV Companies), Delphi
Polska and Steeringmex.

       “Sale Securities” mean the GM Sale Securities and the Company Sale Securities, as
applicable.

           “SDN List” – Section 5.9.

        “Securities Act” means the Securities Act of 1933, as amended, and the rules and
regulations promulgated thereunder.

        “Securities Purchase Agreement” means that certain Securities Purchase Agreement
dated the date hereof among Company Buyer, an Affiliate of Company Buyer and GM.

           “Securities Seller(s)” means the GM Securities Sellers and the Company Securities
Sellers.

       “Seller Employee Benefit Plans” means Sellers’ pension, savings, profit sharing,
retirement, bonus, incentive, health, dental, death, accident, disability, stock purchase, stock
option, stock appreciation, stock bonus, other equity, executive or deferred compensation,
hospitalization, severance, vacation, cafeteria, sick leave, fringe or welfare benefits, any
employment or consulting Contracts, “employee benefit plans” (as defined in Section 3(3) of
ERISA), employee manuals, and written policies, practices or understandings relating to
employment as applicable to Transferred Employees whether or not collectively bargained.

           “Seller Transition Services Agreement” – Section 11.3.3.


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        “Seller U.S. CBAs” means the nationally and locally negotiated Collective Bargaining
Agreements between Sellers and the applicable union with respect to the U.S. Hourly Employees
and, at the Lockport and Rochester sites, the represented U.S. Salaried Employees, including any
letter agreements, memorandums of understanding, supplemental agreements and employee
benefit plan agreements applicable to represented employees that were in effect immediately
prior to the date of this Agreement and which are included on Schedule 4.13.11.

        “Sellers” means the GM Securities Sellers with respect to the GM Sale Securities, the
GM Asset Sellers with respect to the GM Acquired Assets, Company Securities Sellers with
respect to the Company Sale Securities and the Company Asset Sellers with respect to the
Company Acquired Assets, in each case including Filing Affiliates and non-Filing Affiliates that
are Sellers. Seller means any one of such Sellers, as applicable.

       “Senior DIP Lender” means collectively the Tranche A Lenders and Tranche B Lenders
(as such terms are defined in the DIP Agreement).

       “Separation & Relocation Activities” – Section 9.9.10.

        “Shared Intellectual Property” means Intellectual Property owned by any Seller and/or
any Seller’s Affiliates that is used by more than one of the GM Business, the Company Business
or the business of a Pending Transaction and includes customizations, interfaces, enhancements
and other modifications to Software licensed from Third Parties, but not used primarily for such
Business.

        “Shared Licensed Intellectual Property” means any Seller’s and/or any Seller’s
Affiliates’ rights with respect to Intellectual Property licensed or sublicensed to Sellers from a
third party and that is used by the applicable Business, excluding Licensed Intellectual Property
and, except in the case of Software licensed from GM or EDS, Software.

       “Shared Software Licenses” means all shared licenses of Software that are currently
used in the applicable Business under Delphi-wide Contracts but which are not primarily used by
such Business.

        “Software” means computer software and programs, including source code, object code,
shareware, firmware, middleware, courseware, open source code, operating systems and
specifications, development programs and systems, testing programs and systems, system data,
record and table layouts, databases, files documentation, storage media, manuals and other
materials related thereto, in each case including all customizations, interfaces, enhancements and
other modifications related to the foregoing.

       “Sources and Uses” – Exhibit 3.1.1.

       “Specified Director, Officer and Employee Related Liabilities” – Section 9.40.

        “Steering Business” means the global steering and halfshaft businesses operated by
Delphi and its Affiliates, throughout the Delphi Steering Systems Division, including the design,
testing, manufacture, development, marketing, sale and distribution of the Products, and all of
the business conducted at the Manufacturing Facilities and the Delphi Steering Systems Division


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related business conducted at the Technical Centers and Sales Offices, except for (i) all assets,
business lines, rights, Contracts and Claims of KDAC, wherever located, whether tangible or
intangible, real, personal or mixed and (ii) all computer hardware, equipment, Software,
Contracts, and other assets listed on Schedule 2.1.5.K

       “Steering Excluded Products” means products identified in Schedule 9.9.1.B.

       “Steering JV Companies” means the following joint ventures which are engaged in the
manufacture, development and sale of Products: Delphi Saginaw Lingyun Drive Shaft Co. Ltd
and Saginaw Lingyun Drive Shaft (Wuhu) Co., Ltd.

       “Steering Licensed Intellectual Property” means rights with respect to Intellectual
Property licensed or sublicensed to Sellers from a third party, and that is primarily used or held
for use in or primarily related to, the Steering Business, including such rights in associated
Contracts listed on Schedules 1.1.D.1, 1.1.D.2 and 1.1.D.3.

       “Steering Products” means the Products set forth in Schedule 1.1.C.

        “Steering Purchased Intellectual Property” means any Seller’s and/or any of their
respective Affiliate’s right, title and interest in Intellectual Property that is primarily used or held
for use in, or primarily related to, the Steering Business, including the Intellectual Property listed
in Schedules 1.1.D.1, 1.1.D.2 and 1.1.D.3; subject to Sections 2.1.3.H and 2.1.4.I in the case of
Intellectual Property relating to the UAW Sites and subject to the rights granted to Company
Buyer hereunder.

       “Steering (Suzhou)” – Section 9.23.1.

       “Steering Technology” means the Patent Rights, Copyrights, Trade Secrets and Know-
How initially developed primarily for use in the Products used in the Steering Business and
which constitutes a critical manufacturing, design or engineering element specific to the Products
as compared to comparable products manufactured by competitors of the Steering Business.

       “Steeringmex” – Section 9.20.1.

     “Supply Agreement” means the Supply Agreement among the GM Buyers and
Company Buyers of even date herewith.

        “Tax” or “Taxes” means any taxes of any kind, including but not limited to those
measured on, measured by or referred to as, income, alternative or add-on minimum, gross
receipts, capital, capital gains, sales, use, ad valorem, franchise, profits, license, privilege,
transfer, withholding, payroll, employment, social, excise, severance, stamp, occupation,
premium, goods and services, value added, property, environmental or windfall profits taxes,
customs duties or similar fees, assessments or charges of any kind whatsoever, together with any
interest and any penalties, additions to tax or additional amounts imposed by any Governmental
Authority.




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        “Tax Return” means any return, report, declaration, form, election letter, statement or
other information required to be filed with any Governmental Authority with respect to Taxes,
including any schedule or attachment thereto or amendment thereof.

        “Taxing Authority” means, with respect to any Tax, the Governmental Authority thereof
that imposes such Tax and the agency, court or other body (if any) charged with the
interpretation, administration or collection of such Tax for such Governmental Authority.

        “Technical Centers and Sales Offices” means the technical and customer support
centers of the Steering Business located at Casa Grande, Arizona; Dearborn, Michigan; Saginaw,
Michigan; Milford, Michigan; Russelsheim, Germany; Torino, Italy; Paris, France; Beijing,
China; Shanghai, China; Hachioji, Japan; Krakow, Poland; SeongNam-si, Korea; Melbourne,
Australia; Pune, India; Sao Caetano, Brazil; Bursa, Turkey and Eisenach, Germany, including
any satellite offices thereto.

        “Technical Documentation” means all documented technical information owned by
Sellers that is currently in the files of the Business or primarily used in the Business.

       "Temporarily Excluded Assets" – Section 11.1.2.

        “Trade Secrets” means: (i) all forms and types of information, financial, business,
scientific, technical, economic, manufacturing and/or engineering information, including
patterns, plans, compilations, specifications, tooling, program devices, formulae, designs,
prototypes, testing plans, methods, techniques, processes, procedures, programs, program
devices, customer and vendor lists, pricing and cost data, whether tangible or intangible, and
regardless of whether or how stored, compiled or memorialized physically, electronically,
graphically, photographically or in writing, if: (a) the information is the subject of efforts that
are reasonable under the circumstances to keep such information secret; and (b) the information
derives independent economic value, actual or potential, from not being generally known to, and
not being readily ascertainable through proper means by, the other persons who can obtain
economic value from its disclosure or use; (ii) confidential technical and business information
(including ideas, formulas, compositions, inventions and conceptions of inventions whether
patentable or un-patentable and whether or not reduced to practice); and (iii) all rights to sue or
recover and retain damages, costs and attorneys’ fees for present, future and past
misappropriation of any of the foregoing.

         “Trademark Rights” mean trademarks, service marks, trademark and service mark
applications and registrations, Internet domain name registrations, trade names, trade dress,
fictitious names, assumed names, logos and slogans, including those listed on Schedule 1.1.D.2
together with all goodwill related to the foregoing and all rights to sue or recover and retain
damages and costs and attorneys’ fees for present, future and past infringement of any of the
foregoing.

       “Transfer Regulation” means any Law pursuant to which the employment of any
employee of an Asset Seller (or any employee of any other Affiliate of Delphi, except for the
Sale Companies, who is working for the applicable Business) will transfer to a Buyer in
connection with the transactions contemplated by this Agreement, including pursuant to



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Directive 77/187/EC of the European Parliament and council and any Law adopted pursuant
thereto, and any Law, works council or registered or enforceable union agreement or written
contract of employment.

       “Transfer Taxes” – Section 9.4.5.

       “Transferred Account(s)” – Section 9.22.

      “Transferred Asset Seller Employees” means: all U.S. Employees and Non-U.S.
Employees who are employees of any Asset Seller or Seller Affiliate who become Buyers’
employees pursuant to Section 9.5 hereof. No individual who has retired or otherwise terminated
employment with Sellers prior to Closing will be deemed to be a Transferred Asset Seller
Employee.

          “Transferred Employees” means:     (i) all Transferred Asset Seller Employees; and
(ii) all employees of the Sale Companies.

        “Transferred Insurance Policies” means all Insurance Policies which are primarily
related to the GM Business, GM Acquired Assets or the GM Assumed Liabilities including those
set forth on Schedule 1.1.E, but excluding those set forth on Schedule 1.1.D.

       “Transferred Non-U.S. Employees” means all Transferred Asset Seller Employees who
are Non-U.S. Employees.

        “Transferred U.S. Employees” means all Transferred Asset Seller Employees who are
either Transferred U.S. Hourly Employees or Transferred U.S. Salaried Employees.

       "Transferred U.S. Hourly Employees" – Section 9.5.3.

       "Transferred U.S. Salaried Employees" – Section 9.5.2.

        “UAW” means the International Union, United Automobile, Aerospace and Agricultural
Works of America and its Local Unions 699 (Saginaw), 686 (Lockport – Hourly), 686 (Lockport
– salaried), 1097 (Rochester – hourly), 1097 (Rochester – salaried), 292 (Kokomo), 167 (Grand
Rapids).

        “UAW Sites” means the manufacturing facilities owned or operated by Sellers and
located in Grand Rapids, Michigan, Rochester, New York (excluding the Henrietta technical
center); Kokomo, Indiana (including the Cuneo Warehouse, and including the technical center);
and Lockport, New York (including the technical center).

       “UAW Site Products” means products produced at the UAW Sites on or before the
Closing Date and the additional products that GM and any Seller have agreed will be produced at
the UAW Sites but does not include products which are manufactured at the Technical Centers at
the UAW Sites if such products are not actually manufactured at the UAW Sites outside of the
Technical Center.

       “U.S.” means the United States of America.


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       “U.S. Employees” means U.S. Hourly Employees and U.S. Salaried Employees.

        “U.S. Hourly Employees” means the hourly employees of Asset Sellers or a Seller
Affiliate who are employed at or are bargaining unit members of the relevant Business in the
United States immediately prior to the Closing and who are identified on Schedule 4.13.1 (as the
same may be amended prior to the Closing Date with Buyer’s prior written consent, not to be
unreasonably withheld).

        “U.S. Income Taxes” mean any Income Taxes due to the United States or to any state or
locality in the United States.

       “U.S. Salaried Employees” means the salaried employees who are employed by Sellers
or a Seller Affiliate in or primarily assigned to the relevant Business in the United States as of
the Closing and who are identified on Schedule 4.13.1 (as the same may be amended prior to the
Closing Date with the applicable Buyer’s prior written consent, not to be unreasonably
withheld).

       “USA PATRIOT Act” – Section 5.9.

        “WARN ACT” means the Worker Adjustment and Retraining Notification Act and any
similar applicable foreign, state or local law, regulation or ordinance.

              1.2     Other Interpretive Provisions.

        The words “hereof”, “herein” and “hereunder” and words of similar import when used in
this Agreement refer to this Agreement as a whole (including any Schedules hereto) and not to
any particular provision of this Agreement, and all Article, Section, Schedule and Exhibit
references are to this Agreement unless otherwise specified. The words “include”, “includes”
and “including” are deemed to be followed by the phrase “without limitation.” The meanings
given to terms defined herein are equally applicable to both the singular and plural forms of such
terms. Whenever the context may require, any pronoun includes the corresponding masculine,
feminine and neuter forms. Except as otherwise expressly provided herein, all references to
“dollars” or “$” are deemed references to the lawful money of the United States of America, and
all references to “euros” or “€” are deemed references to the lawful money of the European
Economic and Monetary Union. References to undertakings by the “Buyer(s)” or the “Seller(s)”
are understood to be undertakings by Parent to cause the relevant Buyer(s) to perform, and by
Delphi to cause the relevant Seller(s) to perform, as the case may be.

                                       ARTICLE 2.
                                   PURCHASE AND SALE.

              2.1     Transfers by Sellers and their Affiliates.

              2.1.1.    Purchase and Sale of the GM Sale Securities. Upon the terms and
subject to the conditions set forth in this Agreement as modified or supplemented by any
applicable Transfer Agreement, at the Closing, the GM Securities Sellers will sell, transfer,
assign, convey and deliver to the GM Buyers, and the GM Buyers will purchase, accept and



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acquire, the GM Sale Securities free and clear of all Encumbrances except Permitted
Encumbrances.

               2.1.2.    Purchase and Sale of the Company Sale Securities. Upon the terms and
subject to the conditions set forth in this Agreement as modified or supplemented by any
applicable Transfer Agreement, at the Closing, the Company Securities Sellers will sell, transfer,
assign, convey and deliver to the Company Buyer, and the Company Buyer will purchase, accept
and acquire, the Company Sale Securities free and clear of all Encumbrances except Permitted
Encumbrances; provided that the Sellers will consider in good faith any request of a Company
Buyer to, in lieu of purchasing the Company Sale Securities, instead purchase the assets and
assume the related liabilities of any Sale Company pursuant to a mutually agreeable asset
purchase agreement with such Sale Company.

              2.1.3.     Purchase and Sale of the GM Acquired Assets. Upon the terms and
subject to the conditions set forth in this Agreement as modified or supplemented by any
applicable Transfer Agreement, at the Closing, the GM Asset Sellers will sell, transfer, assign,
convey and deliver to the GM Asset Buyers, and the GM Asset Buyers will purchase, accept and
acquire from the GM Asset Sellers, free and clear of all Encumbrances, except Permitted
Encumbrances:

                 (i)    in respect of the Australian Assets, Delphi will procure and cause the
Australian Seller to transfer, assign, convey and deliver to the Australian Buyer and the Parent
will procure and cause the Australian Buyer to purchase, accept and acquire from the Australian
Seller, free and clear of all Encumbrances except Permitted Encumbrances, all properties, assets,
rights, titles and interests of every kind and nature, owned by the GM Asset Sellers primarily
used or held for use in, or primarily related to, the GM Business, whether tangible or intangible,
real or personal and wherever located and by whomever possessed,

               (ii)    the technical centers included in the UAW Sites;

              (iii)  all proceeds received by any Seller in respect of the sale of (x) the brakes
and suspension business and (y) the exhaust business;

             (iv)    all rights to sue, or to benefit from any lawsuit or settlement relating to the
Appaloosa Claim; and

               (v)     The Hedging Agreements other than any Hedging Agreement that may be
terminated at Closing;

               (vi)    50% of the net proceeds from the Delphi FICA Litigation;

               (vii)   The Mexico Deposit and the utility contracts referred to in Section 9.20.2;

               (viii) all properties, assets, rights, titles and interests of every kind and nature,
owned by the GM Asset Sellers, whether tangible or intangible, real or personal and wherever
located and by whomever possessed, including, without limitation, all assets related to the GM
Business, including, without limitation, all of the following assets, in each case primarily related
to the GM Business but excluding Excluded Assets pursuant to Section 2.1.5 (all of the assets to


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be sold, assigned, transferred and delivered to GM Asset Buyers hereby are called the “GM
Acquired Assets”):

                       A.     All Accounts Receivable (including Accounts Receivable owed by
       Affiliates of Sellers), but excluding intercompany receivables due from Filing Affiliates
       to Filing Affiliates (other than trade receivables);

                    B.    Real Property, which such Real Property shall be subject to the
       Company Buyer's lease rights with respect to the technical centers located in the
       Kokomo, Indiana and Lockport, New York;

                      C.   Personal Property excluding Personal Property at the technical
       centers located in Kokomo, Indiana, and Lockport, New York (which are Company
       Acquired Assets);

                     D.     Inventory;

                       E.   All of GM Asset Sellers’ Acquired Contracts and rights under the
       Acquired Contracts, including any rights under tax abatements, incentive agreements, or
       other similar tax credit arrangements with any Taxing Authority, that are primarily
       related to the GM Business or the GM Acquired Assets;

                     F.     Administrative Assets;

                    G.     Permits used or held for use in, or related to, the conduct of the
       GM Business or in the operations at the GM Real Property;

                       H.     Steering Purchased Intellectual Property and Steering Licensed
       Intellectual Property;

                     I.     Technical Documentation;

                     J.     Prepaid expenses, deposits and advances;

                     K.     Tax credits and Tax refunds related to the GM Business and the
       GM Acquired Assets, including Delphi’s New York investment tax credit refund claim
       and any property tax refund related to the GM Business;

                     L.     Cash that is held by Filing Affiliates in the U.S.;

                       M. Motor vehicles owned or leased by Sellers (in each case, to the
       extent transferable pursuant to the terms of such leases or financing documents);

                      N.    All Transferred Insurance Policies, and including all rights to the
       benefits, coverages and proceeds under such Transferred Insurance Policies; provided,
       however, that Sellers and Company Buyer will be named as additional named insureds
       on any such Transferred Insurance Policies to the extent they cover any of the Excluded
       Assets or Company Acquired Assets or relate to any Retained Liabilities or any


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        Company Assumed Liabilities or to any Sale Company acquired by the Company Buyer,
        in each case, as applicable, and Seller and Company Buyer will receive the benefit of all
        claims and rights under third party property and casualty insurance policies and other
        insurance policies to the extent they relate to any Excluded Asset, Company Acquired
        Asset, Retained Liability or Company Assumed Liability or to any Sale Company
        acquired by the Company Buyer, as applicable; and provided further that no changes
        shall be made by the named insured to any insurance policy that materially and
        adversely affects the rights of any additional named insured that is a party to this
        Agreement, without the prior written consent of the additional named insured;

                        O.    All goodwill as a going concern and all other intangible properties
        other than Intellectual Property (which is covered in Section 2.1.3H above);

                       P.    All warranties and Claims;

                       Q.    Environmental Permits;

                       R.    Environmental Records;

                       S.    GM Environmental Records;

                    T.     Wage escrow accounts applicable to Transferred U.S. Hourly
        Employees who are PRPs at the UAW Sites; and

                       U.    Other books and records relating to the GM Business.

                2.1.4.     Purchase and Sale of the Company Acquired Assets. Upon the terms
and subject to the conditions set forth in this Agreement as modified or supplemented by any
applicable Transfer Agreement, at the Closing the Company Asset Sellers will sell, transfer,
assign, convey and deliver to the Company Asset Buyers, and the Company Asset Buyers will
purchase, accept and acquire from the Company Asset Sellers, free and clear of all
Encumbrances, except Permitted Encumbrances, all properties, assets, rights, titles and interests
of every kind and nature, owned by the Company Asset Sellers, whether tangible or intangible,
real or personal and wherever located and by whomever possessed, including, without limitation,
all assets related to the Company Business , including, without limitation, the following assets,
but excluding the GM Sale Securities, the GM Acquired Assets, and the Excluded Assets
pursuant to Section 2.1.5 (all of the assets to be sold, assigned, transferred and delivered to
Company Asset Buyers hereby are called the “Company Acquired Assets”):

                        A.     All Accounts Receivable (including Accounts Receivable owed by
        Affiliates of Sellers), but excluding intercompany receivables due from Filing Affiliates
        to Filing Affiliates (other than trade receivables);

                       B.    The Company Sale Securities;

                       C.    Company Real Property;

                       D.    Personal Property;


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                   E.     Inventory;

                    F.      all of Company Asset Sellers’ Acquired Contracts and rights under
     the Acquired Contracts, including any rights under tax abatements, incentive
     agreements, or other similar tax credit arrangements with any Taxing Authority that are
     not primarily related to the GM Business or the GM Acquired Assets;

                   G.     Administrative Assets;

                 H.     Permits used or held for use in, or related to, the conduct of the
     Company Business or in the operations at the Company Real Property;

                     I.     Company Purchased Intellectual Property and Company Licensed
     Intellectual Property;

                   J.     Technical Documentation;

                   K.     Prepaid expenses, deposits and advances;

                     L.    Motor vehicles owned or leased by Sellers (in each case, to the
     extent transferable pursuant to the terms of such leases or financing documents);

                    M. All Insurance Policies; provided, however, that Sellers and GM
     Buyers will be named as additional named insureds on any such Insurance Policies to
     the extent they cover any of the Excluded Assets or GM Acquired Assets or relate to any
     Retained Liabilities or any GM Assumed Liabilities, in each case as applicable, and
     Seller and GM Buyers receive the benefit of all such claims and rights under third party
     property and casualty insurance policies and other insurance policies to the extent they
     relate to any Excluded Asset, GM Acquired Asset, Retained Liability or GM Assumed
     Liability, as applicable; and provided further that no changes shall be made by the
     named insured to any insurance policy that materially and adversely affects the rights of
     any additional named insured that is a party to this Agreement, without the prior written
     consent of the additional named insured;

                   N.     All Trademark Rights of any of the Sellers, including the name
     “Delphi” or any related or similar Trademark Rights to the extent the same incorporate
     the name “Delphi” or any variation thereof;

                     O.    All goodwill as a going concern and all other intangible properties
     other than Intellectual Property (which is covered in Section 2.1.4.I above);

                   P.     All warranties and Claims;

                   Q.     Environmental Permits;

                   R.     Environmental Records;




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                      S.    Equipment, machinery and similar assets at the technical centers
        located at Kokomo, Indiana and Lockport, New York;

                       T.     Tax credits and Tax refunds related to the Company Business,
        including Delphi’s Michigan MEGA tax credit entitlements and any property tax
        refunds related to the Company Business, as well as any other Tax credit or refund not
        covered by Sections 2.1.3.K or 2.1.5.G;

                       U.     50% of the net proceeds from the Delphi FICA Litigation; and

                    V.     Wage escrow accounts applicable to Transferred U.S. Hourly
        Employees who are PRPs at the sites included in the Company Acquired Assets.

                       W.     Other books and records relating to the Company Business.

                2.1.5.    Excluded Assets. Notwithstanding anything to the contrary in this
Agreement or in any Ancillary Agreements, the following properties, assets, rights, title and
interests of the Asset Sellers will not be included in the GM Acquired Assets or the Company
Acquired Assets (the “Excluded Assets”):

                        A.    Third Party Assets. Any machinery, equipment, tools, Inventory,
        tooling, dies, molds, patterns, jigs, gauges, production fixtures, special material handling
        equipment, customer dunnage and containers owned by an OEM or any other third
        party, including third party bailed assets, provided, however, that any Contracts, rights
        or licenses pertaining to such bailed assets will be transferred as part of the Acquired
        Assets.

                        B.    Insurance Policies. All Insurance Policies related solely to the
        other Excluded Assets or listed on Schedule 2.1.5.B; provided, however, that Buyers and
        Sellers will be named as an additional named insured on any such Insurance Policies to
        the extent they cover any of the Acquired Assets of such Buyer or relate to any Assumed
        Liabilities assumed by such Buyer, or any Sale Company acquired by such Buyer and
        Buyers will receive the benefit of all claims and rights under third party property and
        casualty insurance policies and other insurance policies to the extent they relate to any
        Acquired Assets of such Buyer or Assumed Liabilities assumed by such Buyer, or any
        Sale Company acquired by such Buyer; and provided further that no changes shall be
        made by the named insured to any insurance policy that materially and adversely affects
        the rights of any additional named insured that is a party to this Agreement, without the
        prior written consent of the additional named insured.

                        C.    Records. Any books, records (including Tax records) and other
        materials primarily relating to Excluded Assets or Retained Liabilities, or that any Asset
        Seller is required by Law to retain (provided that the Asset Sellers shall provide Buyers
        with copies of the same), all Tax Returns of any Asset Seller for time periods prior to
        Closing, and related work papers.

                        D.     Bankruptcy Rights. All of the rights and claims of the Filing
        Affiliates available to Filing Affiliates under the Bankruptcy Code, of whatever kind or


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     nature, as set forth in Sections 544 through 551, inclusive, 553, 558 and any other
     applicable provisions of the Bankruptcy Code, and any related claims and actions
     including avoidance actions and arising under such Sections by operation of law or
     otherwise, including without limitation any and all proceeds of the foregoing.

                     E.    Personnel Records. All work histories, personnel and medical
     records of employees and former employees of any Asset Seller who worked at any time
     for any reason at the Business for whom a record exists at the Business at the time of
     Closing; provided, however, so far as legally permissible under applicable data
     protection, medical confidentiality or similar Laws, at the election of the applicable
     Buyer(s) the appropriate Buyer(s) will be provided the originals of all personnel and
     medical records of all Transferred Employees after posted written notice or other
     appropriate notice to such Transferred Employees if legally required or if the Asset
     Sellers so elect. Upon written request of the Asset Sellers (or an Affiliate of Sellers),
     Buyer will promptly return or cause to be returned any and all of these records to the
     Asset Sellers (or an Affiliate of the Asset Sellers as directed) at which time the Asset
     Sellers, so far as legally permissible under applicable data protection, medical
     confidentiality or similar Laws, will provide the appropriate Buyer(s) with copies of the
     personnel and medical records to such Buyer; provided, no such records will be
     provided unless the Asset Sellers determine that provision of the records to such Buyer
     over the objections by the employee is permitted by the applicable local Law without
     material adverse consequences to the Asset Sellers or to any Affiliate of the Asset
     Sellers.

                    F.    Excluded Facilities.        All Real Property (including any
     improvements located thereon) listed in Schedule 2.1.5F (the “Excluded Facilities”)
     and personal property and other assets located at the Excluded Facilities.

                     G.     Tax Refunds. All refunds, credits, prepayments or deferrals of or
     against any Taxes, including deferred Taxes of any nature, in each case that relate to
     Excluded Assets and relate to periods or portions thereof prior to the Closing; provided
     that, in no event, shall any Buyer be required to make a payment to a Seller with respect
     to any of the foregoing other than providing to the applicable Seller any Tax refunds
     received by such Buyer with respect to Taxes paid by a Seller or its Affiliates or
     refundable tax credits with respect to a period prior to the Closing.

                   H.     Inventory and Other Assets. All Inventory of the GM Business
     and the Company Business disposed of by Sellers prior to Closing in the Ordinary
     Course of Business, and not in violation of this Agreement;

                  I.     Cash Collateral. Cash collateral pledged for the benefit of the
     Senior DIP Lenders.

                   J.     Pending Transactions. All of Sellers’ Pending Transactions as set
     forth on Schedule 2.1.5J, other than the proceeds relating to the brakes and suspension
     business and exhaust business.




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                       K.     Other Excluded Assets. The assets listed on Schedule 2.1.5K.

                        L.     Filing Affiliate Receivables. Intercompany receivables due from
        Filing Affiliates to other Filing Affiliates (other than trade receivables).

                     M. Wage Escrow Accounts. Wage escrow accounts applicable to
        Non-Transferred Hourly Employees at the sites included in the Excluded Facilities.

        At any time prior to Closing, upon notice by Buyer to Delphi, Delphi will consider in
good faith a request to exclude from the transactions contemplated by this Agreement, de
minimis additional assets or real property. In the event Delphi agrees to do so the applicable
definitions of Acquired Assets, and/or Real Property will be amended as set forth in such notice
to remove the additional excluded assets or real property and the definition of Excluded Assets
and/or Excluded Facilities, if applicable, may be amended as provided in such notice to include
such additional excluded assets or real property or Manufacturing Facilities.

        At any time prior to Closing, upon notice to Delphi, GM Buyers, or any of them, may
elect to exclude from the transactions contemplated by this Agreement the assets and related
Liabilities related to the Manufacturing Facilities located in Strasbourg, France and/or Gurgaon,
India. In such event, the applicable definitions of Purchased Assets, Sale Companies, Securities
Sellers, Manufacturing Facilities, Products and/or Real Property will be amended as set forth in
such notice to remove the additional excluded assets, real property, Sale Companies or
Manufacturing Facilities and the definition of Excluded Assets and/or Excluded Facilities, if
applicable, may be amended as provided in such notice to include such additional excluded
assets, real property or Manufacturing Facilities. In the event GM Buyers elect to exclude either
such Manufacturing Facilities, GM Buyers will increase the aggregate amount of the expenses it
will be required to fund under Section 3.1.1F by the amount of the net actual incremental costs
incurred by Sellers as a result of GM Buyers excluding such Manufacturing Facilities in an
amount mutually agreed to by the parties acting reasonably.

              2.1.6.     Post-Closing Deliveries.

                        A.     Should Sellers or Buyers, in their reasonable discretion, determine
        after the Closing that any Acquired Assets are still in the possession of Sellers or any of
        their Affiliates, Sellers will or will cause such Affiliates to promptly deliver such
        Acquired Assets to the appropriate Buyers at such Buyer’s cost (limited to expenses paid
        to third parties in compliance with a request from such Buyer and not including any
        internal fee, cost or overhead of the Sellers). Should Buyers, in their reasonable
        discretion, determine after the Closing that an asset was delivered to the wrong Buyer or
        an Excluded Asset was delivered to a Buyer, such receiving Buyer will promptly
        provide them to correct the Buyer or return it to the appropriate Seller, with any related
        costs to be split evenly between such Buyers or by the Buyer transferring to the Seller.

                      B.      After the Closing, Sellers shall permit, and hereby authorize,
        Buyers to collect, in the name of Sellers, all Accounts Receivable constituting part of
        such Buyers’ Acquired Assets and to endorse with the name of any applicable Seller for
        deposit in such Buyers’ accounts any checks or drafts received in payment thereof.



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        Sellers shall promptly deliver to the applicable Buyers any cash, checks or other
        property that they may receive after the Closing in respect of any Accounts Receivable
        or other asset constituting part of such Buyers’ Acquired Assets.

       2.2    Assumption of Liabilities.

              2.2.1.    GM Assumed Liabilities.

       Subject to the terms and conditions set forth herein the GM Buyers will assume only the
following Liabilities, and no other Liabilities of Sellers (collectively, the “GM Assumed
Liabilities”):

                     A.      Assumed Administrative Liabilities with respect to the GM
        Acquired Assets;

                       B.    the Hedging Agreements;

                       C.    the Other Steering Business Liabilities;

                        D.   the following, and only the following, pre-petition Liabilities as
        they relate to the GM Acquired Assets:

                     (i)       Cure Amounts for Pre-Petition Contracts included among the
              Assumed and Assigned Contracts assumed by the GM Buyers in accordance with
              Section 9.3; and

                      (ii)        To the extent not discharged pursuant to the Plan of
              Reorganization, for each GM Buyer, (i) the real and personal property Taxes with
              respect to the GM Acquired Assets to be acquired by it, (ii) any other Taxes with
              respect to the GM Business to the extent the non-payment of such Taxes could
              result in personal liability to the employees, officers or directors of Asset Sellers,
              including withholding, FICA and FUTA Taxes related to the employees of the
              GM Business, and (iii) to the extent that payroll services were provided by or
              through GM and the non-payment of such Taxes could result in personal liability
              to the employees, officers or directors of Asset Sellers, withholding, FICA and
              FUTA Taxes related to the employees of the Company Business;

                2.2.2.  Subject to the terms and conditions set forth herein, the Company
Buyers will assume only the following Liabilities, and no other Liabilities of Sellers
(collectively, the “Company Assumed Liabilities”):

                     A.      Assumed Administrative Liabilities with respect to the Company
        Acquired Assets;

                       B.    the Specified Director, Officer and Employee Related Liabilities;
        and




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                        C.   the following and only the following pre-petition Liabilities as they
        relate to the Company Acquired Assets:

                      (i)         Cure Amounts for Pre-Petition Contracts included among the
               Assumed and Assigned Contracts assumed by the Company Buyers in accordance
               with Section 9.3; and

                       (ii)        To the extent not discharged pursuant to the Plan of
               Reorganization, for the Company Buyer, (i) real and personal property Taxes with
               respect to the Company Acquired Assets, and (ii) to the extent the non-payment of
               such Taxes could result in personal liability to the employees, officers or directors
               of Asset Sellers, any other Taxes with respect to the Company Business, including
               withholding, FICA and FUTA Taxes related to the employees of the Company
               Business, unless such Taxes are assumed pursuant to Section 2.2.1.D(ii).

              2.3     Retained Liabilities.

        All Liabilities of the Sellers which are not Assumed Liabilities are herein collectively
referred to as the “Retained Liabilities”, including without limitation:

                2.3.1.      Those Sellers who are Filing Affiliates will remain responsible for and
shall pay, perform or discharge (or cause to be paid, performed or discharged) the Administrative
Claims set forth on Schedule 2.3.2 and except as set forth in Sections 2.2.1.D(ii) and 2.2.2.C(ii),
post-petition Liabilities for all Taxes;

               2.3.2.    The applicable Sellers will remain responsible for and shall pay,
perform or discharge (or cause to be paid, performed or discharged) all Liabilities relating to:

                       A.     the Excluded Assets; and

                       B.     the Excluded Facilities.

             2.3.3.    The applicable Sellers will remain responsible for and shall pay,
perform or discharge their obligations under the Delphi Retirement Program for Salaried
Employee, the Delphi Mechatronic Systems Retirement Program, the ASEC Manufacturing
Retirement Program, the Packard-Hughes Interconnect Bargaining Retirement Plan and the
Packard-Hughes Interconnect Non-Bargaining Retirement Plan, (collectively, the “Retained
Plans”).

                2.3.4.    Intercompany payables due to Filing Affiliates from Filing Affiliates
(other than trade payables).

               2.3.5.      All Liabilities relating to the DIP Agreement and the Interim Financing
Amendment (in each case any supplement, amendment, modification thereto or any agreement(s)
or instrument that is in replacement or substitution therefor).




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              2.4      JV Companies Liabilities, Sale Company Liabilities.

        Notwithstanding anything to the contrary herein, the Liabilities of the JV Companies and
the Sale Companies will not be affected by the Agreement, and the Sellers will have no
obligations for such Liabilities.

              2.5      Deferred Items.

                2.5.1.    Non-Assignability. To the extent that any Contract, Permit or
Environmental Permit included in the Acquired Assets is not capable of being assigned,
transferred or reissued (whether pursuant to the Bankruptcy Code or, if inapplicable, then
pursuant to the terms of such Contract or other applicable Law) to Buyer at the Closing without
the Consent of the issuer thereof or the other party thereto or any third party (including a
Governmental Authority) (“Deferred Item(s)”), this Agreement will not constitute an
assignment thereof, or an attempted assignment, unless any such Consent is obtained or the
applicable Buyer specifically indicates in writing (with specific reference to this Section 2.5.1
and the Deferred Item at issue) at Closing that it desires such Deferred Item be transferred
notwithstanding such restriction and indemnifies the applicable Seller for any liability relating to
such transfer; provided that Sellers may not assign such right to indemnity to any Person.

               2.5.2.      Efforts to Obtain Necessary Consents. At the applicable Buyer’s
request, the applicable Seller will, at the requesting Buyer’s sole cost and expense, use
commercially reasonable efforts, and take such other commercially reasonable actions as such
Buyer may request, and such applicable Buyer will, at its expense, cooperate with such Seller, to
obtain the necessary Consents and to resolve the impracticalities of assignment, transfer or
reissuance referred to in Section 2.5.1 before or after the Closing.

                2.5.3.    If Consents Cannot be Obtained. To the extent that the Consents
referred to in Section 2.5.1 are not obtained by the applicable Seller, or until the impracticalities
of assignment, transfer or reissuance referred to therein are resolved, such Sellers’ sole
responsibility with respect to such matters, notwithstanding Sections 2.1.3 and 2.1.4, will be to
appoint the applicable Buyer as its agent to use such Buyer’s commercially reasonable efforts
during the twelve (12) month period commencing with the Closing to: (i) provide to the
applicable Buyer the benefits of any Deferred Item; (ii) cooperate in any reasonable and lawful
arrangement designed to provide such benefits to such Buyer, without incurring a financial
obligation to such Buyer; and (iii) enforce for the account of such Buyer and at the cost of such
Buyer any rights of such Seller arising from any Deferred Item referred to in Section 2.5.1
against such issuer thereof or other party or parties thereto; provided, however, that any such
efforts shall be made with the consent of such Buyer. Such Buyer will pay such Seller or the
Buyer acting as Seller’s agent the cost (including the cost of any internal resources) of providing
the benefits of any Deferred Item.

               2.5.4.     Obligation of Buyer to Perform. To the extent that any Buyer is
provided the benefits pursuant to Section 2.5.3 of any Deferred Item, such Buyer will perform,
on behalf of the applicable Seller, for the benefit of the issuer thereof or the other party or parties
thereto (including payment obligations) the obligations of such Seller thereunder or in
connection therewith and if such Buyer fails to perform to the extent required herein, such Seller,


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without waiving any rights or remedies that it may have under this Agreement or applicable
Laws, may suspend its performance under Section 2.5.3 in respect of the instrument which is the
subject of such failure to perform unless and until such situation is remedied; or upon such
Buyer’s request, such Seller will perform, at such Buyer’s sole cost and expense, in which case
such Buyer will reimburse such Seller’s costs of such performance immediately upon receipt of
an invoice therefor.

                2.5.5.     Standard of Care. Sellers will have no Liability to any Buyer arising
out of the provision of the benefits of the Deferred Items other than for gross negligence or
willful misconduct and will have no Liability for actions taken in accordance with the request or
direction of Buyers; provided such gross negligence or willful misconduct standard shall not
apply with respect to the remittance of any collected Accounts Receivable to Buyers under any
deferred items. Buyers will reimburse Sellers and will hold Sellers harmless from and against all
Liabilities, incurred or asserted as a result of Sellers’ post-Closing direct or indirect ownership,
management or operation of the Deferred Items.

              2.6      Restrictive Covenants.

        To the extent that the GM Acquired Assets include a contract or other obligation,
including without limitation non-compete or non-solicitation agreements, which would restrict or
inhibit the GM Buyers from engaging in, owning an interest in any Person engaged in, or
providing support (financial or otherwise) to any Person engaged in, any line of business, Sellers
shall at the request of the GM Buyers use commercially reasonable efforts to terminate such
contract or obligations and, at the election of the GM Buyers, such contract or obligation shall be
excluded from the Acquired Assets; and in such case, Sellers and the GM Buyers shall use their
respective commercially reasonable efforts, at GM Buyer’s cost, to provide the GM Buyers with
the rights and benefits of such excluded contract or obligation. To the extent that the GM
Acquired Assets include a contract or obligation pursuant to which a third party has a preemptive
or similar right to purchase any asset (including an equity interest in a joint venture), Sellers shall
use commercially reasonable efforts to cause such third party not to exercise such right; and in
such case, Sellers and GM Buyers shall use their respective commercially reasonable efforts, at
GM Buyer’s cost, to provide the GM Buyers with the rights and benefits of such asset (other than
with respect to joint ventures).

        To the extent that the Company Acquired Assets include a contract or other obligation,
including without limitation non-compete or non-solicitation agreements, which would restrict or
inhibit the Company Buyers from engaging in, owning an interest in any Person engaged in, or
providing support (financial or otherwise) to any Person engaged in, any line of business, Sellers
shall at the request of the Company Buyers use commercially reasonable efforts to terminate
such contract or obligations. To the extent that the Company Acquired Assets include a contract
or obligation pursuant to which a third party has a preemptive or similar right to purchase any
asset (including an equity interest in a joint venture), Sellers shall use commercially reasonable
efforts to cause such third party not to exercise such right.




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              2.7     Allocation Among Buyers.

        To the extent it is unclear whether a particular asset or liability should be considered a
GM Acquired Asset or a Company Acquired Asset, or a GM Assumed Liability or a Company
Assumed Liability, as the case may be (such as allocation of Accounts Receivable and accounts
payable to a particular site), the parties will work together in good faith to reasonably allocate
such assets or liabilities. In addition, with respect to accounts payable and Accounts Receivable
relating to the UAW Sites the receivables will be collected and allocated and the payables paid
and allocated to the appropriate Buyer as mutually agreed upon between Company Buyers and
GM Buyers. Prior to Closing, the GM Buyer and Company Buyer will in good faith agree upon
how intercompany receivables and intercompany payables shall be allocated between them
following the Closing Date.

                                    ARTICLE 3.
                            PURCHASE PRICE; ALLOCATION.


              3.1     GM Purchase Price.

              3.1.1.    On the Closing Date, subject to the terms and conditions of this
Agreement, in consideration of the Sale, Parent, on behalf of the GM Buyers, will pay a purchase
price (the “GM Purchase Price”) consisting of the following components:

                       A.     The assumption of the applicable Assumed Liabilities of the GM
        Business;

                       B.     The assumption or payment of the applicable Cure Amounts of the
        GM Business;

                      C.     The waiver by GM of its pre-petition Claims, Administrative
        Claims and future Claims in the Bankruptcy Cases including without limitation any such
        Claims pursuant to Global Settlement Agreement, as amended, effective as of
        September 29, 2008 and each of the GM-Delphi Liquidity Agreements;

                       D.     The payment to Delphi of the DIP Priority Payment;

                       E.     The payment to Delphi of $291,020,079 in cash;

                        F.    The payment to Delphi of certain expenses of Delphi and its Filing
        Affiliates following the Closing as set forth on Exhibit 3.1.1.F; and

                        G.     50% of certain Administrative Claims required to be paid in cash
        by the Filing Affiliates in connection with the Filing Affiliates' emergence from Chapter
        11 pursuant to the Plan of Reorganization, including, certain professional fees and
        transaction costs not to exceed $15,000,000 in the aggregate (excluding the costs of
        solicitation of approval for the Plan of Reorganization); provided, that the sum of (x) the
        amounts paid pursuant to this Section 3.1.1.G, plus (y) without duplication applicable
        Cure Amounts paid or assumed by the GM Buyers, plus (z) the costs of solicitation of


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        approval for the Plan of Reorganization shall not exceed, in the aggregate,
        $148,000,000.

              3.1.2.     The GM Purchase Price will be paid or delivered to the Person
provided above.

               3.1.3.   Following the Closing, GM Buyer shall pay to Delphi the portion of the
net proceeds that are recovered in connection with the pursuit of the Appaloosa Claim as
provided by the Plan of Reorganization, subject to the terms, conditions and limits specified
therein, which such payment shall be made regardless of whether the transactions contemplated
hereby are consummated pursuant to a Plan of Reorganization or a Plan Modification Order.

              3.2      Company Purchase Price.

              3.2.1.      On the Closing Date, and subject to the terms and conditions of this
Agreement, in consideration of the Sale, the Company, on behalf of the Company Buyer, will
pay a purchase price (the “Company Purchase Price”) consisting of the following components:

                    A.    The assumption of the applicable Assumed Liabilities of the
        Company Business;

                    B.    The assumption or payment of the applicable Cure Amounts of the
        Company Business;

                       C.     $1.00 (one dollar); and

                        D.     The payment to Delphi (to be held either by Sellers, a trust or an
        agent, as determined by Sellers) of the Parnassus Class C Interest of Company Buyer,
        either directly or indirectly through one or more intermediaries.

              3.2.2.     The Company Purchase Price will be paid or delivered to the Person
provided above.

               3.2.3.    Following the Closing, Company Buyer shall pay to a disbursement
agent such amounts payable to the unsecured creditors of Delphi and the Filing Affiliates
pursuant to the Plan of Reorganization as filed on the date of execution of this Agreement
(without modification as to the consideration to be paid under this Section 3.2.3 unless consented
to by Company Buyer), for distribution to such unsecured creditors on behalf of Delphi and the
Filing Affiliates, subject to the terms, conditions and limits as set forth in the Plan of
Reorganization, which payment to the disbursement agent shall only be made if the transactions
contemplated hereby are consummated pursuant to a Plan of Reorganization.

                3.2.4.    50% of certain Administrative Claims required to be paid in cash by the
Filing Affiliates in connection with the Filing Affiliates' emergence from Chapter 11 pursuant to
the Plan of Reorganization, including, certain professional fees and transaction costs not to
exceed $15,000,000 in the aggregate (excluding the costs of solicitation of approval for the Plan
of Reorganization).



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              3.3      GM Purchase Price and Company Purchase Price Allocation.

        The DIP Priority Payment shall be delivered, if so directed, by Delphi directly to the DIP
Agent to be held by the DIP Agent as collateral for the outstanding obligations under the DIP
Agreement or as may otherwise be agreed upon by the DIP Agent and Delphi. At Closing,
Delphi shall deliver to the Buyers payoff letters in customary form or reasonably satisfactory to
GM from the DIP Agent setting forth the DIP Priority Payment. The sum of the GM Purchase
Price and the Company Purchase Price and any other relevant items, including the GM Assumed
Liabilities and the Company Assumed Liabilities, shall be allocated among the GM Acquired
Assets, GM Sale Securities, Company Acquired Assets and Company Sale Securities as jointly
determined by Delphi, GM and Company Buyer within a reasonable period of time, but not
longer than 90 days after the Closing Date. To the extent permitted by Law, the Sellers and
Buyers agree to abide by such allocation for all Tax purposes, and shall take no position on any
Tax return inconsistent with such allocation. Without limiting the foregoing, the Sellers and
Buyers shall file IRS Form 8594 in a manner consistent with such allocation. Each of the Sellers
and Buyers will use their respective commercially reasonable efforts to sustain such allocation in
any subsequent audit, similar proceeding, appeal, or court proceeding.

                                ARTICLE 4.
                REPRESENTATIONS AND WARRANTIES OF SELLERS.

        Except as set forth in Delphi’s reports filed with the Securities and Exchange
Commission, each Seller represents and warrants severally and jointly with Delphi to the
applicable Buyers only with respect to itself and with respect to the Acquired Assets or Sale
Securities being sold by such Seller to such Buyer as follows:

              4.1      Organization.

        Each Seller represents to the applicable Buyer that such Seller and, if applicable, the Sale
Company being sold by such Seller is a legal entity duly organized, validly existing, and except
as would not reasonably be expected to have a Material Adverse Effect, in good standing under
the Laws of its jurisdiction of incorporation or organization. Each Seller represents to the
applicable Buyer that such Seller and such, if applicable, Sale Company has or will the full
requisite corporate or other organizational power and authority to own, lease and operate its
assets and to carry on its business as now being conducted, and is duly qualified or licensed or
admitted to do business in the jurisdictions in which the ownership of its property or the conduct
of its business requires such qualification or license, except where the failure to be so qualified
or licensed has not had and would not reasonably be expected, individually or in the aggregate,
to have a Material Adverse Effect on the ability of Sellers to consummate the transactions
contemplated by this Agreement. Delphi represents to the GM Buyer that it has delivered prior
to the execution of this Agreement, or will deliver prior to Closing, deliver to the GM Buyer true
and complete copies of the certificate of incorporation and by-laws or similar Organizational
Documents of each of the Sale Companies relating to the Steering Business as in full force and
effect on the date hereof.




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              4.2      Authorization; Enforceability.

        Each Seller represents to the applicable Buyer that subject to entry and effectiveness of
the Plan Modification Order, and the effectiveness of an appropriate amendment to the DIP
Agreement permitting the sale of the Business and entry of a Final Order from the Bankruptcy
Court related thereto, each such Seller has or will have at Closing, the requisite corporate or
other organizational power and authority to: (i) execute and deliver to the applicable Buyer this
Agreement and the Ancillary Agreements to which such Seller is a party; (ii) perform its
obligations hereunder and thereunder; and (iii) consummate the transactions contemplated by
this Agreement and the applicable Ancillary Agreements, including to own, hold, sell and
transfer (pursuant to this Agreement) the Acquired Assets and the Sale Securities. Subject to
entry and effectiveness of the Plan Modification Order, if applicable, the execution and delivery
of this Agreement and the Ancillary Agreements to the applicable Buyer by Delphi and each
Seller that is a party to any of such agreements, and the performance by each of them of their
respective obligations under any of such agreements, in the case of Delphi have been, and in the
case of the other Sellers, prior to the Closing Date will be, duly authorized by all necessary
corporate action on the part of such Person. Each Seller represents to the applicable Buyer that
this Agreement has been duly executed and delivered to the applicable Buyer by such Seller, and
the Ancillary Agreements will be duly executed and delivered by such Seller, as applicable, and,
assuming due authorization, execution and delivery the applicable Buyers, constitutes, or will
constitute, a valid and binding agreement of each Seller, as applicable, enforceable against each
of them in accordance with their respective terms, except: (a) as enforceability may be limited
by applicable bankruptcy, reorganization, insolvency, moratorium and other Laws affecting the
enforcement of creditors’ rights generally from time to time in effect and by general equitable
principles relating to enforceability; and (b) that enforceability of this Agreement is subject to
entry and effectiveness of the Plan Modification Order.

              4.3      Capital Stock of the Sale Companies and JV Companies.

                4.3.1.    Except as set forth on Schedule 4.3.1, each Securities Seller represents
to the applicable Buyer that (i) such Securities Seller’s equity interests in the Sale Company and,
if applicable, JV Company, is owned, directly or indirectly, by such Securities Seller as set forth
on Schedule 1 and Schedule 2 to the Agreement (which Schedule also sets forth the number and
type of such equity interests held by each Securities Seller); (ii) such Securities Seller’s Sale
Securities are duly authorized, validly issued, fully paid up and non-assessable and are not
subject to any preemptive rights; and (iii) there are no voting trust agreements or other contracts,
agreements or arrangements, to which any Securities Seller is a party, restricting voting or
dividend rights or transferability with respect to the Sale Securities.

               4.3.2.      Except as set forth on Schedule 4.3.1 or Schedule 4.3.2, each Securities
Seller represents to the applicable Buyer that there is no outstanding security, right, subscription,
warrant, option, privilege or other agreement, commitment or contract, preemptive, contractual
or otherwise that gives the right to: (i) purchase or otherwise receive or be issued any share
capital or similar equity interest of such Sale Company or, if applicable, a JV Company or any
security of any kind convertible into or exchangeable or exercisable for any share capital of such
Sale Company or, if applicable, a JV Company; or (ii) receive or exercise any benefits or rights
similar to any rights enjoyed by or accruing to a holder of share capital or similar equity interest


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of such Sale Company or, if applicable, a JV Company, including any rights to participate in the
equity or income of such Sale Company or, if applicable, a JV Company, or to participate in or
direct the election of any directors of such Sale Company or, if applicable, a JV Company or the
manner in which any share capital or similar equity interest of such Sale Company or, if
applicable, a JV Company, are voted.

              4.3.3.      Each Securities Seller represents to the applicable Buyer that at Closing
upon payment of the Purchase Price, such Securities Seller will convey to the applicable Buyer
valid and marketable title to (x) all of the issued and outstanding shares of capital stock of such
Sale Company; and (y) if applicable, all shares of the JV Companies currently owned by such
Securities Seller; in each case, free and clear of all Encumbrances except Permitted
Encumbrances.

              4.4      No Conflict or Approvals.

        Except as set forth on Schedule 4.4, each Seller represents to the applicable Buyer that
subject to entry and effectiveness of the Plan Modification Order and the effectiveness of an
appropriate amendment to the DIP Agreement permitting the sale of the Business and entry of a
final order from the Bankruptcy Court related thereto, the execution, delivery and performance
by such Seller of this Agreement and the Ancillary Agreements do not: (i) violate, conflict with
or result in a breach of Organizational Documents of such Seller or, if applicable, the JV
Companies; (ii) violate or result in a breach of any Governmental Order or Law applicable to
such Seller, such Sale Company or the JV Companies or any of their respective properties or
assets; (iii) require any Governmental Approval, except as set forth in this Agreement and in
each case for consents, approvals, authorizations of, declarations or filings with the Bankruptcy
Court; or (iv) result in a breach, right of acceleration, termination, modification or cancellation of
any of the Material Contracts of such Seller or Sale Companies; except: (x) as would not,
individually or in the aggregate, have a Material Adverse Effect or a Material Adverse Effect on
the ability of such Seller to consummate the transactions contemplated by this Agreement; or (y)
are excused by or unenforceable as a result of the filing of the Bankruptcy Cases or the
applicability of any provision of or any applicable law of the Bankruptcy Code.

              4.5      Sufficiency of Acquired Assets.

        Except as set forth on Schedule 4.5, the Acquired Assets and assets of the Sale
Companies, together with the Intellectual Property rights to be licensed from Sellers to Buyers
pursuant to the IP License Agreement and the services to be provided to Buyers pursuant to the
Transition Services Agreement, comprise all of the assets necessary to carry on the Company
Business and the Steering Business in all material respects as they are now being conducted.

              4.6      Intellectual Property.

                  4.6.1.    Schedule 1.1.D.1, Schedule 1.1.D.2 and Schedule 1.1.D.3, respectively,
list all the issued Patent Rights and Patent Rights applications, all Trademark Rights registrations
and applications therefor, and all Copyright registrations and applications therefor, included in
the Purchased Intellectual Property for the Steering Business identified as of the date of this
Agreement. Except as: (i) set forth in Schedule 1.1.D.1; or (ii) instances in which such issued



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Patent Rights or Patent Rights applications are jointly owned with a third party, or (iii) as would
not reasonably be expected to result in a Material Adverse Effect and subject to Permitted
Encumbrances and the rights and limitations established by the Material Contracts, Sellers own
the entire right, title and interest in their respective Purchased Intellectual Property, and have the
right to transfer such Sellers’ right, title and interest in them and have the right to license the
Shared Intellectual Property as set forth in this Agreement. Buyers shall have the right to bring
actions for all past, present and future infringement or unauthorized use of the Purchased
Intellectual Property.

               4.6.2.      There are no licenses to Affiliates of Sellers of Steering Technology
other than those set forth in Schedule 4.6.2.

                4.6.3.    Except as set forth in Schedule 4.6.3 with respect to the Steering
Business as of the date of such schedule, and except as would not reasonably be expected to have
Material Adverse Effect: (i) each Seller has not, to such Seller’s Knowledge, infringed,
misappropriated or otherwise violated, and the operation of the Business as currently conducted
does not to such Sellers’ Knowledge infringe, misappropriate or otherwise violate any
Intellectual Property rights of any third party to any extent that would have a Material Adverse
Effect; and (ii) each Seller has no Knowledge of any allegation by any third party of such
Seller’s Intellectual Property infringement or misappropriation, resulting from the operation of
the Business during the last three (3) years that would have a Material Adverse Effect.

              4.6.4.    Except as set forth in Schedule 4.6.4 with respect to the Steering
Business as of the date of such schedule, each Seller has no Knowledge of any material
infringement, misappropriation or other violation of such Seller’s Purchased Intellectual Property
by any Person that would have a Material Adverse Effect

               4.6.5.     Except as set forth on Schedule 4.6.5 with respect to the Steering
Business as of the date of such schedule, and except as would not reasonably be expected to have
Material Adverse Effect: (i) Delphi has received no notice of a claim by any third party
contesting the validity, enforceability, use or ownership of any of the material Purchased
Intellectual Property within the past three (3) years that to Delphi’s Knowledge is currently
outstanding or is threatened; and (ii) each Seller and Sale Company has taken reasonable
measures to protect the confidentiality and value of such Seller’s and Sale Company’s Trade
Secrets included in the Purchased Intellectual Property.

              4.7      Personal Property Assets, Inventory.

                4.7.1.   Each Seller represents to the applicable Buyer that except as would not
reasonably be expected to result in a Material Adverse Effect, such Asset Seller and such Sale
Company have good title to, or hold by valid and existing lease or license, all of their Personal
Property included in their respective Acquired Assets. All such Personal Property is free and
clear of all Encumbrances, other than Permitted Encumbrances.

                 4.7.2.     Each Seller represents to the applicable Buyer that such Sale Company
and such Asset Seller, with respect to their Acquired Assets, will own, or have valid leasehold
interests in, all of their Personal Property and Inventory being transferred to applicable Buyers



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under this Agreement, and to each Seller’s Knowledge, all of their respective transferred
Personal Property used by the applicable Business are in such condition (considering age and
purpose for which they are used) as to enable the applicable Business to be conducted as
currently conducted without material disruption.

               4.7.3.     Each Seller represents to the applicable Buyer that except as would not
result in a Material Adverse Effect, the Inventory included in such Seller’s Acquired Assets will,
as of the Closing, be: (i) located at the Real Property; (ii) of a quality usable and saleable in the
Ordinary Course of Business, subject to normal allowances for spoilage, damage and outdated
items.

              4.8      Real Property.

                4.8.1.    Leased Properties. Schedule 4.8.1 lists the address of all real property
leased, subleased or equivalent leasehold rights in U.S. and non-U.S. jurisdictions, by any GM
Sale Company or constituting GM Acquired Assets (the “GM Leased Real Property”),
including any option to purchase the underlying property and leasehold improvements thereon
and all security deposits deposited on or on behalf of each Seller related to such leases. Delphi
has made available to Parent true and complete copies of the leases (including all amendments,
extensions, renewals, guaranties and other agreements with respect thereto) (the “Leases”) and
subleases covering the GM Leased Real Property (as amended to the date of this Agreement).
With respect to the GM Leased Real Property, each lease and sublease and except as otherwise
specified on Schedule 4.8.1 or where the failure of any of the following to be true and correct has
not and would not reasonably be expected to have a Material Adverse Effect:

                       A.     The Leases are, to the Knowledge of the applicable Seller, in all
        material respects, valid, binding, enforceable and in full force and effect, in accordance
        with their respective terms, except as such enforceability may be limited by applicable
        bankruptcy, insolvency, fraudulent conveyance, reorganization, moratorium and other
        similar Laws relating to or affecting creditors’ rights generally and general equitable
        principles (whether considered in a Proceeding in equity or at law); and

                       B.      (i) None of the Sale Companies, or the Asset Sellers or, to the
        Knowledge of the applicable Seller, any other party to its Leases, is in material breach
        under its Leases, other than with respect to monetary defaults by such Asset Sellers
        under the Leases that are curable by payment of all Cure Amounts, if applicable, and, to
        the Knowledge of Sellers, no event has occurred which, with the delivery of notice or
        passage of time or expiration of any grace period would constitute a material breach of
        the respective Sale Company’s or its Asset Seller’s obligations under the Leases (except
        with respect to breaches that need not be cured under Section 365 of the Bankruptcy
        Code for the Filing Affiliates to assume and assign the Leases to Buyer, if applicable);
        and (ii) none of the Sale Companies or the Asset Sellers has received a notice of breach
        with respect to its Leases.

             4.8.2.    Owned Properties. Schedule 4.8.2 lists the address of all real property
owned by any of the GM Sale Companies or GM Asset Sellers or which constitutes GM
Acquired Assets (the “GM Owned Real Property”). With respect to each such parcel of the


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GM Owned Real Property and except as otherwise specified on Schedule 4.8.2, the identified
owner has good and marketable fee simple title, or equivalent title rights in non-U.S.
jurisdictions, to the parcel of the GM Owned Real Property, free and clear of any Encumbrances,
except for Permitted Encumbrances.

              4.9     Financial Statements.

                4.9.1.    The GM Sellers represent to the GM Buyers as follows with respect to
the Steering Business: Schedule 4.9.1 sets forth the unaudited combined balance sheets of the
Global Steering Business as of December 31, 2005 and 2006 and the related unaudited combined
statements of income for the years ended December 31, 2005 and 2006 (referred to as the
“Historical Financial Statements”). Except as set forth on Schedule 4.9.1, and limited to such
applicable Seller’s Knowledge with respect to the JV Companies, each Historical Financial
Statement was, at the time prepared, (i) true, correct and complete in all material respects with
respect to the purpose for which it was prepared, as of the date thereof, subject to the absence of
notes and normal year end adjustments; (ii) consistent with prior practice, subject to the
exceptions and adjustments described in Schedule 4.9.2; (iii) prepared from the accounting
records of the Asset Sellers, Sale Companies and JV Companies, in accordance with the specific
accounting treatments consistently used by Seller in preparation of its books and records; (iv)
with respect to the Historical Financial Statements, subject to the exceptions and adjustments set
forth in Schedule 4.9.2, presents fairly in all material respects the financial condition and the
results of operations of the combined business as of the respective dates of and for the periods
referred to in such financial statements; and (v) in accordance with GAAP. For the avoidance of
doubt, subparagraph (iii) shall take precedence over subparagraphs (iv) and (v), and
subparagraph (iv) shall take precedence over subparagraph (v).

                4.9.2.     The GM Sellers represent to the GM Buyers as follows: Except as
specifically reflected or reserved against in the December 31, 2006 balance sheet that is part of
the Historical Financial Statements or otherwise disclosed on Schedule 4.9.2, there are no
Liabilities that would be required to be disclosed in accordance with GAAP against, relating to
or affecting the Steering Business, other than Liabilities incurred in the Ordinary Course of
Business since December 31, 2006.

              4.10    Compliance with Law; Permits.

        Except as set forth on Schedule 4.10, each Seller represents to the applicable Buyer that
except as would not reasonably be expected to result in a Material Adverse Effect, its applicable
Business is currently in material compliance with all material Laws. Each of the Sale Companies
possess all Permits necessary to own, lease and operate its assets and conduct the applicable
Business as currently conducted, and the Asset Sellers possess all Permits necessary to own,
lease and operate their respective Acquired Assets except as would not reasonably be expected to
result in a Material Adverse Effect.         The representations and warranties relating to
Environmental Laws and Environmental Permits are exclusively set forth in Section 4.15.




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              4.11    Proceedings; Orders.

       Each Seller represents to the applicable Buyer that except as would not reasonably be
expected to result in a Material Adverse Effect, and except for the pendency of the Bankruptcy
Cases (and except with respect to compliance with Environmental Laws, which is covered by
Section 4.15), there are no Proceedings or Governmental Orders pending against such Sale
Company or such Asset Sellers or, to the Knowledge of each Seller, the JV Companies, and to
the Knowledge of each Seller there are no Proceedings or Governmental Orders threatened
against any of such Sale Company, such Asset Sellers or the JV Companies with respect to its
applicable Business.

              4.12    Tax Matters.

                4.12.1. Except as set forth in Schedule 4.12.1, each Sale Company and Asset
Seller has: (i) duly and timely filed with the appropriate federal, state, local and foreign
authorities or governmental agencies, all of its material Tax Returns required to be filed and,
when filed, such Tax Returns were true, correct and complete in all material respects; and (ii)
paid all of its material Taxes shown thereon as due and owing, except in the case of Filing
Affiliates, Taxes which may have been prohibited by the Bankruptcy Code.

               4.12.2. The Sellers and Sale Companies have each withheld and paid all of
their respective material Taxes required to have been withheld and paid in connection with
amounts paid or owing to any Transferred Employee.

             4.12.3. Except as set forth in Schedule 4.12.3, no Sale Company has received
any notice of assessment with respect to the potential underpayment of Taxes or other
deficiency. Except as disclosed in Schedule 4.12.3, all assessments made as a result of any
examinations with respect to, in connection with, associated with or related to, the Sale
Companies have been fully paid or are fully reflected as a liability in the financial statements of
the Sale Company.

              4.12.4. No Sale Company is a party to any agreement, Contract or plan that has
resulted or would result, separately or in the aggregate, in the payment of any excess parachute
payments within the meaning of Code Section 280G.

              4.12.5. Except with respect to Taxes not yet due and payable or as set forth in
Schedule 4.12.5, there are no tax liens on the Acquired Assets or on any of the assets of the Sale
Companies that arose in connection with any failure (or alleged failure) to pay any Tax.

               4.12.6. Except as set forth in Schedule 4.12.6, no Sale Companies have waived
any statue of limitations or agreed to any extension of time with respect to an assessment or
deficiency of Taxes.

              4.13    Employee Benefits; Labor.

             4.13.1. Schedule 4.13.1 contains a list of all U.S. Employees and Non-U.S.
Employees of the Steering Business, and employees of the Sale Companies included in the
Steering Business, including for all such employees: (i) each such person’s title or


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job/position/job code; (ii) each such person’s job designation (i.e., salaried or hourly); (iii) each
such person’s location of employment; (iv) each such person’s employment status (i.e., actively
employed (including without limitation those on layoff status) or not actively at work (due to,
e.g., illness, short-term disability, sick leave, authorized leave or absence, etc.)); (v) each such
person’s current annual base rate of compensation; (vi) each person’s date of hire; and (vii) any
material, individual specific provisions relating to such person’s employment (e.g., non-compete
agreement, separation pay agreement), in each case, to the extent permitted to be disclosed under
applicable Law (including local privacy laws).

              4.13.2. Schedule 4.13.2, sets forth a list of the Seller Employee Benefit Plans,
including each Non-U.S. Benefit Plan for the employees of the Steering Business and each
Employee Benefit Plan for U.S. Employees.

                4.13.3. To the extent applicable to employees of the Steering Business and
each Seller Employee Benefit Plan for U.S. Employees, copies of the following materials have
been delivered or made available to Parent with respect to each Seller Employee Benefit Plan to
the extent applicable to the Steering Business: (i) current plan documents, any related trust
agreements, service provider agreements, insurance contracts or agreements with investment
managers; (ii) the most recent summary plan description and summary of material modifications
to the extent not included in the summary plan description in each case distributed to employees;
(iii) current agreements and other documents relating to the funding or payment of benefits; and
(iv) the most recent actuarial valuation report, if applicable.

                 4.13.4. Except as set forth in Schedule 4.13.4, or where the failure to comply
would not have a Material Adverse Effect, the Seller Employee Benefit Plans are in compliance
with their terms and applicable requirements of ERISA, the Code and other Laws (if applicable).
Each Seller Employee Benefit Plan and related trust which is intended to be qualified within the
meaning of Section 401 or 501, as applicable, of the Code has received a favorable determination
letter as to its qualification and to the Knowledge of Sellers, nothing has occurred that could
reasonably be expected to adversely affect such determination.

               4.13.5. Except as: (i) set forth in Schedule 4.13.5; and (ii) routine claims for
benefits by participants and beneficiaries, there are no pending or, to the Knowledge of Sellers,
material threatened Proceedings in the U.S. with respect to any Seller Employee Benefit Plans of
the Steering Business or that otherwise might have a Material Adverse Effect with respect to the
other Seller Employee Benefit Plans applicable to any U.S. Employees.

               4.13.6. Except as set forth in Schedule 4.13.6 no event or condition has
occurred in connection with which any of the Sale Companies or Sellers or any member of the
Controlled Group (as defined below) could be subject to any material Liability or Encumbrance
under Title IV of ERISA.

               4.13.7. None of the Sale Companies nor any member of the Controlled Group
(as defined below) currently has or for the past five (5) years has had an obligation to contribute
to a “multiemployer plan” as defined in Section 3(37) of ERISA or Section 414(f) of the Code.




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                4.13.8. With respect to each group health plan that is subject to Section 4980B
of the Code maintained by any entity described in this Section 4.13.8, the Sale Companies and
each member of the Controlled Group (as defined below) have complied with the continuation
coverage requirements of Section 4980B of the Code and Part 6 of Subtitle B of Title I of
ERISA, except where the failure to so comply would not have a Material Adverse Effect. Except
as set forth on Schedule 4.13.8, no Seller Employee Benefit Plan provides welfare coverage that
extends after the termination of employment other than for continued coverage provided
pursuant to the requirements of Section 4980B of the Code or other similar provision of state
law. For purposes of this Agreement, “Controlled Group” means any trade or business
(whether or not incorporated): (i) under common control within the meaning of Section
4001(b)(1) of ERISA with any of the Sale Companies; or (ii) which together with any of the Sale
Companies is treated as a single employer under Section 414(t) of the Code.

               4.13.9. Sellers are not in default in performing any of their obligations under
any Seller Employee Benefit Plan or any related trust agreement or insurance contract with
respect to the Steering Business or, in the case of any other business of the Sellers, where such
default would reasonably be expected to result in a Material Adverse Effect. Except as set forth
on Schedule 4.13.9, all contributions and other payments required to be made by Sellers to any
Seller Employee Benefit Plan with respect to any period ending before or at the Closing Date
have been made or reserves adequate for such contributions or other payments have been or will
be set aside therefor. There are no material outstanding Liabilities of, or related to, any Seller
Employee Benefit Plan other than Liabilities for benefits to be paid in the Ordinary Course of
Business to participants in such Seller Employee Benefit Plan and their beneficiaries in
accordance with the terms of such Seller Employee Benefit Plan. Except as set forth on
Schedule 4.13.9, there are no Contracts or other arrangements providing for any bonus or other
payments to any Transferred Employees arising as a result of the transactions contemplated
hereby.

              4.13.10. No transaction contemplated by this Agreement will result in liability
under Sections 4062, 4063, 4064, or 4069 of ERISA or otherwise, with respect to Sellers or
Buyers or any corporation or organization controlled by or under common control with any of
the foregoing within the meaning of Section 4001 of ERISA, and no event or condition exists or
has existed which would reasonably be expected to result in any such liability with respect to the
foregoing within the meaning of Section 4001 of ERISA.

               4.13.11. Schedule 4.13.11 lists all material Collective Bargaining Agreements
applicable to employees of the Steering Business or U.S. Hourly Employees. Sellers have given
access or delivered to Buyer true, correct and complete copies of each of the Collective
Bargaining Agreements with respect to the Steering Business and the Seller’s business in the
U.S. Except as disclosed on Schedule 4.13.11, Sellers are, and for the past twelve (12) months
(i) with respect to the Steering Business and the Seller's business in the U.S. have remained in
material compliance with each Collective Bargaining Agreement and (ii) with respect to the
Seller's non-U.S. business have remained in compliance with each Collective Bargaining
Agreement except where failure to be in compliance would have a Material Adverse Effect.
With respect to the transactions contemplated under this Agreement, any notice required under
any Law or Collective Bargaining Agreement has been or prior to Closing will be given, and



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Seller will be in compliance with all bargaining obligations with any employee representative
except where failure to be in compliance would have a Material Adverse Effect.

                4.13.12. Except as disclosed on Schedule 4.13.12: (i) with respect to the Seller's
Steering Business and Seller's U.S. business, there is no labor strike, dispute, slowdown or
stoppage actually pending or, to Sellers’ Knowledge, threatened against or involving Sellers or
any Sale Company; (ii) with respect to the Seller's Steering Business and Seller's U.S. business,
neither Sellers nor any Sale Company has in the past three (3) years experienced any work
stoppage or other labor difficulty or organizational activity relating to any of its employees; (iii)
with respect to the Seller's Steering Business, no material labor grievance relating to any
employee of Sellers or any Sale Company is pending as of the date of Schedule 4.13.12; and (iv)
with respect to the Seller's Steering Business and Seller's U.S. business, neither Sellers nor any
Sale Company has any labor negotiations in process with any labor union or other labor
organization. Except as set forth on Schedule 4.13.12 or as would not have a Material Adverse
Effect, there are no pending litigations, administrative proceedings, grievances, arbitrations,
investigations or claims against Sellers or any Sale Companies whether under applicable Laws,
Collective Bargaining Agreements, employment agreements or otherwise asserted by any present
employee or former employee (or their representative) or any other Person as relates to the
Business, including claims on account of or for: (a) overtime pay, other than overtime pay for
work done during the current payroll period; (b) wages or salary for any period other than the
current payroll period; (c) any amount of vacation pay or pay in lieu of vacation or time off; or
(d) any violation of any statute, ordinance or regulation relating to minimum wages or maximum
hours at work, and, to Sellers’ Knowledge, there are no such claims which have yet to be
asserted.

                4.13.13. With respect to each benefit plan, bonus, deferred compensation,
severance pay, pension, profit-sharing, retirement, insurance, stock purchase, stock option,
vacation pay, sick pay or other fringe benefit plan, arrangement or practice that is currently
sponsored or maintained outside the jurisdiction of the United States by any Sale Company, that
is not subject to the laws of the United States, and that covers an employee of a Sale Company
that resides or works outside the United States (each a “Non-U.S. Benefit Plan”), the following
representations are made with respect to those Non U.S. Benefit Plans (x) with respect to the
Seller's Steering Business and (y) except as would not have or reasonably be expected to have a
Material Adverse Effect, with respect to the Seller's businesses other than the Seller's Steering
Business:

                      A.    All employer and employee contributions, to the extent directly
        paid by the employer, to each Non U.S. Benefit Plan required by law or by the terms of
        such Non U.S. Benefit Plan have been made, or, if applicable, accrued in accordance
        with GAAP; and

                       B.    Each Non U.S. Benefit Plan required to be registered or approved
        has been registered or approved and has been maintained in good standing with
        applicable regulatory authorities. Each Non U.S. Benefit Plan is now and always has
        been operated in material compliance with all applicable Laws.




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             4.14     Contracts.

               4.14.1. Schedule 4.14.1 sets forth a true and complete list as of the date of such
schedule of each of the following Contracts to which such Sale Company, or such Asset Seller
with respect to the Steering Business, is a party or by which any of them is bound, other than
Seller Employee Benefit Plans (collectively, the “Material Contracts”):

                       A.   Contracts (other than purchase order Contracts) involving the
        expenditure by the Sale Companies or the Asset Sellers in respect of the Steering
        Business of more than $500,000 in any instance for the purchase of materials, supplies,
        equipment or services, excluding any such contracts that are terminable by the Sale
        Companies or the Asset Sellers without penalty on not more than one hundred eighty
        (180) days notice;

                        B.    Indentures, mortgages, loan agreements, capital leases, security
        agreements or other agreements for the incurrence of material Debt Obligations with
        respect to the Steering Business;

                        C.     Guarantees of obligations (other than endorsements made for
        collection) involving the potential expenditure by the Sale Companies or the Asset
        Sellers in respect of the Steering Business after the date of this Agreement of more than
        $500,000 in any instance;

                      D.     Contracts under which any Seller or the Sale Companies has
        licensed material Purchased Intellectual Property to, or material Licensed Intellectual
        Property from, any other Person with respect to the Steering Business;

                        E.    Partnership, joint venture agreements or other agreements
        involving a sharing of profits or expenses by the Sale Companies or the relevant Asset
        Seller party thereto with respect to the Steering Business;

                       F.     All Contracts containing any provision or covenant prohibiting or
        materially limiting the ability of any Sale Company to engage in any Business activity or
        in any region or compete with any Person with respect to the Steering Business;

                      G.    All Contracts (other than purchase order Contracts with Affiliates)
        between the Sale Companies or Asset Sellers with respect to the Steering Business, on
        the one hand, and any Seller or its officers, directors or Affiliates (other than the Sale
        Companies or any of the Asset Sellers with respect to the Steering Business);

                        H.     Contracts (other than purchase order Contracts) providing that a
        Sale Company or any Asset Seller in respect of the Steering Business will receive future
        payments aggregating more than $2,500,000 per annum or $10,000,000 in the aggregate
        prior to the expiration of such Contract;

                        I.   Collective Bargaining Agreements, works council agreements and
        similar agreements with any labor organization or employee representative with respect
        to the Steering Business;


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                       J.    All letters of credit, performance bonds and other similar items
        issued and outstanding in connection with the Steering Business; and

                        K.    Agreements compromising, settling or resolving any material
        dispute affecting a Seller or a Sale Company pursuant to which, on or after the execution
        date of this Agreement, any Seller, with respect to a matter that would otherwise become
        an Assumed Liability, or any Sale Company will be required to pay consideration valued
        in excess of $500,000 or to satisfy monitoring or reporting obligations to any
        Governmental Authority outside the Ordinary Course of Business with respect to the
        Steering Business.

               4.14.2. As of the date of such schedule and with respect to the Steering
Business, except as set forth in Schedule 4.14.2, and other than with respect to monetary defaults
by Sellers under Material Contracts that are curable by payment of all Cure Amounts, if
applicable, no event has occurred or would be reasonably likely to occur as of the date of such
schedule that constitutes a material default (except with respect to defaults that need not be cured
under Section 365 of the Bankruptcy Code for Sellers to assume and assign such Material
Contracts to Buyers, if applicable) by: (i) any of the Sale Companies or any Asset Seller under
any Material Contract; or (ii) any other party to any Material Contract. As of the date of such
schedule and with respect to the Steering Business, Schedule 4.14.2 identifies all Post Petition
Contracts included within the Material Contracts, other than immaterial Post-Petition Contracts
and open purchase orders entered into in the Ordinary Course of Business.

               4.14.3. The Sellers have made or will make available to the GM Buyers a true
and correct copy of all written Contracts disclosed on Schedule 4.14.1 (other than purchase
orders and those subject to confidentiality provisions that prohibit disclosure to third parties), in
each case together with all amendments, waivers or other changes thereto.

              4.15     Environmental Matters.

        Except as disclosed in Schedule 4.15, since January 1, 1999, to the Knowledge of each of
the Sellers with respect to such Seller’s Business or except as would not reasonably be expected
to result in a Material Adverse Effect:

             4.15.1. The Business is in compliance with Environmental Laws and with
Environmental Permits applicable to the Business and the Real Property;

               4.15.2. From February 1, 2009 through the Closing, no lien, restrictive
covenant, engineering and/or institutional control or other land or resource use restriction has
been, nor shall any be, recorded against or imposed upon the Real Property under Environmental
Laws;

              4.15.3. None of the Sale Companies or the Asset Sellers with respect to their
respective Acquired Assets and their Business has received any written notice from a
Governmental Authority alleging that the Business as currently operated violates in any material
respects any Environmental Laws or Environmental Permits;




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             4.15.4. Each Sale Company and Asset Seller with respect to their respective
Acquired Assets and their Business has not received and has no Knowledge of the issuance of
any Claim under Environmental Law with respect to the Real Property;

              4.15.5. Each Sale Company and Asset Seller with respect to their respective
Acquired Assets and their Business has obtained and maintains in full force and effect all
Environmental Permits required for the operation of the Business and occupancy of the Real
Property; and

                4.15.6. By the Closing Date, Sellers shall have delivered or otherwise made
available to (a) the GM Buyers, the GM Environmental Records and all Environmental Records
at any GM Real Property relating to the GM Business, and (b) the Company Buyer, all
Environmental Records at any Company Real Property relating to the Company Business.

              4.16     Insurance.

                4.16.1. Schedule 4.15.6 contains a complete and correct list, in all material
respects, of all material policies of insurance, other than Insurance Policies relating to multiple
business lines of Delphi, covering any of the assets primarily used in the Steering Business, other
than Excluded Assets, indicating for each policy the carrier, risks insured, the amounts of
coverage, deductible, expiration date and any material pending claims thereunder.

                4.16.2. Each Seller represents to the applicable Buyer that except as would not
reasonably be expected to result in a Material Adverse Effect, with respect to their Transferred
Insurance Policies, all such policies are outstanding and in full force and effect and neither the
Sale Companies, the Asset Sellers nor the Person to whom any policy has been issued has
received any notice of cancellation or termination in respect of any policy or is in default
thereunder. Each Seller represents to the applicable Buyer that neither such Sale Company, such
Asset Sellers nor the Person to whom any Policy has been issued has received notice that any
insurer under such Transferred Insurance Policies is denying coverage or defending under a
reservation of rights clause.

              4.17     No Brokers’ Fees.

       Each Seller represents to the applicable Buyer that such Seller has employed no finder,
broker, agent or other intermediary in connection with the negotiation or consummation of this
Agreement or any of the transactions contemplated hereby for which Buyers, the Sale
Companies or the JV Companies would be liable (including any claim for a finder’s fee or
brokerage commission).

              4.18     Affiliate Transactions.

        Each Seller represents to the applicable Buyer that except as would not reasonably be
expected to result in a Material Adverse Effect, (i) none of its officers or directors of any Seller
provides or causes to be provided any assets, services or facilities used or held for use in
connection with the Business; and (ii) the Business does not provide or cause to be provided any
assets, services or facilities to any such officer or director.



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              4.19     No Other Representations or Warranties.

        Except for the representations and warranties contained in this Article 4: (i) the Sellers
make no other express or implied representation or warranty to any of the Buyers; and (ii) no
Seller is making any representations with respect to any plan(s) of Buyers for the future conduct
of the Business, or any implied warranties of merchantability or fitness for a particular purpose.
For the avoidance of doubt, except for the representations and warranties contained in this
Article 4, no warranty or representation is given on the contents of the documents provided
during due diligence, including any information in any Data Room and any other reports,
financial forecasts, projections or information furnished by or on behalf of Delphi or any Seller
or their officers, directors, employees, agents or representatives or in any other documents or
other information not contained in this Agreement or the Ancillary Agreements.

              4.20     Fair Disclosure; Schedule Data.

                4.20.1. The information set forth in each Section of the Schedules shall be
deemed to provide the information contemplated by, or otherwise qualify, the representation and
warranties of the Sellers set forth in the corresponding section or subsection of the agreement
and any other representation of the Sellers, but only to the extent that it is reasonably apparent on
the face of the Schedule that it applies to such other representation.

               4.20.2. The information set forth on the schedules referred to in this Article 4
in each case is only provided as of the date set forth on such schedule. To the extent that a
schedule is dated prior to the date of this Agreement, the related representation in this Agreement
is only made as of such date.

                               ARTICLE 5.
              REPRESENTATIONS AND WARRANTIES OF GM BUYERS.

       GM Buyers jointly and severally represent and warrant to the GM Sellers and Company
Buyers as follows:

              5.1      Organization.

        Each GM Buyer represents to the GM Sellers that it is a legal entity duly organized,
validly existing and in good standing under the Laws of its jurisdiction of incorporation or
organization. Each GM Buyer represents to the GM Sellers that it has the full requisite corporate
or other organizational power and authority to own, lease and operate its assets and to carry on
its business as now being conducted, and is duly qualified or licensed or admitted to do business
and is in good standing in the jurisdictions in which the ownership of its property or the conduct
of its business requires such qualification or license, except where the failure to be so qualified
or licensed: (i) has not had and would not reasonably be expected, individually or in the
aggregate, to have a material adverse effect on the ability of GM Buyers to consummate the
transactions contemplated by this Agreement; or (ii) would not reasonably be expected,
individually or in the aggregate, to have a material adverse effect on GM Buyers.




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              5.2      Authorization; Enforceability.

        Each GM Buyer represents to the GM Sellers that it has the requisite corporate power and
authority to execute and deliver this Agreement and the Ancillary Agreements to the GM Sellers
and perform its obligations hereunder and thereunder. The execution and delivery of this
Agreement and the Ancillary Agreements to the GM Sellers by each GM Buyer and the
performance by each of them of their respective obligations hereunder and thereunder, in the
case of Parent have been, and in the case of the other Buyers prior to the Closing Date will be,
duly authorized by all necessary corporate action on the part of such GM Buyer and, upon such
authorization, no other corporate or shareholder proceedings or actions are necessary to authorize
or consummate this Agreement, the Ancillary Agreements or the transactions contemplated
hereby or thereby. This Agreement has been duly executed and delivered by the GM Buyers,
and the Ancillary Agreements will be duly executed and delivered by the applicable GM Buyers
and, assuming due authorization, execution and delivery by Sellers, constitutes, or will
constitute, a valid and binding agreement of the applicable GM Buyers, enforceable against each
of them in accordance with their respective terms, except as may be limited by applicable
bankruptcy, insolvency, fraudulent conveyance, reorganization, moratorium and other similar
Laws relating to or affecting creditors’ rights generally and general equitable principles (whether
considered in a proceeding in equity or at law).

              5.3      No Conflicts or Approvals.

         Each GM Buyer represents to the GM Sellers that the execution, delivery to the GM
Sellers and performance by GM Buyer of this Agreement and the Ancillary Agreements to which
it is a party and the consummation by the GM Buyers of the transactions contemplated hereby
and thereby do not and will not: (i) violate, conflict with or result in a breach by the GM Buyer
of the Organizational Documents of the GM Buyer; (ii) violate, conflict with or result in a breach
of, or constitute a default by GM Buyer (or create an event which, with notice or lapse of time or
both, would constitute a default) or give rise to any right of termination, cancellation or
acceleration under, any note, bond, mortgage, indenture, deed of trust, license, franchise, permit,
lease, contract, agreement or other instrument to which the GM Buyer or any of its properties or
assets may be bound; (iii) violate or result in a breach of any Governmental Order or Law
applicable to GM Buyer or any of its properties or assets; or (iv) except for applicable
requirements of the HSR Act, the EC Merger Regulation and other applicable
Competition/Investment Law, require any Governmental Approval, except, with respect to the
foregoing clauses (ii), (iii) and (iv) above, as would not, individually or in the aggregate, have a
material adverse effect on the ability of GM Buyer to consummate the transactions contemplated
by this Agreement.

              5.4      Proceedings.

       Each GM Buyer represents to the GM Sellers that as of the date hereof, there are no
Proceedings pending or, to the Knowledge of GM Buyer, threatened against GM Buyer that
would reasonably be expected to restrain, delay or inhibit the ability of GM Buyer to
consummate the transactions contemplated by this Agreement. Each GM Buyer represents to the
GM Sellers that as of the date hereof, such GM Buyer is not subject to any Governmental Order



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that would reasonably be expected to restrain, delay or otherwise inhibit the ability of such GM
Buyer to consummate the transactions contemplated by this Agreement.

              5.5      Investment Representations.

                 5.5.1.    Each GM Buyer represents to the GM Sellers that the GM Buyer is
acquiring the GM Sale Securities for its own account solely for investment and not with a view
to, or for sale in connection with, any distribution thereof in violation of the Securities Act or the
applicable securities Laws of any other jurisdiction. Each GM Buyer agrees with GM Sellers
that it will not transfer any of the GM Sale Securities, except in compliance with the Securities
Act and with the applicable securities Laws of any other jurisdiction.

               5.5.2.     Each GM Buyer represents to the GM Sellers that such GM Buyer is an
“accredited investor” as defined in Rule 501(a) promulgated under the Securities Act.

               5.5.3.     Each GM Buyer represents to the GM Sellers that such GM Buyer
understands that the acquisition of the GM Sale Securities to be acquired by it pursuant to the
terms of this Agreement involves substantial risk. Each GM Buyer represents to the GM Sellers
that GM Buyer and its officers have experience as an investor in securities and equity interests of
companies such as the ones being transferred pursuant to this Agreement and acknowledges that
it can bear the economic risk of its investment and has such knowledge and experience in
financial or business matters that it is capable of evaluating the merits and risks of its investment
in the GM Sale Securities to be acquired by it pursuant to the transactions contemplated hereby.

                5.5.4.      Each GM Buyer further understands and acknowledges to the GM
Sellers that the GM Sale Securities have not been registered under the Securities Act or under the
applicable securities Laws of any other jurisdiction and agrees with GM Sellers that the GM Sale
Securities may not be transferred unless such transfer is pursuant to an effective registration
statement under the Securities Act or under the applicable securities Laws of any other
jurisdiction, or, in each case, pursuant to an applicable exemption therefrom.

             5.5.5.     GM Buyer acknowledges to GM Seller that the offer and sale of the
GM Sale Securities has not been accomplished by the publication of any advertisement.

              5.6      Financial Ability.

       GM Buyers have the financial ability or will have available at Closing, sufficient Cash in
immediately available funds to pay the GM Purchase Price, and all costs, fees and expenses
necessary to consummate the transactions contemplated by this Agreement.

              5.7      Adequate Assurance of Future Performance.

        Each GM Buyer represents to the Sellers that such GM Buyer will be able to provide, at
or prior to Closing, adequate assurance of its future performance (or future performance of any
applicable subsidiary of a GM Buyer) under each applicable Acquired Contract to the parties
thereto (other than Sellers) in satisfaction of Section 365(f)(2)(B) of the Bankruptcy Code, and
no other or further assurance will be necessary thereunder with respect to any Acquired Contract.
Each GM Buyer acknowledges to the applicable GM Seller and agrees with the GM Seller that if


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it is necessary to provide a Contract counter-party with additional assurances to satisfy such GM
Buyer’s obligations to provide adequate assurance in accordance with this Section 5.7, all such
costs and expenses or other actions required will be borne and performed by such GM Buyer
without recourse to Sellers.

              5.8      No Brokers’ Fees.

        Except for Evercore Partners and AlixPartners (which shall be paid by GM or a GM
Buyer), payment of whose fees will be solely GM’s responsibility, each GM Buyer represents to
the GM Sellers that such GM Buyer has not employed any finder, broker, agent or other
intermediary in connection with the negotiation or consummation of this Agreement or any of
the transactions contemplated hereby for which Sellers would be liable.

              5.9      Anti-Money Laundering.

         Each GM Buyer represents to the GM Sellers that such GM Buyer is in compliance with:
(i) all applicable provisions of the Uniting and Strengthening America by Providing Appropriate
Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Public Law 107-57) (“USA
PATRIOT Act”) as amended and all regulations issued pursuant to it; (ii) Executive Order No.
13224 on Terrorist Financing, effective September 24, 2001, and relating to Blocking Property
and Prohibited Transactions with Persons Who Commit, Threaten to Commit, or Support
Terrorism; (iii) the International Emergency Economic Power Act (50 U.S.C. 1701 et seq.), and
any applicable implementing regulations; (iv) the Trading with the Enemies Act (50 U.S.C. 50 et
seq.), and any applicable implementing regulations; and (v) all applicable legal requirements
relating to anti-money laundering, anti-terrorism and economic sanctions in the jurisdictions in
which any Buyer operates or does business. Neither such GM Buyer nor any of its directors,
officers or affiliates is identified on the United States Treasury Department Office of Foreign
Asset Control’s (“OFAC”) list of “Specially Designated Nationals and Blocked Persons” (the
“SDN List”) or otherwise the target of an economic sanctions program administered by OFAC,
and such GM Buyer is not affiliated in any way with, nor providing financial or material support
to, any such persons or entities. Each GM Buyer agrees that should it or any GM Buyer, or any
of their directors, officers or affiliates be named at any time prior to Closing on the SDN List, or
any other similar list maintained by the U.S. Government, it will inform Delphi in writing
immediately.

              5.10     Compliance with Laws.

       Each GM Buyer represents to the GM Sellers that such GM Buyer is in compliance with
all Laws applicable to such GM Buyer, except with respect to those violations that would not
reasonably be expected to result in the issuance of an order restraining, enjoining or otherwise
prohibiting such GM Buyer from consummating the transactions contemplated by this
Agreement.

              5.11     No Undisclosed Agreements.

     GM Buyer has disclosed and will disclose all written agreements between it and the
Company Buyer relating to the subject matter of this Agreement or Delphi.



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                                 ARTICLE 6.
                    REPRESENTATIONS AND WARRANTIES OF GM

              6.1      Authorization; Enforceability.

        GM represents to Delphi that it has the requisite corporate power and authority to execute
and deliver the Buyer Loan Documents and the Securities Purchase Agreement (together, and
including, without limitation, any and all exhibits, annexes, schedules, fee letters and other
ancillary documents, the “GM Financing Agreements”) and this Agreement and perform its
obligations thereunder and hereunder. The execution and delivery of this Agreement and the
GM Financing Agreements by GM and the performance by GM of its obligations hereunder and
thereunder have been duly authorized by all necessary corporate action on the part of GM, and
no other corporate or shareholder proceedings or actions are necessary to authorize or
consummate this Agreement, the GM Financing Agreements or the transactions contemplated
hereby or thereby. This Agreement and the Securities Purchase Agreement have been duly
executed and delivered by GM and the Buyer Loan Documents will have been duly executed and
delivered by GM on or prior to the Closing and, assuming due authorization, execution and
delivery by the other parties hereto and thereto (other than the GM Buyers), subject to obtaining
requisite Bankruptcy Court approval, constitutes, or in the case of the Buyer Loan Documents
will constitute as of the Closing, a valid and binding agreement of GM, enforceable against GM
in accordance with their respective terms, except as may be limited by applicable bankruptcy,
insolvency, fraudulent conveyance, reorganization, moratorium and other similar Laws relating
to or affecting creditors’ rights generally and general equitable principles (whether considered in
a proceeding in equity or at law).

              6.2      No Conflicts or Approvals.

        GM represents to Delphi that the execution, delivery and performance by GM of this
Agreement and the GM Financing Agreements (when executed) and the consummation by GM
of the transactions contemplated hereby and thereby do not and will not: (i) violate, conflict with
or result in a breach by the GM of the Organizational Documents of GM; (ii) violate, conflict
with or result in a breach of, or constitute a default by GM (or create an event which, with notice
or lapse of time or both, would constitute a default) or give rise to any right of termination,
cancellation or acceleration under, any note, bond, mortgage, indenture, deed of trust, license,
franchise, permit, lease, contract, agreement or other instrument to which the GM or any of its
properties or assets may be bound; (iii) violate or result in a breach of any Governmental Order
or Law applicable to GM or any of its properties or assets; or (iv) except for applicable
requirements of the HSR Act and other applicable Competition/Investment Law, and obtaining
requisite Bankruptcy Court approval, require any Governmental Approval, except, with respect
to the foregoing clauses (ii), (iii) and (iv) above, as would not, individually or in the aggregate,
have a material adverse effect on the ability of GM to consummate the transactions contemplated
by this Agreement, the Securities Purchase Agreement or the Buyer Loan Documents (when
executed). GM has received the Consent of the President’s Designee with respect to the
transactions contemplated by this Agreement.




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              6.3      GM Financing Arrangements.

        GM represents to Delphi that it has delivered to Delphi (a) a true, correct and complete
signed copy of the Securities Purchase Agreement, including all exhibits and schedules thereto
and (b) a true correct and complete copy of the form of Buyer Loan Documents, including all
exhibits and schedules thereto, pursuant to which GM has agreed to provide to the Company
Buyer on or prior to the Closing Date the equity and debt financing described therein (the “GM
Financing”). The GM Financing Agreements are subject to no contingencies or conditions other
than those set forth in the copies of the GM Financing Agreements delivered to Delphi. As of
the date hereof, no event has occurred which, with or without notice, lapse of time or both,
would constitute a default or breach on the part of GM under the GM Financing Agreements.

                              ARTICLE 7.
          REPRESENTATIONS AND WARRANTIES OF COMPANY BUYER.

     The Company Buyer represents and warrants (and to the extent there is more than one
Company Buyer, the Company Buyers jointly and severally represent and warrant to) to the
Company Sellers and the GM Buyers, as follows:

              7.1      Organization.

        The Company Buyer represents to the Company Sellers that it is a legal entity duly
organized, validly existing and in good standing under the Laws of its jurisdiction of
incorporation or organization. The Company Buyer represents to the Company Sellers that it has
the full requisite corporate or other organizational power and authority to own, lease and operate
its assets and to carry on its business as now being conducted, and is duly qualified or licensed or
admitted to do business and is in good standing in the jurisdictions in which the ownership of its
property or the conduct of its business requires such qualification or license, except where the
failure to be so qualified or licensed: (i) has not had and would not reasonably be expected,
individually or in the aggregate, to have a material adverse effect on the ability of Company
Buyer to consummate the transactions contemplated by this Agreement; or (ii) would not
reasonably be expected, individually or in the aggregate, to have a material adverse effect on
Company Buyer.

              7.2      Authorization; Enforceability.

        The Company Buyer represents to the Company Sellers that it has the requisite corporate
power and authority to execute and deliver this Agreement and the Ancillary Agreements to the
Sellers and perform its obligations hereunder and thereunder. The execution and delivery of this
Agreement and the Ancillary Agreements by the Company Buyer and the performance by each
of them of their respective obligations hereunder and thereunder, have been, and in the case of
the other Company Buyers prior to the Closing Date will be, duly authorized by all necessary
corporate action on the part of such Company Buyer and, upon such authorization, no other
corporate or shareholder proceedings or actions are necessary to authorize or consummate this
Agreement, the Ancillary Agreements or the transactions contemplated hereby or thereby. The
Company Buyer represents to the Company Sellers that this Agreement has been duly executed
and delivered by the Company Buyer to the Company Sellers, and the Ancillary Agreements will



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be duly executed and delivered by the Company Buyer and, assuming due authorization,
execution and delivery by Company Sellers, constitutes, or will constitute, a valid and binding
agreement of the applicable Company Buyer, enforceable against each of them in accordance
with their respective terms, except as may be limited by applicable bankruptcy, insolvency,
fraudulent conveyance, reorganization, moratorium and other similar Laws relating to or
affecting creditors’ rights generally and general equitable principles (whether considered in a
proceeding in equity or at law) and, in addition, the Parnassus Class C Interest, when issued and
delivered in accordance with the terms of this Agreement and the Operating Agreement, will be
duly authorized, validly issued, fully paid, and non-assessable and free of all preemptive rights,
Liens, voting or transfer restrictions and encumbrances, except as specifically set forth in the
Operating Agreement or as may be provided under federal or state securities laws.

              7.3      No Conflicts or Approvals.

        The Company Buyer represents to the Company Sellers that the execution, delivery to the
Sellers and performance by Company Buyer of this Agreement and the Ancillary Agreements to
which it is a party and the consummation by the Company Buyer of the transactions
contemplated hereby and thereby do not and will not: (i) violate, conflict with or result in a
breach by the Company Buyer of the Organizational Documents of the Company Buyer; (ii)
violate, conflict with or result in a breach of, or constitute a default by Company Buyer (or create
an event which, with notice or lapse of time or both, would constitute a default) or give rise to
any right of termination, cancellation or acceleration under, any note, bond, mortgage, indenture,
deed of trust, license, franchise, permit, lease, contract, agreement or other instrument to which
the Company Buyer or any of its properties or assets may be bound; (iii) violate or result in a
breach of any Governmental Order or Law applicable to Company Buyer or any of its properties
or assets; or (iv) except for applicable requirements of the HSR Act, the EC Merger Regulation
and other applicable Competition/Investment Law, require any Governmental Approval, except,
with respect to the foregoing clauses (ii), (iii) and (iv) above, as would not, individually or in the
aggregate, have a material adverse effect on the ability of Company Buyer to consummate the
transactions contemplated by this Agreement.

              7.4      Proceedings.

       The Company Buyer represents to the Company Sellers that as of the date hereof, there
are no Proceedings pending or, to the Knowledge of Company Buyer, threatened against
Company Buyer that could reasonably be expected to restrain, delay or inhibit the ability of
Company Buyer to consummate the transactions contemplated by this Agreement. The Company
Buyer represents to the Company Sellers that as of the date hereof, Company Buyer is not
subject to any Governmental Order that could reasonably be expected to restrain, delay or
otherwise inhibit the ability of Company Buyer to consummate the transactions contemplated by
this Agreement.

              7.5      Investment Representations.

              7.5.1.     The Company Buyer represents to the Company Sellers that the
Company Buyer is acquiring the Sale Securities for its own account solely for investment and
not with a view to, or for sale in connection with, any distribution thereof in violation of the


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Securities Act or the applicable securities Laws of any other jurisdiction. Company Buyer
agrees with Sellers that it will not transfer any of the Sale Securities, except in compliance with
the Securities Act and with the applicable securities Laws of any other jurisdiction.

              7.5.2.    The Company Buyer represents to the Company Sellers that Company
Buyer is an “accredited investor” as defined in Rule 501(a) promulgated under the Securities
Act.

               7.5.3.     The Company Buyer represents to the Company Sellers that Company
Buyer understands that the acquisition of the Company Sale Securities to be acquired by it
pursuant to the terms of this Agreement involves substantial risk. The Company Buyer represents
to the Company Sellers that Company Buyer and its officers have experience as an investor in
securities and equity interests of companies such as the ones being transferred pursuant to this
Agreement and acknowledges that it can bear the economic risk of its investment and has such
knowledge and experience in financial or business matters that it is capable of evaluating the
merits and risks of its investment in the Sale Securities to be acquired by it pursuant to the
transactions contemplated hereby.

                7.5.4.     Company Buyer further understands and acknowledges to Company
Sellers that the Company Sale Securities have not been registered under the Securities Act or
under the applicable securities Laws of any other jurisdiction and agrees with Company Sellers
that the Company Sale Securities may not be transferred unless such transfer is pursuant to an
effective registration statement under the Securities Act or under the applicable securities Laws
of any other jurisdiction, or, in each case, pursuant to an applicable exemption therefrom.

                7.5.5.     Company Buyer acknowledges to Company Seller that the offer and
sale of the Sale Securities has not been accomplished by the publication of any advertisement.

              7.6     Equity Commitment Letter.

               7.6.1.     The Company Buyer has provided to Sellers a true, complete and
correct copy of the executed Equity Commitment Letter. The execution and delivery of the PE
Financing Agreements and the Equity Commitment Letter by the Company Buyer and its
affiliated parent(s) party thereto and the performance by each of them of their respective
obligations thereunder have been duly authorized by each such party thereto and no other
corporate, shareholder, partner or similar proceedings or actions are necessary to authorize or
consummate the transactions contemplated by the Equity Commitment Letter. Each of the
Equity Commitment Letter and the Securities Purchase Agreement has been duly executed and
delivered by the Company Buyer and its Affiliated Parents’ Party thereto, is in full force and
effect on the date hereof and constitutes (and at the Closing, the Buyer Loan Documents will
have been duly executed and delivered by the Company Buyer and its affiliated Parent(s) Party
thereto and, assuming due authorization, execution and delivery by GM, will constitute) a valid
and binding agreement of such parties, enforceable against each of them in accordance with its
terms, except as may be limited by applicable bankruptcy, insolvency, fraudulent conveyance,
reorganization, moratorium and other similar Laws relating to or affecting creditors’ rights
generally and general equitable principles (whether considered in a proceeding in equity or at
law). The Equity Commitment Letter and the PE Financing Agreement are subject to no


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contingencies or conditions other than those set forth in the copies of the execution versions
thereof delivered to Delphi, the Securities Purchase Agreement or (if the Buyer Loan Documents
were in effect) the Buyer Loan Documents.

                7.6.2.     The execution, delivery and performance by the Company Buyer and
its affiliated parent(s) party thereto of the Equity Commitment Letter and the PE Financing
Agreements to which they are a party: (i) violate, conflict with or result in a breach by any of the
parties thereto of their organizational documents; (ii) violate, conflict with or result in a breach
of, or constitute a default by any of the parties thereto (or create an event which, with notice or
lapse of time or both, would constitute a default) or give rise to any right of termination,
cancellation or acceleration under, any note, bond, mortgage, indenture, deed of trust, license,
franchise, permit, lease, contract, agreement or other instrument to which such party or any of its
properties or assets may be bound; (iii) violate or result in a breach of any Governmental Order
or Law applicable to any party thereto or any of its properties or assets; or (iv) require any
Governmental Approval, except, with respect to the foregoing clauses (ii), (iii) and (iv) above, as
would not, individually or in the aggregate, have a material adverse effect on the ability of such
party to consummate the transactions contemplated by the Equity Commitment Letter and the PE
Financing Agreements.

               7.6.3.     Upon the closing of the transactions contemplated by the Securities
Purchase Agreement, the Buyer Loan Documents and the Equity Commitment Letter, Company
Buyer (i) will have sufficient funds available to pay the Company Purchase Price, any fees and
expenses incurred by Company Buyer in connection with this Agreement and any other amounts
necessary under this Agreement and (ii) has not incurred any obligation, commitment, restriction
or Liability of any kind that would materially impair or materially adversely affect such
resources and capabilities.

              7.7      Adequate Assurance of Future Performance.

       The Company Buyer represents to the Company Sellers that Company Buyer will be able
to provide, at or prior to Closing, adequate assurance of its future performance (or future
performance of any applicable subsidiary of Buyer) under each applicable Assumed and
Assigned Contract to the parties thereto (other than Sellers) in satisfaction of Section
365(f)(2)(B) of the Bankruptcy Code, and no other or further assurance will be necessary
thereunder with respect to any Assumed and Assigned Contract. Company Buyer acknowledges
to Company Seller and agrees with Seller that if it is necessary to provide a contract counter-
party with additional assurances to satisfy Company Buyer’s obligations to provide adequate
assurance in accordance with this Section 7.7, all such costs and expenses or other actions
required will be borne and performed by Buyer without recourse to Sellers.

              7.8      No Brokers’ Fees.

        The Company Buyer represents to the Company Sellers that Company Buyer has not
employed any finder, broker, agent or other intermediary in connection with the negotiation or
consummation of this Agreement or any of the transactions contemplated hereby for which
Sellers would be liable.




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              7.9     Anti-Money Laundering.

        The Company Buyer represents to the Company Sellers that Company Buyer is in
compliance with: (i) all applicable provisions of the USA PATRIOT Act as amended and all
regulations issued pursuant to it; (ii) Executive Order No. 13224 on Terrorist Financing,
effective September 24, 2001, and relating to Blocking Property and Prohibited Transactions
with Persons Who Commit, Threaten to Commit, or Support Terrorism; (iii) the International
Emergency Economic Power Act (50 U.S.C. 1701 et seq.), and any applicable implementing
regulations; (iv) the Trading with the Enemies Act (50 U.S.C. 50 et seq.), and any applicable
implementing regulations; and (v) all applicable legal requirements relating to anti-money
laundering, anti-terrorism and economic sanctions in the jurisdictions in which any Company
Buyer operates or does business. Neither any Company Buyer nor any of its directors, officers
or affiliates is identified on the SDN List or otherwise the target of an economic sanctions
program administered by OFAC, and no Company Buyer is affiliated in any way with, or
providing financial or material support to, any such persons or entities. Company Buyer agrees
that should it or any Company Buyer, or any of their directors, officers or affiliates be named at
any time prior to Closing on the SDN List, or any other similar list maintained by the U.S.
Government, will inform Delphi in writing immediately.

              7.10    Compliance with Laws.

       The Company Buyer represents to the Company Seller that Company Buyer is in
compliance with all Laws applicable to Company Buyer, except with respect to those violations
that would not reasonably be expected to result in the issuance of an order restraining, enjoining
or otherwise prohibiting Company Buyer from consummating the transactions contemplated by
this Agreement.

              7.11    No Undisclosed Contracts.

     Company Buyer has disclosed and will disclose all written agreements between it and the
GM Buyers relating to the subject matter of this Agreement or Delphi.

                                      ARTICLE 8.
                                INTENTIONALLY OMITTED



                                   ARTICLE 9.
                            COVENANTS AND AGREEMENTS.

              9.1     Conduct of Business between Signing and Closing.

               9.1.1.    Except as: (a) contemplated by this Agreement; (b) disclosed on
Schedule 9.1.1 with respect to the Steering Business and in a business plan previously provided
to Buyers with respect to the UAW Sites or the Company Business; (c) required by Final Order
of the Bankruptcy Court (pursuant to a motion, application or other request made by or on behalf
of a Person other than any Seller or any Affiliates of any Seller); or (d) required by or resulting
from any changes of applicable Laws, from and after the date of this Agreement and until the


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Closing, Delphi will cause the Asset Sellers and the Sale Companies to reasonably conduct the
operations of the GM Business and the Company Business, as applicable, in a manner reasonably
intended to preserve the value of the GM Sale Securities, Company Sale Securities, GM
Acquired Assets and Company Acquired Assets, as the case may be, taking into account the
current state of the auto industry and Delphi’s liquidity.

                9.1.2.     Except (a) as contemplated by this Agreement or as disclosed on
Schedule 9.1.1; or (b) as required by Final Order of the Bankruptcy Court (pursuant to a motion,
application or other request made by or on behalf of a Person other than any Seller or any
Affiliates of any Seller), from and after the date of this Agreement and until the Closing, Delphi
will cause the Asset Sellers and the Sale Companies to refrain from doing any of the following
with respect to the GM Business or the Company Business without the prior written consent of
the applicable Buyers (which consent will not be unreasonably withheld or delayed, or
conditioned) in each case only to the extent Delphi can comply by acting reasonably to preserve
the value of the GM Sale Securities, Company Sale Securities, GM Acquired Assets and
Company Acquired Assets taking into account the current state of the auto industry and Delphi’s
liquidity:

                       A.    In the case of any applicable Sale Company, acquire assets or
        commit to capital expenditures (or in the case of any applicable Asset Seller, acquire
        assets or commit to capital expenditures with respect to assets that would become
        Acquired Assets) with an aggregate value exceeding $5,000,000, in each case excluding
        acquisitions of Assets or capital expenditures made in the Ordinary Course of Business
        in accordance with the applicable Business’ budgeted capital expenditures;

                       B.    Except in each case, for $50,000,000 secured financing facility
        with respect to Delphi's Mexican operations and €125,000,000 secured financing facility
        with respect to Delphi's operations in Germany (the proceeds of which financing shall
        not be used outside of Germany), (i) in the case of any applicable Sale Company, incur,
        assume or guarantee any Debt Obligations in excess of $1,000,000 or voluntarily
        purchase, cancel, prepay or otherwise provide for a complete or partial discharge in
        advance of a scheduled payment date with respect to any material Debt Obligations (in
        each case, other than intercompany Debt Obligations that are repaid on or before
        Closing); and (ii) in the case of any applicable Seller with respect to an applicable
        Business, incur, assume or guarantee any Debt Obligation that would become an
        applicable Assumed Liability;

                       C.     (i) With respect to any applicable Sale Company, declare or pay
        dividends from such Sale Company to any Person other than another Sale Company,
        other than transfers of up to $104 million; (ii) with respect to any applicable Sale
        Company incorporated or organized in the U.S. enter into any loan agreement or provide
        any loan to another Sale Company incorporated or organized outside the U.S., or (iii)
        with respect to any applicable Sale Company incorporated or organized outside the U.S.,
        enter into any loan agreement with or provide any loan to another Sale Company
        incorporated or organized in the U.S.;




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                 D.      Incur any Encumbrance on any assets of any applicable Sale
     Company or any applicable Acquired Assets, in each case, other than Permitted
     Encumbrances or in the Ordinary Course of Business;

                    E.   Settle or compromise any Proceeding in excess of $2,500,000 with
     respect to an Assumed Liability;

                    F.    Hire any individual with a base salary in excess of $200,000 per
     annum;

                     G.    With respect to any applicable Sale Company, other than in the
     Ordinary Course of Business, make any material election relating to Taxes (except such
     that are consistent with past practice) or settle or compromise any material Tax liability
     or amend any material Tax return;

                   H.    Make any material change in the accounting methods or practices
     followed by the Business (other than such changes that are: (i) required by Law; or (ii)
     made in conformance with GAAP);

                    I.    Enter into any partnership or joint venture agreement between any
     applicable Sale Company and any other Person or modify any organizational agreement
     with respect to an applicable JV Company in a manner which is materially adverse to a
     GM Buyer or Company Buyer as the case may be;

                   J.     Enter into, terminate or make any material amendment to a
     Material Contract other than in the Ordinary Course of Business;

                  K.    Amend any Organizational Document of any applicable Sale
     Company or applicable JV Company unless required under applicable law;

                   L.    Make any material change in its methods of management,
     marketing, accounting or operating or practices relating to payments;

                    M. Fail to maintain insurance in a manner consistent with the
     applicable Seller’s past practice;

                  N.     Accelerate the collection of Accounts Receivable in any Sale
     Company incorporated or organized in the U.S. in a manner not consistent with the
     Ordinary Course of Business;

                    O.    Pay trade payables more slowly than has been the Ordinary Course
     of Business;

                   P.     Take or permit to be taken any action outside the Ordinary Course
     of Business which results in a material increase in deferred revenue obligations; or

                    Q.    Agree or commit to do any of the foregoing.



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                9.1.3.     Except (a) as contemplated by this Agreement or as disclosed on
Schedule 9.1.1; or (b) as required by Final Order of the Bankruptcy Court (pursuant to a motion,
application or other request made by or on behalf of a Person other than any Seller or any
Affiliates of any Seller), from and after the date of this Agreement and until the Closing, Delphi
will cause the Asset Sellers and the Sale Companies to refrain from doing any of the following
with respect to the GM Business or the Company Business without the prior written consent of
the applicable Buyers (which consent will not be unreasonably withheld or delayed, or
conditioned):

                        A.   Split, combine or reclassify any capital stock or other equity
        interests or purchase or sell any capital stock or other equity interests of any Sale
        Company or JV Company or grant or make any option, subscription, warrant, call,
        commitment or agreement of any character in respect of any such capital stock or other
        equity interests;

                       B.     Sell or otherwise dispose of any applicable Acquired Assets and
        assets of any applicable Sale Company having an aggregate value exceeding $1,000,000,
        excluding sales of Inventory and sales of receivables to financial institutions or credit
        collection agencies, in each case other than in the Ordinary Course of Business and the
        Pending Transactions;

                      C.     Merge or consolidate any applicable Sale Company or JV
        Company with or into any other Person or enter into any agreement requiring any such
        merger or consolidation;

                       D.     Increase the cash compensation or grant the right to receive any
        severance, termination or retention pay of the Transferred Employees other than: (i) in
        the Ordinary Course of Business; or (ii) as required by any agreement in effect as of the
        date hereof or as required by Law; or

                        E.    Except as required by Law, enter into or amend any applicable
        Seller Employee Benefit Plan, the consequence of which would be to materially increase
        any Liability to be assumed by applicable Buyers.

              9.2     Bankruptcy Actions.

                9.2.1.     On or before June 1, 2009, Delphi will, and will cause the other Sellers
that are Filing Affiliates to file this Agreement as an exhibit to its modified Plan of
Reorganization and seek approval for, among other things, the Filing Affiliates to enter into and
perform their obligations under this Agreement and the Ancillary Agreements in connection with
the resolicitation of votes on the modified Plan of Reorganization, and to seek alternative relief
in such motion under section 363 of the Bankruptcy Code to enter into and perform their
obligations under the Agreement and the Ancillary Agreements independently of and not
pursuant to, or contingent on, any Plan of Reorganization (the “Plan Modification Motion”) and
any order entered by the Bankruptcy Court granting relief under the Plan Modification Motion
pursuant to either section 363 or section 1127 of the Bankruptcy Code shall be referred to herein
as the “Plan Modification Order”).



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                9.2.2.     Delphi shall obtain a hearing date for the Plan Modification Motion,
which date shall be no later than July 23, 2009 (the “Hearing Date”), and such scheduling order
shall affirmatively state that the Court will conduct on the Hearing Date an asset sale hearing
under section 363 of the Bankruptcy Code if the Bankruptcy Court does not otherwise conduct a
plan modification hearing and approve such modifications under section 1127 of the Bankruptcy
Code on the Hearing Date. The scheduling order shall also include dates that are reasonably
acceptable to the Buyers for the filing of the agreement discussed below in Section 9.2.3 (the
“Section 363 Implementation Agreement”) (which shall be filed on the exhibit filing deadline
for the Modified Plan), the deadline for any objections to be filed in opposition to the section 363
sale and/or the Section 363 Implementation Agreement (which shall be the same day as
objections to the proposed modifications to the Confirmed Plan shall be due), and the deadline
for filing a proposed form of section 363 sale order (which shall be the same day as proposed
revisions to the Plan Modification order shall be due).

                9.2.3.    Delphi and Buyers agree that the transaction pursuant to section 363 of
the Bankruptcy Code will be on terms which result in (a) Buyers purchasing the same assets, and
assuming the same liabilities, as provided in Article 2 hereof, and (b) Delphi receiving the same
consideration, including the financial support for Delphi estates’ wind-down requirements, as
provided in Article 3 hereof; provided, however, that the amounts payable under Section 2.3.3 of
this Agreement shall not be included in the consideration paid under the section 363 sale
transaction. Delphi and Buyers acknowledge and recognize that certain amendments to this
Agreement and the Ancillary Agreements will be required to implement the agreement in this
Section 9.2.3 and agree that they will negotiate and enter into the Section 363 Implementation
Agreement to document such amendments and implementation understandings as are required to
give effect hereto.

              9.3      Assumed Contracts; Cure Amounts.

        As part of the Plan of Reorganization Documents, Delphi will move to assume and assign
to the applicable Buyers the Pre-Petition Contracts listed on Schedule 9.3 and assign the Post-
Petition Contracts to the applicable Buyer (collectively, the “Assumed and Assigned
Contracts”) and will provide notice thereof to the Contract counterparties and all other parties in
accordance with all applicable Bankruptcy Rules as modified by orders of the Bankruptcy Court.
With respect to contracts assumed by such Buyer, each Buyer shall pay all Cure Amounts as
have already been established: (i) through prior orders of the Bankruptcy Court that were entered
in 2008 in connection with the Sale to Steering Solutions Corporation that was terminated on
March 3, 2009; (ii) pursuant to the procedures established by the Bankruptcy Court in connection
with Delphi’s Plan of Reorganization that was confirmed by the Bankruptcy Court in January
2008, as such plan may be amended from time to time; or (iii) as otherwise agreed to by such
Buyer, Delphi, and the Contract counter-party or, absent an already established amount or such
agreement, by order of the Bankruptcy Court in the time and manner specified by the Plan
Modification Order; provided, however, within five days after entry of a final, non-appealable
order of the Bankruptcy Court establishing a Cure Amount for which the applicable Buyer is
responsible or adequate assurance on terms not reasonably acceptable to the relevant Buyer, such
Buyer may direct Delphi to, and Delphi shall, reject such Assumed and Assigned Contract. Such
motion or subsequent notice shall identify the specific Cure Amount established (or otherwise
agreed) for each Pre-Petition Contract and state that such Cure Amount shall be the only cure


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required to assume such Contract pursuant to Section 365 of the Bankruptcy Code and/or assign
it to such Buyer and that such counter-party shall be barred and enjoined from asserting against
any Buyer, the Acquired Assets and Sellers that any additional prepetition defaults, breaches, or
claims of pecuniary loss exists with respect to such Contract. The applicable Buyer shall have
the ability to add or delete Contracts to, or from, Schedule 9.3 up and through the time of the
Final Plan Modification Hearing in its sole and absolute discretion so long as the appropriate
notice is provided to the Contract counter-party and any delay in approval of the assignability of
and Cure Amount for such additional Contracts shall not affect the Closing. With respect to any
Assumed and Assigned Contracts that are “shared” and relate to the business, assets or entity
acquired hereunder by more than one Buyer, then the applicable Buyers will agree that one of the
Buyers will become the assignee of the shared Assumed and Assigned Contract and will also
agree to an equitable allocation of Cure Amounts between them; however, if one Buyer elects
not to pay its share pursuant to this sentence, then the other Buyer can pay the entire Cure
Amount and will have no liability or other obligation with respect to the Assumed and Assigned
Contracts to the Buyer refusing to so pay, notwithstanding anything to the contrary in this
Agreement. In the Plan of Reorganization Documents, Delphi shall provide for a mechanism
reasonably satisfactory to the applicable Buyer to ensure that those Contracts to be assumed and
assigned to such Buyer at Closing are actually assigned to such Buyer at Closing notwithstanding
any contested Cure Amounts; provided that the applicable Buyer shall establish an escrow
account funded with cash sufficient to pay the face amount of the disputed Cure Amounts
asserted, the excess funds of which shall be returned to such Buyer as Cure Amounts are
resolved.

              9.4     Tax Matters; Cooperation; Preparation of Returns; Tax Elections.

               9.4.1.     Asset Sellers will be responsible for the preparation and filing of all
Tax Returns of Asset Sellers for all tax periods ending on or prior to the Closing, including
without limitation amended returns, applications for loss carryback refunds and applications for
estimated tax refunds. Buyers will make available to Asset Sellers during normal business hours
(and to Asset Sellers' accountants and attorneys) any and all books and records and other
documents and information in its possession or control reasonably requested by the Asset Sellers
to prepare these Tax Returns. Asset Sellers will be responsible for and will make all payments
required with respect to any such Tax Returns.

               9.4.2.     For Sale Companies and JV Companies, Seller will be responsible for
the preparation and filing of all Tax Returns for all tax periods that are due on or prior to the
Closing, including without limitation amended returns, applications for loss carryback refunds
and applications for estimated tax refunds.

                 9.4.3.     For Sale Companies and JV Companies, Buyers will be responsible for
the preparation and filing of all Tax Returns for all periods that are due after the Closing (other
than for Taxes with respect to periods for which the consolidated, unitary and combined Tax
Returns of Delphi will include the operations of the Business), including any IRS Forms 5471,
8858 and 8865 relating to the Sale Companies and the JV Companies transferred, directly or
indirectly, in the transactions contemplated by this Agreement (the “Information Tax Returns”)
(which IRS Forms 5471, 8858 and 8865 Delphi will also be required to file under applicable
Law). Buyers shall provide to Sellers a copy of any Information Tax Returns at least sixty (60)


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days prior to their due date which shall be extended. For the avoidance of doubt, Buyers shall
indemnify, defend and hold harmless the Sellers and their Affiliates for any and all Losses which
are imposed on, sustained, incurred or suffered by or against the Sellers or their Affiliates
resulting from any failure to timely file the Information Tax Returns.

               9.4.4.     Sellers shall be responsible for the customs filings for goods released
from the border prior to Closing and Buyers shall be responsible for the customs filings for
goods in-transit as of and after the Closing.

                9.4.5.      The Sellers and the Buyers will use commercially reasonable efforts
and cooperate in good faith to exempt the sale, conveyance, assignments, transfers and deliveries
to be made to the Buyers hereunder from, or minimize, any transfer, documentary, sales, use,
registration, recording, stamp, value-added and other such taxes (including all applicable real
estate transfer taxes) and related fees (including notarial fees as well as any penalties, interest
and additions to tax), together with any foreign income Taxes attributable to any gain realized by
any Seller (but excludes any U.S. Income Taxes) (“Transfer Taxes”) payable in connection with
such sale, conveyance, assignments, transfers and, deliveries, to the extent provided in the Plan
Modification Order, in accordance with Section 1146 of the Bankruptcy Code. If Bankruptcy
Court approval is granted for such exemption, then any instrument transferring the Acquired
Assets to the Buyers will contain the following or similar endorsement; provided that in no case
will the Sellers be liable for such Transfer Taxes or the Tax due on Tax Returns related thereto:

               Because this [instrument] has been authorized pursuant to Order of the
               United States Bankruptcy Court for the Southern District of New York
               relating to a chapter 11 plan of [Seller], it is exempt from transfer taxes,
               stamp taxes, or similar taxes pursuant to 11 U.S.C. § 1146.

        To the extent not exempt under Section 1146 of the Bankruptcy Code and approved in
the Plan Modification Order, such Transfer Taxes and costs arising out of or incurred in
connection with this Agreement will be borne solely by the relevant Buyer. The party that is
legally required to file a Tax Return relating to Transfer Taxes shall be responsible for preparing
and timely filing the Tax Returns relating to such Transfer Taxes. In the event VAT (or GST) is
levied on an asset transfer, Seller must provide the relevant Buyer with a VAT (or GST)
compliant invoice and assist in the recovery of the VAT (or GST), if possible.

                9.4.6.    Delphi and Buyer will cooperate in connection with: (i) the preparation
and filing of any Tax Return (including any Information Tax Returns), Tax election, Tax consent
or certification or any claim for a Tax refund including any duty drawback claims; (ii) any
determination of liability for Taxes; and (iii) any audit, examination or other proceeding in
respect of Taxes related to the Business or the Acquired Assets. Such cooperation includes
direct access to accounting and finance personnel.

               9.4.7.    Sellers will, in their sole discretion, cooperate in good faith with Buyers
and Buyers’ agents to minimize any U.S. federal and state payroll tax liabilities that either party
may bear, including that the payroll taxes of the U.S. Transferred Employees will be treated in
accordance with the Alternate Procedure set forth in Section 5 of the Revenue Procedure 2004-
53, to which treatment Buyers hereby consent.


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              9.4.8. Sellers will provide Buyers with such certifications as are necessary to
exempt all payments made hereunder from withholding under Internal Revenue Code
Section 1445.

               9.4.9.     Sellers will assign to the applicable Buyers, and will cooperate with the
applicable Buyers to obtain any necessary approvals or consents to effect such assignment, any
and all interests in, or rights to, any property tax abatements, incentive agreements, or other
similar arrangements with any Taxing Authority primarily related to the Business or the
Acquired Assets to the extent allowed under applicable Law. If, after the transfer occurs, a
repayment of all or a portion of any such property tax abatement, incentive agreements, or other
similar arrangements with any Taxing Authority is required because of any action taken by a
Buyer or such Buyer’s Affiliates (other than any actions contemplated by this Agreement), then
such Buyer will be responsible for such repayment.

                9.4.10. Sellers will provide Buyers with all information and documentation
reasonably available and requested, to permit Buyers to apply for and receive a Research and
Experimentation tax credit under Code Section 41 with respect to the Business, including gross
receipts and qualified research expenses for the 1984-1988 base period, plus the amount of gross
receipts for the immediately preceding four years.

               9.4.11. Neither Buyers nor any Affiliate of Buyers shall take any action which
could increase any of the Sellers’ liability for Taxes. Neither Buyers nor any of their Affiliates
shall make any election under Section 338(g) of the Code (or any analogous provision of state,
local or non-United States Tax Law) with respect to the purchase of the Sale Securities pursuant
to this Agreement without the prior written consent of Delphi, which consent may not be
unreasonably conditioned, delayed or withheld.

               9.4.12. Liabilities for Taxes related to the debonding or other change in
customs status of the Acquired Assets resulting from Buyers not establishing the required legal
entities and obtaining the necessary authorizations from the relevant Governmental Authority to
receive the Acquired Assets in their customs status shall be borne by the Buyers. Sellers and
Buyers agree to cooperate in good faith to obtain such authorizations.

              9.5     Employees; Benefit Plans; Labor Matters.

               9.5.1.     Transferred Non-U.S. Employees. Effective as of the Closing, the
relevant Buyer will assume the existing employment Contracts of all Non-U.S. Employees
(including entering into replacement, or novation of, existing employment Contract, their terms,
or substitution of employer, where applicable) if and to the extent required by applicable
Transfer Regulations or the applicable Transfer Agreement, and will take all necessary steps to
assume the employment Contracts of all employees employed the Sale Companies immediately
prior to Closing if and to the extent that their employment is governed by any Transfer
Regulation.

              9.5.2.     Transfer of U.S. Salaried Employees. Effective as of the Closing, the
relevant Buyer will offer employment to the U.S. Salaried Employees of the relevant Business
whom the respective Buyer elects to employ in its sole discretion. U.S. Salaried Employees who



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accept Buyers’ offer of employment (by reporting to work or otherwise) are referred to herein as
(“Transferred U.S. Salaried Employees”).

                       A.     For all Transferred U.S. Salaried Employees, the relevant Buyer's
        offer of employment will be on terms established in Buyer’s sole discretion. The
        applicable Buyers shall use reasonable efforts to tender such offers to employees no later
        than ten (10) days prior to Closing.

                        B.     Subject to applicable Law, Transferred U.S. Salaried Employees
        will be regarded as newly hired regular employees of the relevant Buyer at a
        level/classification determined by Buyers, except that Buyers will recognize length of
        service with Sellers and Buyer with respect to participation in any Buyer severance
        program, and for vacation eligibility, and with respect to Company Buyer, participation
        in any Company Buyer Non-Qualified Retirement Program.

                       C.    Buyers will waive application of any new-hire waiting period with
        respect to Transferred U.S. Salaried Employee participation in and eligibility for
        benefits under any applicable Buyer Employee Benefit Plan for salaried employees.

                      D.     Buyers reserve the right to amend, modify, suspend or terminate all
        terms and conditions of employment, including all benefit plans and programs at Buyers'
        discretion.

                        E.   The relevant Buyers will assume all salaried Seller U.S. CBAs
        applicable at the Rochester and Lockport sites.

                       F.     The GM Buyers shall have the right to hire any U.S. Salaried
        Employees currently employed at any facility of GM or its Affiliates or any of the
        technical centers included within the definition of the UAW Sites.

               9.5.3.    Transfer of U.S. Hourly Employees. Effective as of the Closing, the
relevant Buyers will employ all active and inactive U.S. Hourly Employees (e.g., currently on
the rolls, whether on temporary layoff, indefinite layoff, workers' compensation, disability, or
other leaves of absence), including without limitation pre-retirement program participants
(“PRPs”)) of the relevant Business. U.S. Hourly Employees who accept Buyers’ offer of
employment (by reporting to work or otherwise) are referred to herein as “Transferred U.S.
Hourly Employees”.

                       A.     The relevant Buyers will assume the terms and conditions of all
        applicable Seller U.S. CBAs in effect at the relevant Business. Assumption of the terms
        and conditions of applicable Seller U.S. CBAs pursuant to this Section 9.5.3A shall not
        constitute assumption of Sellers’s pre-Closing Liabilities under Seller U.S. CBAs
        (including, without limitation, any Liabilities related to the Retained Plans which shall
        be retained by Sellers); provided however, that nothing in Section 9.5.3A shall be
        deemed to impair, nullify or cancel the relevant Buyer’s assumption of liabilities
        elsewhere in this Agreement, if any.




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                   B.     Buyers will recognize the seniority status of all Transferred U.S.
     Hourly Employees who are employed in accordance with a Collective Bargaining
     Agreement for all purposes of continued employment with Buyers.

                     C.     Buyers will waive application of any new-hire waiting period with
     respect to participation in any applicable Buyer Employee Benefit Plan for U.S. Hourly
     Employees.

           9.5.4.     Employee Benefit Plans.

                      A.     From and after the Closing (i) each Sale Company will continue to
     be responsible for all accrued pension liabilities and assets for all of its Transferred Non-
     U.S. Employees and all current employees, and (ii) in the case of Delphi Electronics
     Overseas Corporation (“DEOC”), the entity specified by Company Buyer (in its sole
     discretion) to be the purchaser of the DEOC assets, will assume all accrued pension
     liabilities and assets for all of DEOC's Transferred Non-U.S. Employees and all current
     employees. The Parties will comply with the specific mechanism for transfer of
     applicable pension liabilities and assets of Non-U.S. Transferred Employees as
     specifically set out in the relevant Transfer Agreement (the form and substance of which
     shall be reasonably acceptable to each of the Parties).

                   B.   Subject to the applicable Buyer's assumption of the Seller U.S.
     CBAs pursuant to Section 9.5.3, nothing contained in this Agreement requires Buyers to
     establish an employee benefit pension plan with respect to any Transferred U.S.
     Employees.

                    C.     Where required by law, the relevant Buyer must continue to
     provide employee benefit plans to Transferred Employees or former employees of
     Sellers. The Company Buyer will administer for Buyers, employee benefit plans
     applicable to Transferred Employees or former employees of Sellers in accordance with
     the terms of the Transition Services Agreement.

                    D.    Transferred U.S. Employees’ and their dependents’ and
     beneficiaries’ active participation in and eligibility for benefits under the Seller
     Employee Benefit Plans (other than vested pension benefits) will cease at Closing.

                     E.     The parties will explore plan sponsorship alternatives including
     GM Buyer and Company Buyer assumption if deemed to be in the best interests of the
     plan participants and beneficiaries. As of the Closing Date, the GM Buyer will assume
     sponsorship of the following Seller tax qualified defined contribution plans: Seller’s
     Delphi Salaried Retirement Savings Program (formerly the Delphi Saving-Stock
     Purchase Program), the Delphi Personal Savings Plan for Hourly-Rate Employees, and
     the Delphi Income Security Plan for Hourly-Rate Employees if deemed to be in the best
     interests of the plan participants and beneficiaries. As of the Closing Date, the Company
     Buyer will assume sponsorship of the following Seller tax qualified defined contribution
     plans if deemed to be in the best interests of plan participants and beneficiaries: the




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        Packard Hughes Interconnect Retirement Savings Plan, the Delphi Diesel 401(k) plan,
        and the Delphi Medical 401(k) Savings Plan.

                 9.5.5.    COBRA. Sellers will retain all obligations relating to compliance with
the continuation health care coverage requirements of Section 4980B and Sections 601 through
608 of ERISA regarding qualifying events in regard to Transferred U.S. Employees arising from
or prior to the transactions contemplated under this Agreement.

                 9.5.6.     WARN Act. The relevant Buyers will assume all WARN Act
Liabilities, if any, arising at the relevant Business from any employment loss or layoff of U.S.
Salaried Employees, U.S. Hourly Employees, and/or U.S. Transferred Employees occurring on
or after the Closing Date. On or before the Closing Date, Sellers shall provide Buyers with a list
of employee layoffs, by location, implemented by Sellers in the ninety (90) day period preceding
the Closing Date. Sellers will retain all WARN Act obligations and liabilities relating to layoff
of U.S. Salaried Employees, U.S. Hourly Employees, and/or Transferred Asset Seller Employees
by Sellers on or prior to the Closing Date.

               9.5.7.     Grievances. The relevant Buyers will assume responsibility to
administer all labor grievances and arbitration proceedings based on events occurring after the
Closing Date.

              9.5.8.     Cooperation. Sellers and Buyers will provide each other with such
records and information as may be reasonably necessary, appropriate and permitted under
applicable Law to carry out their obligations under this Section 9.5.

               9.5.9.    Union and Works Council Notifications. Sellers and Buyers will
reasonably cooperate in connection with any notification required by Law to, or any required
consultation with, or the provision of documents and information to, the employees, employee
representatives, work councils, unions, labor boards and relevant government agencies and
governmental officials concerning the transactions contemplated by this Agreement.

                9.5.10. No Third Party Rights. Nothing in this Section 9.5 and its subparts,
express or implied, shall create a third party beneficiary relationship or otherwise confer any
benefit, entitlement, or right upon any person or entity other than the parties hereto or serve to
amend or create any employee benefit plan or arrangement.

               9.5.11.   Severance.

                        A.    With respect to any former U.S. Salaried Employees of any Seller
        whose employment has been terminated on or prior to the date hereof and are or may be
        entitled to severance or termination payments or similar benefits, Sellers shall use their
        commercially reasonable efforts to cause any obligation to pay such severance or
        termination payments to cease as of the Closing, and neither Company Buyer nor GM
        Buyers shall have any Liability relating to any such payments or benefits.

                      B.   With respect to (i) any U.S. Salaried Employees of any Seller
        whose employment is terminated after the date hereof but at or before Closing or (ii) any
        U.S. Salaried Employees working at Automotive Holdings Group or Athens as of the


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        Closing and whose employment is terminated after the Closing, each of Company Buyer
        and GM Buyer shall make the following payments on and after the Closing:

                       (i)        at the Closing, Company Buyer shall pay to GM Buyer an
               amount equal to 50% of the amount of any cash payments made by Delphi after
               the date hereof and prior to Closing; and

                       (ii)       from and after the Closing, each of Company Buyer and GM
               Buyer agree to pay Delphi 50% of the amount of any cash payments made by a
               Seller to any such terminated U.S. Employees but in no event more than would be
               payable under the Delphi severance program in effect as of May 1, 2009;

      provided that the aggregate amount of any payments made by each of GM Buyer or
Company Buyers pursuant to this Section 9.5.11 shall not exceed $12,500,000 (which in the case
of GM Buyer shall include an amount payable by Company Buyer pursuant to clause (i) above).

              9.6     Pre-Closing Cooperation; Contact with Customers and Suppliers.

       For purposes of Buyers’ transition efforts, each applicable Seller shall provide the
applicable Buyers or their representatives upon reasonable notice and so long as such access does
not unreasonably interfere with the business operations of any Seller or Sale Company,
reasonable access during normal business hours to the employees, facilities, books and records of
the Business. Each applicable Seller will cooperate, and cause their employees to cooperate,
with the applicable Buyer’s efforts to transition the ownership and operation of the applicable
Business. Each Buyer may meet with the applicable suppliers, customers, and service providers
of and to the applicable Business in order to discuss transitional matters and post closing
business arrangements and to take actions necessary such that such Buyer may begin operating
the applicable Business immediately upon Closing.

              9.7     Technical Documentation; Trade Secrets.

       Each Seller has delivered, or will deliver on or before the Closing Date, to the applicable
Buyer, a copy of all Technical Documentation (including, but not limited to, documented Know-
How and Trade Secrets) included in the Acquired Assets and Other Technical Documentation
being acquired by such Buyer.

              9.8     Corporate Names.

               9.8.1.     The GM Buyers will have the right (including the right to authorize
their relevant Affiliates) to continue to sell or dispose of any existing inventories or service
materials of the GM Business in existence at the Closing and bearing any trademark, service
mark, trade name or related corporate name of Delphi or any Affiliate of Delphi after the Closing
Date in a manner consistent with past practice of the Business and the name and reputation
associated therewith.

              9.8.2.    The GM Buyers will promptly, and in any event within one (1) year of
the Closing Date, cease all use and cause the GM Sale Companies to cease all trademark and
trade name use of the name “Delphi” and any trademarks, trade names, brand names or logos


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relating thereto as used by GM Sellers or the GM Sale Companies as of the Closing Date
(including on any signs, billboards, advertising materials, telephone listings, labels, stationery,
office forms, packaging or other materials of the GM Sale Companies) in connection with the
businesses of the GM Sale Companies or otherwise. Notwithstanding the foregoing, the GM
Buyers and the GM Sale Companies shall not be required to repackage existing finished goods
and any existing inventories or service materials of the GM Business in existence at the Closing
and may use up or sell off the same in the Ordinary Course of Business.

               9.8.3.    Promptly following the Closing, the GM Buyers will cause each of the
Sale Companies, and will use commercially reasonable efforts to cause each JV Company, to
amend its certificate of incorporation, partnership agreement, limited liability company
agreement and other applicable documents, in order to change the names of such companies to a
name not containing the word “Delphi”, with such changes to take effect pursuant to the terms of
the respective transfer deed governing the sale of each GM Sale Company and applicable JV
Company. The GM Buyers will make all required filings with Governmental Authorities to
effect such amendments. If any preceding change is not permissible by law or commercially
reasonable within one (1) year of the Closing Date, the GM Sale Companies or applicable JV
Company shall operate under a “d/b/a” or other similar business name.

               9.8.4.     If the Company Buyer believes that the GM Buyers have breached or
failed to perform in any material respect any of the GM Buyer’s obligations contained in
Sections 9.8.2 and 9.8.3, the Company Buyer shall provide the GM Buyer with written notice of
the alleged breach.

              9.8.5.   Nothing herein shall prevent or limit the rights of the GM Buyers to use
the name “Saginaw Steering” or the like.

              9.9     Information Technology; Intellectual Property Rights and Licenses.

                9.9.1.     Steering Licenses. Each Seller and Company Buyer, hereby grants, on
behalf of itself and its Affiliates, to GM Buyers, as of the Closing Date, a worldwide, perpetual,
fully paid-up, irrevocable, royalty free, non-exclusive license to the Shared Intellectual Property
(other than the Excepted Shared Intellectual Property identified on Schedule 9.9.1.A) with the
right to sublicense to GM Buyers’ Affiliates, successors, assigns and/or designated suppliers, to
develop, manufacture (including the right to have made), use, import, export, offer to sell and
sell products and services and future products and services of the type provided by the Steering
Business prior to the Closing Date and to use, reproduce, prepare derivative works, distribute
copies, perform and display copyrighted works in connection therewith, pursuant to the License
Agreement in the form of Exhibit 7.9.1 (“GM IP License Agreement”). Further, each of Seller
and Company Buyer, on behalf of itself and its Affiliates, hereby grants to GM Buyers, as of the
Closing Date with respect to the Steering Business, a sublicense to the extent permitted by and
subject to the terms and conditions of Seller’s existing agreements (including any such
agreements acquired hereunder by Company Buyer’s) to develop, manufacture (including the
right to have made), use, import, export, offer to sell and sell products and services and to use,
reproduce, prepare derivative works, distribute copies, perform and display copyrighted works in
connection therewith pursuant to the GM IP License Agreement. The licenses and sublicenses
granted to GM Buyers under this Section 9.9.1 do not extend to the Steering Excluded Products


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identified on Schedule 9.9.1.B. Further, the license and sublicense granted pursuant to the GM
IP License Agreement and this Section 9.9.1 are not assignable in whole or in part except to a
purchaser of all or substantially all of the Steering Business to which the license pertains.

                 9.9.2.    UAW Site Licenses. Each Seller hereby grants, on behalf of itself and
its Affiliates, as of the Closing Date, to GM Buyers, with the right to sublicense to Affiliates
and/or designated suppliers, a perpetual, fully paid up, worldwide, non-exclusive irrevocable
license under Intellectual Property owned by Sellers and Sellers’ Affiliates to:

                       A.     make, have made, use, have used, sell, offer to sell, import, export,
        reproduce, copy, prepare derivative works, and distribute UAW Site Products and any
        derivatives and/or re-use/extension thereof, necessary to service contracts with existing
        non-GM customers include with the Acquired Assets; and

                         B.    to make, have made, use, have used, sell, offer to sell, import,
        export, reproduce, copy, prepare derivative works, and distribute UAW Site Products
        and any derivatives and/or re-use/extension thereof, for GM Buyer’s (and GM Buyer’s
        affiliates’) original equipment (OE) and original equipment–sales (OE-S) distribution
        channels for vehicles and vehicle parts and aftermarket requirements of GM Buyer’s
        products produced by the Business.

        Any system developed by or with GM shall be considered a GM OE system under this
license.

                 9.9.3.    Company Licenses. Seller hereby grants, on behalf of itself and its
Affiliates, to Company Buyer, as of the Closing Date, a worldwide, perpetual, fully paid-up,
irrevocable, royalty free, non-exclusive license to the Shared Intellectual Property (other than the
Excepted Shared Intellectual Property identified on Schedule 9.9.1.A) with the right to
sublicense to Company Buyer Affiliates, successors, assigns, customers and/or designated
suppliers, to develop, manufacture (including the right to have made), use, import, export, offer
to sell and sell products and services and future products and services of the type provided by the
Company Business prior to the Closing Date and to use, reproduce, prepare derivative works,
distribute copies, perform and display copyrighted works in connection therewith, pursuant to the
License Agreement in the form of Exhibit 9.9.3 (“Company IP License Agreement”). Further,
Seller, on behalf of itself and its Affiliates, hereby grants to Company Buyer, as of the Closing
Date with respect to the Company Business, a sublicense to the extent permitted by and subject
to the terms and conditions of Seller’s existing agreements, to develop, manufacture (including
the right to have made), use, import, export, offer to sell and sell products and services and to
use, reproduce, prepare derivative works, distribute copies, perform and display copyrighted
works in connection therewith pursuant to the Company IP License Agreement. The licenses
and sublicenses granted to Company Buyer under this Section 9.9.3 do not extend to the Steering
Excluded Products identified on Schedule 9.9.1.B. Further, the license and sublicense granted
pursuant to the Company IP License Agreement and this Section 9.9.3 are not assignable in
whole or in part except to a purchaser of all or substantially all of the business to which the
respective license(s) relate.




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                9.9.4.     Pending Transaction Licenses. Company Buyer hereby grants, on
behalf of itself and its Affiliates, to Seller, as of the Closing Date, a worldwide, perpetual, fully
paid-up, irrevocable, royalty free, non-exclusive license to the Shared Intellectual Property (other
than the Excepted Shared Intellectual Property identified on Schedule 9.9.1.A) with the right to
sublicense to Seller Affiliates, successors, assigns, customers and/or designated suppliers, to
develop, manufacture (including the right to have made), use, import, export, offer to sell and
sell products and services and future products and services of the type provided by Seller in
connection with the business of a Pending Transaction prior to the Closing Date and to use,
reproduce, prepare derivative works, distribute copies, perform and display copyrighted works in
connection therewith, pursuant to the License Agreement in the form of Exhibit 7.9.4 (“Pending
Transactions IP License Agreement”). Further, Company Buyer, on behalf of itself and its
Affiliates, hereby grants to Seller, as of the Closing Date with respect to the business of a
Pending Transaction, a sublicense to the extent permitted by and subject to the terms and
conditions of any existing agreements included within the Acquired Assets, to develop,
manufacture (including the right to have made), use, import, export, offer to sell and sell
products and services and to use, reproduce, prepare derivative works, distribute copies, perform
and display copyrighted works in connection therewith pursuant to the Pending Transactions IP
License Agreement. The licenses and sublicenses granted to Seller under this Section 9.9.4 do
not extend to the Steering Excluded Products identified on Schedule 9.9.1.B. Further, the license
and sublicense granted pursuant to the Pending Transactions IP License Agreement and this
Section 9.9.4 are not assignable in whole or in part except to a purchaser of all or substantially all
of the business to which the respective license(s) relate.

                       A.     In the event that a Pending Transaction fails to be completed and is
        terminated, and subject to any rights granted under any existing court approved contract
        with any Seller, each of Seller and Company Buyer agrees to make Intellectual Property
        owned by Sellers and Sellers’ affiliates used in the business subject to the failed Pending
        Transaction available for sale or paid-up license to any purchaser of the assets subject to
        the failed Pending Transaction.

                       B.    In the event that a Pending Transaction fails to be completed and is
        terminated and Seller decides that it will not seek a new purchaser of the assets subject
        to such Pending Transactions, subject to any rights granted under any existing court
        approved contract with any Seller, and contingent upon closing of this Agreement, each
        Seller grants, on behalf of itself and its Affiliates to GM Buyers, with the right to
        sublicense to affiliates and/or designated suppliers, a perpetual, fully paid up,
        worldwide, non-exclusive irrevocable license under Intellectual Property owned by
        Sellers and Sellers’ Affiliates to make, have made, use, have used, sell, offer to sell,
        import, export, reproduce, copy, prepare derivative works, and distribute products sold
        to GM Buyers by the business subject to the failed Pending Transaction.

                        C.     In the event that, in connection with the operation of the business
        of a Pending Transaction, there is a breach of a current supply commitment to GM or
        any of its Affiliates under circumstances where such breach threatens to interrupt supply
        to GM or any GM Affiliate, then, subject to any Seller obligations under any existing
        court approved contract with any Seller and contingent upon closing of this Agreement,
        each Seller grants, on behalf of itself and its Affiliates to GM Buyers, with the right to


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        sublicense to Affiliates and/or designated suppliers, a perpetual, fully paid up,
        worldwide, non-exclusive irrevocable license under Intellectual Property owned by
        Sellers and Sellers’ affiliates to make, have made, use, have used, sell, offer to sell,
        import, export, reproduce, copy, prepare derivative works, and distribute products
        subject to the threatened interruption of supply. The rights set forth in this paragraph
        shall lapse if a Pending Transaction is consummated according to an existing court
        approved agreement related to the Pending Transaction or a party that is or becomes an
        approved supplier of GM acquires the business of the Pending Transaction.

               9.9.5.     Licenses Generally.

                      (i)        Each Party shall make all Shared Intellectual Property available
               to each other Party and to the Seller by delivering to such other Party all Other
               Technical Documentation and other technical information in its possession
               reasonably necessary to continue the other Party's Business or of a Pending
               Transaction.

                       (ii)       Each Party may assign or otherwise transfer this license and its
               rights or obligations under this license to any affiliated or successor company or
               to any purchaser of a substantial part of such Party’s business to which this
               license relates. In addition, each Party may sublicense or otherwise delegate, in
               whole or in part, this license and its rights or obligations to any such affiliate,
               successor or purchaser.

                      (iii)      This license is binding upon successors, heirs and assigns of
               the Sellers and Buyers and any and all future owners of the Shared Intellectual
               Property.

                       (iv)       This Agreement governs over any inconsistent or otherwise
               different terms contained in the IP License Agreements.

               9.9.6.    Further Understandings. It is further understood and agreed that the
licenses granted above in this Section 9.9 do not include any right to use any Trademark Rights.

                9.9.7.   Shared Intellectual Property. Each of the Sellers, GM Buyer and
Company Buyer agree that it will not transfer or assign its rights to the Shared Intellectual
Property to any third party unless such third party: (i) is informed of and agrees to accept such
transfer or assignment subject to the license granted herein; and (ii) agrees that any subsequent
transfer or assignment will be subject to a similar restriction on future transfers and assignments.

                9.9.8.    Shared Licensed Intellectual Property. Sellers and the applicable
Buyers, as the case may be, extend and hereby grant to each other Party its rights under the
Shared Licensed Intellectual Property to the extent that such licenses can be extended to such
other Parties, including a right to other Parties to sublicense to any entity that is a successor or
assignee of any portion of the Business or the business of a Pending Transaction operated by
such other Parties.




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                9.9.9.    Transfer of Shared Software Licenses. For those Shared Software
Licenses of the Steering Business set forth on Schedule 9.9.9, Sellers and the applicable GM
Buyers and Company Buyer shall transfer to the applicable GM Buyers the number of license
seats or other license rights specified for each applicable license. The Parties will cooperate to
develop a similar list for the UAW Sites. Sellers shall be responsible for any obligations under
any Shared Software Licenses or Software licenses primarily used in the Business that are due
and payable prior to the Closing Date, for maintenance payments, license fees and any other fees
due to applicable third party licensors of the Shared Software Licenses or Software licenses.
Buyers acknowledge that they shall be responsible for all license transfer fees and the costs of
obtaining and making payments under any post-Closing maintenance agreements required in
order to use the foregoing license rights.

                 9.9.10. Separation Activities. Buyers will be solely responsible for their
respective and their allocable share of Sellers’ costs, of all separation, relocation, start-up costs
and other related activities related to the separation of the GM Business (the “Separation &
Relocation Activities”), including: (i) all Day 1 and Day 2 separation activities, including any
activities performed by Delphi personnel or its informational technology suppliers;
(ii) modification of the Buyers payroll system in preparation for Day 1 and transitional services;
(iii) segregation of the manufacturing facilities and technical centers to be co-located following
Closing; (iv) relocation from any technical center or sales offices as identified in the Facilities
Separation & Relocation Plan; and (v) any setup fees required by third party service providers.
Buyers acknowledge and agree that it is necessary to promptly begin the Separation &
Relocation Activities and that the execution of the foregoing Separation & Relocation Activities
are their sole responsibility. The parties shall reasonably cooperate with each other to implement
such activities, separations and relocations in an effort to complete the activities contemplated by
this Section 9.9.10 in a reasonable, expeditious and cost-effective manner which in the case of
the Steering Business shall be in accordance with the facilities separation and relocation plan set
forth in Schedule 9.9.10 relating to the Steering Business (the “Facilities Separation &
Relocation Plan”). Other than the costs to be borne by the Buyers with respect to Separation &
Relocation Activities, as described above, no Buyer will have any further obligation to provide
information technology services, or to pay costs with respect thereto, except as may be provided
in the applicable Transition Services Agreements to be entered into by the Buyers (as
contemplated by this Agreement). Following completion of the Separation & Relocation
Activities, the Buyers will have no further obligation with respect to IT services or related costs
except as set forth in the Transition Services Agreement.

               9.9.11. Assignments. Sellers shall assist Buyers in obtaining assignments from
predecessors in interest to the Purchased Intellectual Property, or in obtaining other recordable
instruments to reflect the applicable Buyers’ ownership of the Purchased Intellectual Property.

               9.9.12. Outsourced Service Providers. Sellers, without having to incur
additional costs, shall cooperate with GM with respect to GM entering into new agreements with
Sellers’ outsourced service providers and software license providers, including Electronic Data
Systems Corporation, EDS Information Systems, LLC and its affiliates (collectively, “EDS”),
Computer Sciences Corporation and its affiliates (collectively, “CSC”), and the Hewlett Packard
Company and its affiliates (collectively, “HP”); provided that there is no material out-of-pocket
cost or other material adverse financial impact to Sellers or their Affiliates.


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              9.10     Shared Items Transferred to Buyers.

        With respect to any contracts with goods or services included in the Acquired Assets and
that are used by both the GM Business and Company Business, including with respect to the
Steering Business contracts that are set forth on Schedule 9.10, and that will be transferred to one
of the Buyers at Closing, the applicable Buyers will provide the other applicable Buyer with the
benefits of such contracts in substantially the same manner described in Section 2.5 above
regarding Deferred Items, and other applicable Buyer who does not receive such contract will
reimburse the Buyer who did receive such contract for such benefits in substantially the manner
described in Section 2.5, until the earlier of such time as separate contracts for such goods or
services have been agreed between the applicable Buyer and the other party or parties to such
contract or contracts, or until the termination of such contract or contracts.

              9.11     Buyer Guarantee.

               9.11.1. GM guarantees the full and timely performance of all of GM Buyer’s
obligations hereunder arising prior to or at the Closing; provided that GM shall have no Liability
or responsibility for any obligations of any GM Buyer arising after the Closing. This is a
guarantee of payment and performance and not of collection.

               9.11.2. Company Buyer has delivered to Sellers an equity commitment letter,
dated the date hereof, and the affiliated parent(s) of Company Buyer’s obligations shall be
limited to those set forth in such equity commitment letter.

              9.12     Letters of Credit.

        Each applicable Buyer agrees to use its commercially reasonable efforts to cause Delphi
and its Affiliates to be absolutely and unconditionally relieved by no later than 360 days
following the Closing of all Liabilities and obligations arising out of the letters of credit,
performance bonds and other similar items issued and outstanding in connection with the
Business, to the extent set forth on Schedule 9.12 hereof or to the extent Delphi or its Affiliates
later inform the applicable Buyer of such an item, and the applicable Buyers will indemnify
Delphi and its Affiliates against any Losses of any kind whatsoever with respect to such
Liabilities and obligations.

              9.13     Competition Clearance.

                9.13.1. Subject to the terms hereof, Buyers and Sellers agree to cooperate and
to use commercially reasonable efforts to obtain, as promptly as practicable following the date
hereof, any Governmental Approvals required for the Closing under the HSR Act, EC Merger
Regulation and any other applicable Competition/Investment Law, to respond to any government
requests for information thereunder, to contest and resist in good faith any action thereunder, and
to have lifted or overturned any Governmental Order that restricts, prevents or prohibits the
consummation of the transactions contemplated by this Agreement. The Parties will use
commercially reasonable efforts to complete Schedule 9.13.1, no later than three (3) Business
Days after the date hereof which will include a list of all countries in which competition filings
may be required or are appropriate. In this respect, each applicable Buyer will make (or
continue to prosecute, if made previously) all the competition filings set forth in Schedule 9.13.1


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promptly, but in no event later than thirty (30) days after the date hereof, and such Buyers will:
(i) promptly inform Delphi of all oral and written communications with any Governmental
Authority in respect of any required Governmental Approval; (ii) give Delphi the opportunity to
comment on all filings and any response prepared by such Buyer prior to Buyers’ submitting
such response to the relevant Governmental Authority; and (iii) afford Delphi or any Seller
designated by Delphi the opportunity to attend any meetings, telephone conferences or video
conferences organized with the Governmental Authorities in relation to any required
Governmental Approval. Notwithstanding the foregoing, the Parties agree that none of them will
make any voluntary filing under applicable foreign antitrust laws or regulations unless advised
by legal counsel in such jurisdiction that the failure to make a filing could result in a Material
Adverse Effect (including on the ability of a Party to consummate the transactions contemplated
by this Agreement and the Ancillary Agreements) or otherwise be in violation of applicable Law.
Each Party hereto will promptly inform the other of any oral or other communication from any
Governmental Authority regarding any of the transactions contemplated by this Agreement and
the Ancillary Agreements. If the competition authority in any such country: (i) imposes
conditions upon its approval of the transactions contemplated by this Agreement; or (ii) files a
Proceeding before a Governmental Agency seeking to restrain or prohibit, or to obtain damages
or other relief in connection with, the consummation of the transactions contemplated by this
Agreement, the Parties will take commercially reasonable steps to negotiate with the competition
authority regarding, and comply with, any conditions or modifications requested by such
competition authority, consistent with the general intention of this Agreement (that ownership of
the Business will be vested in the Buyers). Such compliance may require modifications in
structure, economic and other relationships. The applicable Buyers will be solely responsible for
all costs and expenses incurred by such Party in negotiating and agreeing to the required
conditions or modifications with the competition authorities. Notwithstanding anything herein to
the contrary, in no event shall GM or its Affiliates be obligated to dispose of, or divest
themselves of, any line of business or restrict themselves from engaging in a line of business in
which they are currently engaged, in order to obtain any regulatory approvals.

                9.13.2. From the date of this Agreement until Closing, each Buyer will not
acquire or agree to acquire by merging or consolidating with, or by purchasing a substantial
portion of the assets of or equity in, or by any other manner, any business or any corporation,
partnership, association or other business organization or division thereof, or otherwise acquire
or agree to acquire any assets if the entering into of a definitive agreement relating to or the
consummation of such acquisition, merger or consolidation would reasonably be expected to:
(i) impose any delay in the obtaining of, or significantly increase the risk of not obtaining, any
authorizations, consents, orders, declarations or approvals of any Governmental Authority
necessary to consummate the transactions contemplated by this Agreement or the GM Transfer
Agreements or the expiration or termination of any applicable waiting period; (ii) increase the
risk of any Governmental Authority entering an order prohibiting the consummation of the
transactions contemplated by this Agreement or the GM Transfer Agreements; (iii) significantly
increase the risk of not being able to remove any such order on appeal or otherwise; or (iv) delay
or prevent the consummation of the transactions contemplated by this Agreement or the GM
Transfer Agreements; provided, however the foregoing shall not restrict Buyers or their
respective Affiliates from acquiring an interest in any entity (or any Affiliate of any entity) to
which they convey any of their assets or rights.



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              9.14     Further Actions.

               9.14.1. The Parties will use commercially reasonable efforts to take all actions
and to do all things necessary, proper or advisable under Law to consummate the transactions
contemplated hereby and by the GM Transfer Agreements. In furtherance of the foregoing, the
Parties will consult and cooperate with one another, and consider in good faith the views of one
another, in connection with any analyses, appearances, presentations, memoranda, briefs,
arguments, opinions and proposals made or submitted by or on behalf of any party hereto in
connection with the transactions contemplated by this Agreement. To the extent the form of any
of the agreements or instruments required to effectuate the transactions contemplated by this
Agreement have not yet been agreed upon the parties will act reasonably in finalizing the forms
of such agreements or instruments.

               9.14.2. At all times prior to the Closing each Party will notify the other Parties
in writing of any fact, condition, event or occurrence that will result in the failure of any of the
conditions contained in ARTICLE 10 to be satisfied, promptly upon any of them becoming
aware of the same.

              9.15     Further Assurances.

        Subject to the terms and conditions herein provided, the Parties shall use their respective
commercially reasonable efforts to take, or cause to be taken, all actions, and to do, or cause to
be done, all things necessary, proper or advisable under applicable Laws to consummate and
make effective the transactions contemplated by this Agreement and the Ancillary Agreements.
If at any time after the Closing Date any further action is necessary or desirable to carry out the
purposes of this Agreement or the Ancillary Agreements, the Parties shall take or cause to be
taken all such necessary action, including, without limitation, the execution and delivery of such
further instruments and documents as may be reasonably requested by the other Party for such
purposes or otherwise to consummate and make effective the transactions contemplated hereby;
provided that the cost of such action or of such instruments and documents related thereto shall
be borne by the relevant Buyer. The foregoing covenant will survive the Closing of the
transactions contemplated herein.

              9.16     Customs Duties.

        Each Party expressly agrees to reimburse the other Party for customs-related duties, fees
and associated costs incurred by one Party on behalf another Party after Closing. Taxes, except
those which are not assessed on an ad valorem basis, incurred in connection with goods co-
loaded on containers that clear customs intentionally or unintentionally under one Party’s
importer/exporter identification numbers and bonds/guarantees post-Closing, shall be borne by
the owner of the co-loaded goods; other Taxes (those which are not assessed on an ad valorem
basis) on such co-loaded goods shall be shared pro-rata based on value.

              9.17     Enterprise Contracts.

        The Parties acknowledge that: (i) the Business currently benefits from certain services or
receives certain products of the type listed on Schedule 9.17 (“Other Services”) provided by
third parties (“Enterprise Providers”) under enterprise contracts with Delphi and/or one of its


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Affiliates (“Enterprise Contracts”); and (ii) it may not be practical for GM Buyers to enter into
replacement contracts with all of such Enterprise Providers as of the Closing Date. After signing
this Agreement and prior to Closing, GM Buyers will use commercially reasonable efforts to
enter into replacement contracts covering such Other Services. In the event that GM Buyers are
unable to secure such replacement contracts, after having used commercially reasonable efforts
as required by the preceding sentence, Sellers will use commercially reasonable efforts to make
available to GM Buyers the Other Services provided under such Enterprise Contracts of the type
described on Schedule 9.17. GM Buyers will pay Sellers the cost (including the cost of any
internal resources) of providing such Other Services. The obligations in this Section 9.17 shall
not apply to: (i) any Contracts that are Acquired Assets; (ii) any service provided under the
Transition Services Agreement; (iii) any services or products identified in Schedule 9.17 under
the heading “Products/Services excluded from Section 9.17” in the Transition Services
Agreement as an “Excluded Service”; or (iv) products or services which the applicable Sellers
are prohibited from providing to Buyers pursuant to applicable Law. For avoidance of doubt,
GM Buyers will not be restricted in any way from engaging directly with the current outsourced
service providers with respect to current direct and shared services, Day 1 separation activities
and Day 2 preparation. GM will have access to the current statements of work, service level
agreements and other agreements etc. with outsourced service providers.

              9.18     Confidentiality.

        After the Closing, Sellers shall, and shall cause their Affiliates to, maintain as
confidential and shall not use or disclose (except as required by law, as necessary to defend
against a Claim or as authorized in writing by the applicable Buyer) any confidential information
(including any confidential Environmental Records and any confidential GM Environmental
Records) concerning the businesses and affairs of the Business, except to the extent such
confidential information; (i) was used by Delphi’s divisions other than the Business prior to the
Closing Date; (ii) becomes generally available to the public other than as a result of a disclosure
by Delphi or its representatives in violation of the terms hereof; (iii) becomes available to Delphi
on a non-confidential basis from a source other than the Buyers or their representatives; or (iv) is
covered by the licenses granted pursuant to the IP License Agreements (provided that
confidential information excepted from the obligations of this Section 9.18 only by this
subsection (iv) will be treated in the same manner as Sellers treat their own confidential
information). In the event any Seller or any of their Affiliates is required by law to disclose any
confidential information, such Party shall promptly notify the applicable Buyer in writing, which
notification shall include the nature of the legal requirement and the extent of the required
disclosure, and shall cooperate with such Buyer to preserve the confidentiality of such
information consistent with applicable law. GM shall be the beneficiaries of any confidentiality
or nondisclosure agreement entered into with respect to a potential acquisition of the steering
assets of Delphi before the Closing between Delphi or its Affiliates, on the one hand, and any
Person, on the other, and shall be entitled to enforce such agreement after the Closing Date.

              9.19     Termination of Certain Agreements.

               9.19.1. Effective on the Closing Date, without further action by the Parties, the
following agreements shall be terminated in their respective entireties and the Parties thereto
shall have no further obligations thereunder:


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                   A.     the Option Exercise Agreement;

                   B.    the Connector Penetration Agreement dated August 7, 2001 (which
     Buyers do not hereby admit exists);

                  C.     the Environmental Matters Agreement between Delphi Automotive
     Systems Corporation (n/k/a Delphi) and GM, dated as of October 1998;

                   D.     the Amended and Restated Agreement for the Allocation of U.S.
     Income Taxes dated as of December 16, 1998 between Delphi Automotive Systems
     Corporation (n/k/a Delphi) and GM;

                    E.      the Agreement for Indemnification of United States Federal, State
     and Local Non-Income Taxes dated as of December 16, 1998 between Delphi
     Automotive Systems Corporation (n/k/a Delphi) and GM, provided that Delphi’s
     obligations shall be limited amounts received by Delphi after the date of this Agreement;

                   F.    the Lease Agreement dated as of May 1, 2000 between Delphi
     Canada Inc. and General Motors of Canada Limited, as amended August 1, 2002;

                    G.   the Oshawa Labour & Management Agreement between Delphi
     Canada, Inc. and General Motors Canada Limited dated as of May 1, 2000;

                   H.    the Administrative Services Agreement between Delphi Canada,
     Inc. and General Motors Canada Limited dated as of May 1, 2000;

                  I.    the Trademark and Trade Name Agreement dated as of January 1,
     1999 between Delphi Automotive Systems Corporation (n/k/a Delphi), DAS, and GM;

                  J.     the Intellectual Property Contracts Transfer Agreement dated as of
     December 4, 1998, between DTI and GM, as amended October 31, 2001;

                   K.    the Intellectual Property License Agreement dated as of December
     4, 1998, between DTI and GM;

                   L.    the Intellectual Property Transfer Agreement dated as of December
     4, 1998 between DTI and GM;

                   M. the GM-Delphi Technology Transfer Agreement between Delphi
     Technologies, Inc. and GM dated December 4, 1998;

                   N.    the Battery Facilitation Agreement – Transaction Summary dated
     as of March 21, 2005 between Delphi and GM;

                   O.    the Letter Agreement dated August 10, 2004 regarding potential
     changes in Delphi’s battery operations signed by Mary Boland (GM) and John Blahnik
     (Delphi);




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                       P.    the Letter Agreement dated June 30, 2005 regarding the sale by
        Delphi of its global battery business to JCI signed by Bo Andersson (GM) and Steve
        Olsen (Delphi);

                       Q.    the Letter Agreement dated June 30, 2005 regarding the potential
        subsidy to be paid by Delphi to JCI for employees at the New Brunswick battery plant;
        and

                       R.     the GM-Delphi Liquidity Agreements.

The Parties will execute and deliver such further instruments or agreements as may be
reasonably requested by the other Parties in order to further evidence the foregoing terminations.
Notwithstanding any provision to the contrary herein, to the extent that any agreement listed in
this section contains a license under any form of Intellectual Property to any GM Buyer or
affiliate thereof, or any option to purchase any patent or other intellectual property, or any
commitment not to challenge or claim ownership in any Trademark of any GM Buyer, such
license(s), option(s) and commitment(s) shall survive and remain in full force and effect.

               9.19.2. Effective on the Closing Date, without further action by the Parties the
MRA shall (except as specifically set forth below) be terminated in its entirety and the parties
thereto shall have no further obligations thereunder (other than as specifically set forth in this
Section 9.19.2), including, without limitation, any obligations of Delphi for payments with
respect to flowbacks under Section 5.11 of the MRA or otherwise. Notwithstanding the
foregoing, GM agrees to pay any and all amounts due to Delphi which accrue under the MRA for
periods prior to Closing regardless of the date on which such amounts become due under the
terms of the MRA. In addition, GM shall continue to be responsible for the payment of all costs
and amounts due to Delphi under the MRA with respect to the Athens Facility (as defined in the
MRA).

                9.19.3. Effective on the Closing Date, without further action by the Parties,
Sellers shall be deemed to have waived any and all Claims (past and future) against GM or its
Affiliates pursuant to the GSA and the GM-Delphi Liquidity Agreements.

              9.20    Certain Mexican Matters.

       Delphi and the applicable Sellers commit to the following with respect to the GM Buyers:

                 9.20.1. Mexico LTAs. Immediately before Closing, Delphi will cause the
asset sale transactions contemplated in the local transfer agreements set forth in Schedules
9.20.1(i)-(iii) (“Mexico LTAs”) (consolidation of assets of the Steering Business currently
operated by Rio Bravo Electricos, S.A. de C.V., Delphi Ensamble de Cables y Componentes, S.
de R.L. de C.V. and Delphi Automotive Systems, S.A. de C.V. into Steeringmex) to be
completed in accordance with the terms and conditions set forth in the Mexico LTAs. The
Mexico LTAs set forth the terms under which the assets described therein are transferred by
various Delphi Affiliates to Steeringmex, S. de R.L. de C.V., a Mexican limited liability
company (“Steeringmex”). Under Section 5B of certain of the Mexico LTAs, a second
installment payment of purchase price is required to be made (the “Purchase Price Assumed
Debt”). Notwithstanding anything to the contrary in ARTICLE 3 of this Agreement, neither of


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the following items will be included in any determination of the GM Purchase Price: (i) the
Purchase Price Assumed Debt; and (ii) the Mexican VAT aggregating $1,324,408 USD (the
“Mexican VAT Amount”) under certain of the Mexico LTAs that is recoverable by
Steeringmex, with respect to the payment required to be made under Section 5A of such Mexico
LTAs. At GM Buyer’s request, immediately before Closing, Sellers will, at GM Buyers’ sole
cost and expense, cause Delphi Ensamble de Cables y Components, S. de R.L. de C.V. to file an
action in the nature of a claim for declaratory judgment regarding the validity of the title to the
GM Owned Real Property and to continue the proceeding at GM Buyers’ sole cost and expense
until its conclusion. In this case, transfer of title to the GM Owned Real Property in Mexico will
not be carried out to Steeringmex prior to closing, but promptly following the conclusion of the
aforementioned declaratory judgment, as set forth in the corresponding Mexico.

                9.20.2. Utility Contracts. A Seller Affiliate will allow Steeringmex, until
thirty (30) days after Closing, to continue to receive electricity (“Post-Closing Mexico
Utilities”) under certain mutually agreed utility contracts listed in Schedule 9.20.2 to this
Agreement from the applicable utility service provider(s), including keeping that certain
$180,000.00 deposit (the “Mexico Deposit”) in place. Steeringmex will enter into separate
utility contracts with the applicable utility service provider(s). Within ten (10) days after receipt
of an invoice for the Post-Closing Mexico Utilities, Steeringmex will pay the applicable Seller
Affiliate for the Post-Closing Mexico Utilities.

                9.20.3. Certain GM Acquired Assets Located in Mexico. The GM Acquired
Assets that are located in Mexico and subject to a temporary importation customs regime shall be
transferred by the applicable GM Asset Sellers to the applicable GM Asset Buyers in full
compliance with any legal and/or administrative provision that may apply in order to, when
applicable, preserve the relevant GM Acquired Assets’ temporary importation customs status.
Specifically, the applicable GM Sellers shall transfer temporary imported Acquired Assets of the
Steering Business through the so-called “virtual export pedimentos” and the applicable GM
Asset Buyers shall prepare and effectuate the so-called “virtual import pedimentos” as permitted
under Mexican law and regulation. The applicable GM Asset Buyers and Sellers shall exercise
reasonable commercial efforts and shall cooperate to effectuate these “virtual export/import”
transactions.

               9.20.4. Certain Company Acquired Assets Located in Mexico. The
Company Acquired Assets of the Company Business that are located in Mexico and subject to a
temporary importation customs regime shall be transferred by the applicable Company Asset
Sellers to the applicable Company Asset Buyers in full compliance with any legal and/or
administrative provision that may apply in order to, when applicable, preserve the relevant
Acquired Assets’ temporary importation customs status. Specifically, the applicable Company
Sellers shall transfer temporary imported Company Acquired Assets through the so-called
“virtual export pedimentos” and the applicable Company Asset Buyers shall prepare and
effectuate the so-called “virtual import pedimentos” as permitted under Mexican law and
regulation. The applicable Company Asset Buyers and Sellers shall exercise reasonable
commercial efforts and shall cooperate to effectuate these “virtual export/import” transactions.




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              9.21     Transfer of Certain Sale Securities.

        In order to effectuate the sale of the Sale Securities pursuant to Section 2.1.1 hereof,
Sellers may, prior to Closing and after consultation with the applicable Buyers, transfer certain of
the Sale Securities to special purpose vehicles in the form of intermediate holding companies. In
the event of any such transfer, the shares of the intermediate holding company will become the
Sale Securities transferred hereunder.

              9.22     Certain Bank Accounts.

        Parent will duly execute and deliver to Delphi Corporation, the Novation Letter in the
form attached hereto as Exhibit 9.22 in order to transfer certain lock box bank accounts at J.P.
Morgan Chase, N.A. to Buyers (the “Transferred Account(s)”) with an effective date as of the
Closing Date. On or before the Closing Date, Delphi will counter-sign such Novation Letter and
deliver the same to J.P. Morgan Chase, N.A. In the event any Party receives any payments
which are not included among such Party’s Acquired Assets, such receiving Party will remit
such payment to the appropriate other party within five (5) Business Days of receipt.

              9.23     Certain China Matters.

              9.23.1. An Affiliate of the China Sellers has established a letter of credit (the
“China L/C”) in support of Saginaw Steering (Suzhou) Co., Ltd., a Sale Company (“Steering
(Suzhou)”). Delphi will cause such Affiliate to keep the China L/C in place for no more than
ninety (90) days following Closing (the “China L/C Period”). Parent will cause Steering
(Suzhou) to establish, in no event later than three hundred sixty (360) days following Closing, a
replacement for the China L/C. Within ten (10) days after receipt of an invoice for such costs,
Parent will pay or will cause Steering (Suzhou) to pay to the relevant Seller Affiliate all costs
incurred by such Seller Affiliate in connection with keeping the China L/C open during the
China L/C Period.

                9.23.2. The GM Buyers acknowledge Sellers’ beneficial ownership of the
China Entities until the Closing Date and agree that, until the Closing, it shall have no rights
other than to hold legal title with respect to the China Entities. The GM Buyers agree not to
encumber the China Entities or interfere with the operation of the business conducted by the
China Entities until the Closing. Upon Closing, all of GM Sellers’ beneficial ownership and/or
other interests in the China Entities shall automatically transfer to Steering Holding Pte. Ltd;
provided, however, that in the event this Agreement does not become effective or this Agreement
is terminated pursuant to ARTICLE 12, the GM Buyers shall, upon Delphi’s request, take all
steps and actions necessary to promptly transfer to Delphi or its designee any and all legal
ownership rights the GM Buyers may have with respect to the China Entities or, at Delphi’s
election, Steering Holding Pte. Ltd or Rhodes Holding II Sarl, as applicable.

              9.24     Certain Poland Matters.

       Delphi will use commercially reasonable efforts to transfer all of its shares in Delphi
Polska to a Dutch BV (created or purchased off the shelf between the signing of this Agreement
and Closing) which, following the transfer, will own all the shares in Delphi Polska. Sellers will
use commercially reasonable efforts to create or purchase such Dutch BV following the


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execution of this Agreement. In the event Sellers are unable to register such Dutch BV with the
relevant Governmental Authorities within fifteen (15) days following the date of this Agreement,
upon request, Parent agrees to create or purchase a Dutch BV to be used to purchase the shares
of Delphi Polska. GM Buyers will reimburse Sellers for all costs incurred in creating, acquiring
or transferring the Dutch BV as such costs are incurred by Sellers or their Affiliates. Delphi will
not indemnify GM Buyer for any Tax or other Liabilities of the Dutch BV.

              9.25    Non-GM Customers.

       Each Buyer may consult with any customers of the Business that such Buyer is acquiring
hereunder to discuss the potential impact of the transactions contemplated hereunder on the
ongoing commercial relationship between such Business and any such customers.

              9.26    Transfer of Quotas in Saginaw Brazil.

        Prior to Closing, the applicable GM Sellers will take all actions required to cause Delphi
Brazil to acquire the one (1) quota of the capital of Saginaw Brazil held by Jefferson Felix de
Oliveira, a Brazilian citizen, married, mechanic engineer, resident and domiciled in the City of
Porto Alegre, State of Rio Grande do Sul, with office at Rua Giuseppe Mandelli, No. 118, Bairro
São João, in the City of Porto Alegre, State of Rio Grande do Sul, Zip Code, bearer of the
Identity Card R.G. No. No. 5.004.573.671 SSP/RG, enrolled with the Brazilian Individual
Taxpayers’ Register (CPF/MF) under No. 491.466.290-68. As a result of such transfer, Delphi
Brazil will become the lawful owner of one hundred percent (100%) of the quotas of Saginaw
Brazil.

                        A.     Simultaneously with the transfer of the sole quota mentioned in
        this Section 9.26, the applicable GM Sellers will cause Delphi Brazil to execute an
        amendment to the articles of organization of Saginaw Brazil in accordance with
        applicable Brazilian Law, pursuant to which the applicable GM Sellers shall become the
        new owners of one hundred percent (100%) of the quotas in Saginaw Brazil representing
        54,639,116 (fifty-four million six hundred and thirty-nine thousand one hundred and
        sixteen) quotas. As a result, the applicable GM Sellers will become the lawful owners
        of all, but not less than all, of one hundred percent (100%) of the quotas of Saginaw
        Brazil. The Applicable GM Sellers will cause Saginaw Brazil to file the amendment to
        the articles of organization mentioned above for registration with the competent
        commercial registry and perform all actions that may be required to obtain such
        registration as soon as practicable, but in any event no later than thirty (30) days from
        the date of the execution of the amendment to the articles of organization of Saginaw
        Brazil, in compliance with applicable Brazilian Law.

                       B.     Prior to Closing, the applicable GM Sellers intend all the quotas of
        Saginaw Brazil to be dividended from Delphi Brazil to the applicable GM Sellers. Prior
        to Closing, Delphi Brazil will take all actions required to register the dividend from
        Delphi Brazil to the applicable GM Sellers and the foreign investment of the applicable
        GM Sellers in the capital of Saginaw Brazil before the Brazilian Central Bank in
        accordance with applicable Brazilian Law.




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              9.27     Transfer of the Brazilian Real Estate.

        Delphi Brazil acquired the Brazilian Real Estate on March 3, 1999 and contributed the
Brazilian Real Estate to the capital of Saginaw Brazil, on April 1, 2008 as payment-in of its
equity interest in the capital of Saginaw Brazil. Notwithstanding the above, Delphi Brazil has not
registered the transfer of the Brazilian Real Estate to Saginaw Brazil in the real estate enrollment
certificate (matrícula) of the competent real estate register to officer. Promptly following the
Closing, the Brazil Sellers will, and will cause Delphi Brazil to (i) perform any and all actions
that may be required to transfer the Brazilian Real Estate owned by Delphi Brazil to Saginaw
Brazil, free and clear of any Encumbrance, other than Permitted Encumbrances, in accordance
with applicable Law; and (ii) execute any and all documents that may be required to perfect the
transfer of the Brazilian Real Estate to Saginaw Brazil in accordance with applicable Law,
including but not limited to executing and registering a Public Deed for Transfer of Real
Property for Corporate Capital Payment (Escritura de Conferência de Bens para Integralização
de Capital Social) in the real estate enrollment certificate (matrícula) of the Brazilian Real Estate
before the competent real estate register office of the City of Porto Alegre, State of Rio Grande
do Sul, Brazil. GM Buyers will be solely responsible for all taxes, costs and expenses in
connection with such transfer, in accordance with all applicable Brazilian legal requirements.

              9.28     Environmental Permits.

        On the date of the execution of this Agreement or as soon as reasonably possible
thereafter, and following the Closing, Sellers shall cooperate with Buyers in taking all reasonable
steps to facilitate the transfer, assignment or procurement of the reissuance of any Environmental
Permit necessary to operate the Business.

              9.29     Conflict and Privilege Waivers.

                        A.     Effective as of the execution date of this Agreement, Sellers waive
        and will cause their respective Affiliates to waive any potential conflicts of interest,
        attorney-client privilege, attorney work product privilege, or other applicable privilege
        or conflict which may prevent the provision of services to Buyers or their respective
        Affiliates, successors or assigns, or disclosure to Buyers or their Affiliates, successors or
        assigns, by any employee, consultant to, attorney for, advisor to, or other Person who
        has worked with or for, Sellers or their Affiliates with respect to any Environmental Law
        related matter for which any Buyer may be required to respond, involving in each case
        the applicable Acquired Assets, the Business, the Sale Companies or their respective
        assets and not relating to any Excluded Facility. In addition, effective on the execution
        date of this Agreement, Sellers hereby consent to all such consultants, attorneys,
        advisors, or other Persons performing services directly to Buyers, their respective
        successors, assigns and Affiliates, and agree that they may provide Buyers with all
        information and documents relating to any Environmental Law related matter for which
        any Buyer may be required to respond, in each case involving the applicable Acquired
        Assets, the Business, the Sale Companies or their respective assets and not relating to
        any Excluded Facility. Within fifteen (15) days after the execution date of this
        Agreement, Sellers shall deliver to the applicable Buyers such executed original



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        privilege waivers in the form attached as Exhibit 9.29 together with a list of their
        consultants and advisors.

                         B.    Effective on the Closing Date of this Agreement, Sellers waive and
        will cause their respective Affiliates to waive any potential conflicts of interest,
        attorney-client privilege, attorney work product privilege, or other applicable privilege
        or conflict which may prevent the provision of services to Buyers or their respective
        Affiliates successors or assigns, or disclosure to Buyers or their Affiliates, successors or
        assigns, by any employee, consultant to, attorney for, advisor to, or other Person who
        has worked with or for, Sellers or their Affiliates with respect to any Liability (other
        than as addressed in subsection (A) above) for which any Buyer may be required to
        respond, involving in each case the Acquired Assets, the Business, the Sale Companies
        or their respective assets and not relating to any Excluded Asset or Retained Liability.
        In addition, effective on the Closing Date, Sellers hereby consent to all such consultants,
        attorneys, advisors, or other Persons performing services directly to Buyers, their
        respective successors, assigns and Affiliates, and agree that they may provide Buyers
        with all information and documents relating to any Liability for which any Buyer may
        be required to respond, in each case involving the Acquired Assets, the Business, the
        Sale Companies or their respective assets and not relating to any Excluded Asset or
        Retained Liability. At Closing, Sellers shall deliver to the applicable Buyers such
        executed original privilege waivers in the form attached as Exhibit 9.29B together with a
        list of their consultants and advisors. To the extent that any Liability that is the subject
        of this Section relates both to any Purchased Asset, Business, Sale Company and/or its
        assets on the one hand, and an Excluded Asset and/or Retained Liability on the other
        hand then the applicable Seller and Buyer agree that the waiver set forth herein will be
        effective only upon execution of a mutually acceptable joint defense agreement which
        the Parties agree to execute on or before Closing.

              9.30    Preservation of Environmental Records.

       Prior to Closing, Sellers and their respective Affiliates will preserve all Environmental
Records and GM Environmental Records and will not damage, destroy or alter any
Environmental Records or GM Environmental Records.

              9.31    DIP Transfer Matters.

       Subject to the terms and conditions herein provided and if required by applicable Law or
the DIP Agreement (or the DIP Agent at the direction of the requisite DIP Lenders), upon
request of any of the Sellers, the Parties shall permit the Sellers to implement a transaction
pursuant to which the Sellers transfer, or cause to be transferred, to the DIP Agent on behalf of
the DIP Lenders assets secured under the DIP Agreement in satisfaction of the obligations under
the DIP Agreement, and the Sellers or the DIP Agent on behalf of the DIP Lenders, as
applicable, simultaneously transfers, or causes to be transferred, all of the GM Acquired Assets
to the GM Buyers and all of the Company Acquired Assets to the Company Asset Buyers on
terms consistent with this Agreement; provided, that in no event shall any such transaction result
in a material economic cost to or material adverse effect on the Business, the Acquired Assets,
the Buyers or their respective subsidiaries, or increase the Assumed Liabilities.


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              9.32     Reorganization and Restructuring.

        Prior to the Closing, the Sellers, the Sale Companies and Buyers shall consider in good
faith any and all internal restructuring steps and consider any transactions and elections as may
be requested by the Buyers or Sellers in their respective sole discretion (including capital
contributions, cross-chain sales, dividend distributions, spin-offs, mergers, redemptions, tax
elections, conversions and reincorporations). Notwithstanding the foregoing, (a) the failure of
any such reorganization or restructuring steps to occur shall in no way delay the Closing of the
transactions contemplated by this agreement, (b) the applicable Buyers or Sellers, as the case
may be, shall bear all costs related to any such reorganization or restructuring including any costs
incurred by any the other Parties, and (c) the other Parties shall have no liability for the failure of
any such reorganization or restructuring steps to occur.

              9.33     Certain Other Actions.

        Sellers agree to use commercially reasonable efforts to (a) prior to June 30, 2009, reduce
any pledge of the stock of the Sale Companies organized outside the United States owned by
Filing Affiliates from one-hundred percent (100%) to sixty-five percent (65%) and to assure that
no assets of the Sale Companies organized outside the United States are pledged, (b) if requested
by Company Buyer within thirty (30) days after the signing of this Agreement, procure a release
of liens pertaining to the assets of Delphi Technologies, Inc., a Delaware corporation, in order to
permit the unencumbered sale of the shares of such corporation instead of the sale of the assets
of such corporation and (c) if requested by Company Buyer within thirty (30) days after the
signing of this Agreement, procure a release of liens pertaining to the assets of certain Filing
Affiliates that are Company Sellers of Company Sale Securities in order to permit the
unencumbered sale of the shares of such Filing Affiliates instead of the sale of such Company
Sale Securities. At Company Buyer’s sole option, the Company Buyer may elect to purchase the
shares of one or more Filing Affiliates instead of purchasing the assets or Company Sale
Securities held directly by such Filing Affiliate.

              9.34     Retained Plans.

       The Parties acknowledge that Delphi may, at its sole election terminate any or all of the
Retained Plans .

              9.35     Certain India Matters.

        Delphi Automotive Systems Pvt. Ltd. (“Delphi India”) has established a letter of credit
(the “India L/C”) in support of its Steering Business. Delphi will cause Delphi India to keep the
India L/C in place for no more than ninety (90) days following Closing (the “India L/C
Period”). Parent will cause the applicable GM Buyer to establish, as soon as possible after
Closing and in no event later than ninety (90) days following Closing, a replacement for the
India L/C. Within ten (10) days after receipt of an invoice for such costs, Parent will pay or will
cause the applicable GM Buyer to pay to Delphi India all costs incurred by Delphi India in
connection with keeping the India L/C open during the India L/C Period.




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              9.36    Pending Transactions.

        In the event that any of the Pending Transactions are not completed before the Closing,
Company Buyer will use commercially reasonable efforts to facilitate completion of the Pending
Transactions under the applicable sale and related agreements, including the Transition Services
Agreement (subject to Delphi’s reimbursement of Company Buyer’s actual costs in accordance
with the terms of the Transition Services Agreement), and pay to Delphi, in U.S. Dollars, the
entire purchase price received from the respective buyers under the Pending Transactions, within
ten (10) Business Days after receipt, except that funds paid to a non-U.S. Sale Company will be
paid to Delphi as soon as legally permitted under applicable Law, and in advance of amounts
paid to other Company Affiliates.

              9.37    Delphi FICA Litigation.

       Delphi shall timely file any FICA refund claims arising in connection with the collective
bargaining agreements in 2007. GM Buyer and Company Buyer shall cooperate in the
prosecution of the Delphi FICA Litigation.

              9.38    GM Financing.

                9.38.1. Prior to the Closing or the termination of this Agreement, GM shall not
(x) terminate the GM Financing Agreements or (y) amend or otherwise modify the terms of the
GM Financing Agreements (including, in the case of the Buyer Loan Documents, the form
thereof), in each case as delivered to Delphi as of the date hereof, to increase the conditionality
of the GM Financing Agreements or otherwise in a manner that would materially adversely
impact the ability of GM or the Company Buyer to consummate, the transactions contemplated
by the GM Financing Agreements (including in the case of the Buyer Loan Documents, the form
thereof), in each case as delivered to Delphi as of the date hereof, or this Agreement, as the case
may be, in the case of each of clauses (x) and (y), without obtaining the prior written consent of
Delphi (such consent not to be unreasonably withheld).

               9.38.2. GM shall, prior to or concurrently with the Closing, execute and deliver
the Buyer Loan Documents, provide the financing contemplated by the GM Financing on the
terms and subject to the conditions described in the GM Financing Agreements and otherwise
perform and comply on a timely basis with all of its obligations under the GM Financing
Agreements and use its commercially reasonable efforts to satisfy on a timely basis all conditions
and other requirements to the consummation of the financing contemplated by the GM Financing
Agreement.

               9.38.3. Prior to the Closing or the termination of this Agreement, the Company
Buyer shall not (x) terminate the Equity Commitment Letter or the PE Financing Arrangements
or (y) amend or otherwise modify the terms of the Equity Commitment Letter or the PE
Financing Arrangements (including, in the case of the Buyer Loan Documents, the form thereof),
in each case as delivered to Delphi as of the date hereof, to increase the conditionality of the
Equity Commitment Letter or the PE Financing Arrangements or otherwise in a manner that
would materially adversely impact the ability of the Company Buyer to consummate the
transactions contemplated by the Equity Commitment Letter or the PE Financing Arrangements



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or this Agreement, as the case may be, in the case of each of clauses (x) and (y), without
obtaining the prior written consent of Delphi (such consent not to be unreasonably withheld.

               9.38.4. The Company Buyer shall, prior to or concurrently with the Closing,
execute and deliver the Buyer Loan Documents and otherwise perform and comply on a timely
basis with all of its obligations under the PE Financing Agreements and use its commercially
reasonable efforts to satisfy on a timely basis all conditions and other requirements to the
consummation of the financing contemplated by the PE Financing Agreements.

              9.39     Environmental Matters.

        Notwithstanding anything in this Agreement to the contrary, neither Sellers and their
Affiliates, on the one hand, nor any Buyer, on the other hand, assumes any Liability under
Environmental Laws of the other. Nothing in this Agreement is intended to nullify any Liability
to any federal, state or local environmental agency under Environmental Laws that either Seller
and/or their Affiliates or any Buyer may have as a result of their status as an owner or operator of
any property or facility, or as an arranger for disposal of any Hazardous Materials generated at
any property or facility. At Closing, Seller and its Affiliates shall discharge in the pending
Bankruptcy Cases, to the extent allowable under the Bankruptcy Code, any and all Liabilities
under Environmental Laws that they may have. After the Closing neither Sellers and their
Affiliates, on the one hand, nor any Buyers, on the other hand, shall assert or pursue any Claim
against the other under any Environmental Law for any Liability for Hazardous Materials
contamination located on a GM Real Property or a Company Real Property.

        9.40 Non-Solicitation. Each of Delphi and the Sellers agree, severally, that until the
earlier of (i) when this Agreement is terminated under the terms hereof and (ii) the Closing (the
“Non-Solicitation Period”), Delphi and the Sellers, as applicable, shall not, and shall not
knowingly permit Delphi, the Seller or any of their respective officers, directors, agents or
Affiliates to, directly or indirectly: (A) enter into any written or oral agreement or understanding
with any Person (other than the Buyers) regarding the sale (whether by sale of stock, merger,
consolidation, sale of assets or other disposition) of all or any part of the GM Business and the
Company Business or any significant portion of their consolidated assets or issued or unissued
capital stock (a “Competing Transaction”); (B) solicit, initiate, respond to, continue, encourage
or facilitate, or furnish or disclose nonpublic information in furtherance of, any inquiries or the
making of any proposal with respect to, or enter into or continue any negotiations or discussion
with any Person (other than the Buyers) regarding the possibility of Competing Transaction;
(C) except as otherwise required by Law, order of a Governmental Authority or similar
compulsion, provide any nonpublic financial or other confidential or proprietary information
regarding the GM Business or the Company Business (including any nonpublic materials
containing Purchaser’s proposal and any other nonpublic financial information, projections or
proposals regarding Delphi or any Seller) to any Person (other than the Buyers and its
representatives) whom Delphi or any of the Sellers or their respective Affiliates knows would
have any interest in participating in Competing Transaction or (D) enter into any agreement
requiring it to abandon, terminate or fail to consummate the transactions contemplated by this
Agreement; provided, however, that nothing in this Agreement shall prevent or restrict Delphi’s
Board of Directors from taking actions (or directing management to take actions) which the
Board reasonably believes are required by their fiduciary duties (taking into account the advice


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of counsel in appropriate circumstances). Delphi and the Sellers immediately will cease all
existing activities, discussions and negotiations with any individual or entity conducted
heretofore with respect to any proposal for Competing Transaction. From and after the
execution of this Agreement, Delphi and the Sellers shall immediately advise the Buyers of the
receipt, directly or indirectly, of any inquiries, discussions, negotiations, or proposals relating to
a Competing Transaction (including the specific terms thereof and the identity of the other
individual or entity or individuals or entities involved) and promptly furnish to the Buyers a copy
of any such written proposal in addition to a copy of any information provided to or by any third
party relating thereto, in each case only to the extent discussed or provided to Delphi’s Board of
Directors.

       9.41 Employment, Retirement, Indemnification, and Other Agreements, and
Incentive Compensation Programs.

        Prior to Closing, the Company Asset Buyers shall take all actions necessary to enter into
or assume (at the Company Asset Buyer's sole discretion) the agreements, obtain insurance
coverage and undertake or assume the obligations, in connection with the Specified Director,
Officer and Employee Related Liabilities that in the aggregate provide substantially similar
economic benefits to the applicable directors, officers and employees as currently exist under
existing agreements and policies with respect to Delphi's directors, officers and employees other
than with respect to change in control agreements. “Specified Director, Officer and Employee
Related Liabilities” means (i) employment and incentive agreements and policies (which shall
includes equity, supplemental retirement benefits, bonus and other incentive plans and policies to
be paid to executives after the effective date of the Plan of Reorganization) with substantially all
of Delphi’s current, eligible executives who continue to be employed after the effective date of
the Plan of Reorganization, (ii) the obligation to indemnify, reimburse, advance, or contribute to
the losses, liabilities, or expenses of a director, officer, or employee pursuant to the applicable
Delphi and Affiliate of Delphi certificate of incorporation, bylaws, policy of providing employee
indemnification, applicable law, or specific agreement in respect of any claims, demands, suits,
causes of action, or proceedings against any director, officer, or employee of the debtors who
were in that role as of the date of October 3, 2007 based upon any act or omission related to a
director’s, officer’s or employee’s service with, for, or on behalf of Delphi or an Affiliate of
Delphi, (iii) the obligation to maintain directors’ and officers’ insurance providing coverage for
those directors, officers, and employees currently covered by such policies for the remaining
term of such policy and to maintain tail coverage under policies in existence as of the effective
date of the Plan of Reorganization for a period of six years after the effective date of the Plan of
Reorganization, to the fullest extent permitted by such provisions, in each case insuring such
parties in respect of any claims, demands, suits, causes of action, or proceedings against such
persons based upon any act or omission related to such person’s service with, for, or on behalf of
the debtors in at least the scope and amount as currently maintained by Delphi and Affiliates of
Delphi, and (iv) the obligation to indemnify current or former directors, officers, and employees
who were not employed in such capacity by Delphi or an Affiliate of Delphi as of October 3,
2007, solely to pay for any deductible or retention amount that may be payable in connection
with any claim covered under either the insurance coverage referred to in section (iii) or any
prior similar policy in an aggregate amount not to exceed $10 million.




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       9.42    India Matters.

        The applicable Delphi Asset Seller in India shall use commercially reasonable efforts to
prior to Closing (A) procure a “no objection letter” from the appropriate authority pursuant to
section 281(1) of the Income Tax Act, 1961 of India to the proposed transfer of the Acquired
Assets of the GM Business conducted in India from the Seller to the Buyer with no
conditions included in such objection letter, other than those as are reasonably acceptable to the
applicable Seller and applicable GM Buyer and (B) establish proper, clear and valid leasehold
rights in favor of the applicable GM Buyer to the premises forming part of the lease for the
premises situated in the State of Haryana, India and subject to the Seller furnishing all necessary
permission(s) and authorization(s) obtained by AJS Associates and/or individual allottees of the
premises forming part of the leases from the Haryana Urban Development Authority for the
purpose of creating valid leasehold rights in favor of the GM Buyer.

                                     ARTICLE 10.
                                CONDITIONS TO CLOSING.

       10.1    Conditions to Obligations of Sellers and Buyers.

       The respective obligations of each Party to effect the transactions contemplated by this
Agreement will be subject to the satisfaction or waiver by each Party at or prior to the Closing
Date of the following conditions precedent.

               10.1.1. Plan of Reorganization. The conditions to the effectiveness of the Plan
of Reorganization shall have been satisfied or waived pursuant to the terms of the Plan of
Reorganization, and the Plan of Reorganization does not contain any changes from the draft
version delivered to GM and the Buyers on June 1, 2009 that would have a material adverse
impact on the Sale without the consent of GM and the Company Buyer or an adverse impact on
GM without the consent of GM. Any exhibits and schedules to the Plan of Reorganization not
delivered to the Buyers prior to the date of this Agreement, must not have a material adverse
impact on the Sale without the consent of GM and the Company Buyer, a material adverse
impact on GM without the consent of GM or a material adverse impact on Company Buyer
without the consent of Company Buyer. The Plan Modification Order shall have been entered
and become a Final Order in form and substance satisfactory to GM and Company Buyer.

                10.1.2. Governmental Approvals; Plan Modification Order. All required
Governmental Approvals (including approvals under any Competition/Investment Law, as
identified on Schedule 10.1.2) regarding the Sale will have been granted in writing by the
appropriate Governmental Authorities or the waiting period with respect to any such filings will
have expired or been terminated; provided that to the extent such consent, approval, order,
authorization, registration, declaration or filing has not been obtained or completed with respect
to an immaterial Acquired Asset, Parent may elect in its sole discretion to cause the applicable
Buyer to consummate the acquisition of those Acquired Assets for which such consent, approval,
order, authorization, registration, declaration or filing has been obtained or completed and defer
the acquisition of all remaining Acquired Assets until such remaining consent, approval, order,
authorization, registration, declaration or filing has been obtained or completed and provided
further that the full Purchase Price for such assets is paid.


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             10.1.3. No Order. There shall not be in effect any Governmental Order by a
Governmental Body of competent jurisdiction restraining, enjoining or otherwise prohibiting the
consummation of the transactions contemplated hereby.

               10.1.4.     DIP Amendment.

        The DIP Agreement shall have been amended or otherwise modified to the extent
necessary to permit the consummation of the transactions contemplated hereby, and such
amendment or other modification shall be in full force and effect and not be subject to any
unsatisfied condition precedent or condition subsequent not otherwise waived by the DIP
Lenders.

              10.2       Conditions to Obligations of Sellers.

       The obligation of Sellers to consummate the transactions contemplated by this
Agreement will be subject to the fulfillment at or prior to the Closing of the following conditions
(any one or more of which may be waived in whole or in part by Sellers):

               10.2.1. Accuracy of Warranties. The representations and warranties of Buyers
contained in Articles 4 and 7 and of GM in Article 6 of this Agreement (without taking into
account any materiality or material adverse effect qualification therein), will be true and correct
as of date of the Agreement and as of the Closing Date as if made on such date (except for
representations and warranties that speak as of a specific date or time, which will be true and
correct only as of such date or time), except where the failure of such representation and
warranty to be true and correct would not have a material adverse effect on Buyer’s ability to
consummate the transactions contemplated by this Agreement.

               10.2.2. Performance of Covenants. Each of the Buyers and their Affiliates will
have performed and complied in all material respects with all agreements and obligations
required by this Agreement to be performed or complied with by them at or prior to the Closing.

              10.2.3. Delivery of Ancillary Agreements. Buyers will have delivered duly
executed copies of each of the applicable Ancillary Agreements.

             10.2.4. Collective Bargaining Agreements. GM Buyer and Company Buyer
will assume their respective Seller U.S. CBAs, including all amendments and supplements
thereto.

               10.2.5. Hourly Pension Plan. Delphi and its Affiliates shall be satisfied that
the Delphi HRP will not be an obligation of Delphi following the Closing and Delphi shall have
been relieved of all obligations with respect thereto.

              10.2.6. Consents. The UAW, IUE-CWA and the USW will have waived Seller
U.S. CBA restrictions upon the sale of operations in a form reasonably satisfactory to Seller.




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              10.3    Conditions to Obligations of GM Buyers.

       The obligation of GM Buyers to consummate the transactions contemplated by this
Agreement will be subject to the fulfillment at or prior to the Closing of the following conditions
(which may be waived in whole or in part by GM Buyers):

               10.3.1. Accuracy of Warranties. The representations and warranties of Sellers
made to all Buyers or the GM Buyers, but, for the avoidance of doubt, not the representations
and warranties of Sellers made exclusively to the Company Buyer, contained in this Agreement
(without taking into account any materiality or Material Adverse Effect qualification therein),
will be true and correct as of the Closing Date as if made on such date without regard to any
changes to the schedules referred to in such representations and warranties submitted after the
date of this Agreement (except for representations and warranties that speak as of a specific date
or time, which will be true and correct only as of such date or time), except where the failure of
such representation and warranty to be true and correct would not have a Material Adverse
Effect on any Seller’s ability to consummate the transactions contemplated by this Agreement.

               10.3.2. Performance of Covenants. Sellers will have performed and complied
in all material respects with all agreements and obligations required by this Agreement to be
performed or complied with by it at or prior to the Closing for the benefit of the GM Buyers.

              10.3.3. Delivery of Ancillary Agreements. Sellers will have delivered duly
executed copies of each of the GM Ancillary Agreements.

               10.3.4. Release of Certain Liens. The Pension Benefit Guaranty Corporation
shall have agreed to remove any Encumbrances of the Pension Benefit Guaranty Corporation on
the GM Acquired Assets and the assets of the Sale Companies and the assets of the entities that
issued the GM Sales Securities.

               10.3.5. Financing. The Company Buyer shall have received the Class B
Purchase Price under the Securities Purchase Agreement; PE and its Affiliates shall not be in
breach or default of any material obligations it has under the PE Financing Agreements and PE
and its Affiliates shall have executed and delivered the Buyer Loan Documents and the
Operating Agreement, which Buyer Loan Documents shall be in full force and effect.

                10.3.6. Transfer of Environmental Permits and Approvals. All material
Environmental Permits shall have been transferred, assigned or reissued to Buyers or, with
respect to any material Environmental Permit which cannot be transferred, assigned or reissued
prior to Closing, Buyers have received written or other satisfactory acknowledgment from the
appropriate Governmental Authority that continued operation after Closing by Buyers pending
transfer, assignment or reissuance of any such material Environmental Permit is permissible.

             10.3.7. Property Transfer Obligations. All obligations required under the
Indiana Responsible Property Transfer Law, Indiana Code Section 13-25-3 shall have been
satisfied.

            10.3.8. DIP Payoff Letters. The Sellers shall have delivered to the Buyers the
DIP Agreement payoff letters in customary form or reasonably acceptable to GM.


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              10.4    Conditions to Obligations of Company Buyer.

       The obligation of Company Buyer to consummate the transactions contemplated by this
Agreement will be subject to the fulfillment at or prior to the Closing of the following conditions
(which may be waived in whole or in part by the Company Buyer):

                10.4.1. Accuracy of Warranties. The representations and warranties of Sellers
made to all Buyers or the Company Buyer, but, for the avoidance of doubt, not the
representations and warranties of Sellers made exclusively to the GM Buyers, contained in this
Agreement (without taking into account any materiality or material adverse effect qualification
therein), will be true and correct as of the Closing Date as if made on such date without regard to
any changes to the schedules referred to in such representations and warranties submitted after
the date of this Agreement (except for representations and warranties that speak as of a specific
date or time, which will be true and correct only as of such date or time), except where the
failure of such representation and warranty to be true and correct would not have a Material
Adverse Effect on any Seller’s ability to consummate the transactions contemplated by this
Agreement.

               10.4.2. Performance of Covenants. Sellers will have performed and complied
in all material respects with all agreements and obligations required by this Agreement to be
performed or complied with by it at or prior to the Closing for the benefit of the Company Buyer.

              10.4.3. Delivery of Ancillary Agreements. Sellers will have delivered duly
executed copies of each of the GM/Company Ancillary Agreements, which shall be in full force
and effect.

                10.4.4. Release of Certain Liens. The Pension Benefit Guaranty Corporation
shall have agreed to remove any Encumbrances of the Pension Benefit Guaranty Corporation on
the Company Acquired Assets and the assets of the Sale Companies and the assets of the entities
that issued the Company Sales Securities.

               10.4.5. Financing. The Company Buyer shall have received the Class A
Purchase Price under the Securities Purchase Agreement and the amount of Loans (as defined in
the Buyer Loan Documents) requested by the Company Buyer to be made by GM under the
Buyer Loan Documents on the Closing Date, GM and its Affiliates shall not be in breach or
default of any material obligations it has under the GM Financing Agreements and GM and its
Affiliates shall have executed and delivered the Buyer Loan Documents and the Operating
Agreement, which Buyer Loan Documents shall be in full force and effect.

            10.4.6. DIP Payoff Letters. The Sellers shall have delivered to the Buyers the
DIP Agreement payoff letters in customary form or reasonably acceptable to Company Buyer.




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                                         ARTICLE 11.
                                          CLOSING.

              11.1       Closing Time and Date.

                11.1.1. Subject to the terms and conditions of this Agreement, the closing (the
“Closing”) of all of the transactions contemplated by this Agreement to occur at Closing will
take place at the offices of Skadden, Arps, Slate, Meagher & Flom LLP, Four Times Square,
New York, New York, 10036, at 10:00 a.m. at the month end following two (2) Business Days
of the date that all of the conditions set forth in ARTICLE 10 have been satisfied or waived
(other than conditions which by their nature can be satisfied only at the Closing), or on such
other date or at such other time as the Parties may otherwise agree (the “Closing Date”). For
Tax and accounting purposes, the parties shall use their commercially reasonable efforts to cause
the effective time of the transaction to be 11:59 p.m., local time, on the accounting month end
following the Closing Date. The Closing of the GM Transfer Agreements will take place
simultaneously with the Closing or on a later date if mutually agreed by the relevant Seller and
relevant Buyer.

                11.1.2. In the event any condition to Closing contained in Section 10.1.2 or
10.3 has not been satisfied with respect to an immaterial Acquired Asset, GM Buyer may elect to
delay the Closing with respect to such immaterial Acquired Asset or Sale Company (a
“Temporarily Excluded Assets”), and shall be required to proceed to Closing with respect to
rest of the transactions contemplated by this Agreement. In such event, (i) GM Buyers will not
be deemed to have assumed any Liabilities which relate to the Temporarily Excluded Assets, (ii)
the full Purchase Price will be paid at Closing notwithstanding that the Temporarily Excluded
Assets have not been transferred, and (iii) Sellers will continue to operate the Temporarily
Excluded Assets and will supply GM Buyers and the Sale Companies and perform the other
obligations in the same manner as prior to the Closing, except that GM Buyers will be
responsible for paying Sellers, in advance, for all of their direct and indirect costs and expenses
reasonably incurred in operating the Temporarily Excluded Assets to the extent they exceed
revenues generated from operating such Temporarily Excluded Assets until they can be
transferred to GM Buyers. Sellers and GM Buyers will continue to use their respective
commercially reasonable best efforts to cause the satisfaction of all unsatisfied conditions
precedent to the transfer of the Temporarily Excluded Assets as soon as practicable. The GM
Buyers may elect to close on the transfer of the Temporarily Excluded Assets at any time upon
notice to Delphi and the provisions of this Agreement will continue to apply to the Temporarily
Excluded Assets as if no Closing under this Agreement had yet taken place.

              11.2       GM Ancillary Agreements.

       At or prior to the Closing, the applicable Sellers will duly execute and deliver to the GM
Buyers, and the GM Buyers will duly execute and deliver to GM Sellers, each of the following
agreements to which they are to be a party:

               11.2.1.     The following lease agreements:




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                      A.    Assignment and Assumption Agreement regarding Building 1 at
        the Somerton, Australia Real Property, substantially in the form of Exhibit 9.2.1.A.

                        B.     Sublease regarding the Technical Center located at Paris, France,
        substantially in the form of Exhibit 9.2.1.B.

                       C.  Sublease regarding the lease located at 1230 West Gila Bend
        Highway, Valley Industrial Park, Casa Grande, Arizona, substantially in the form of
        Exhibit 9.2.1.C.

                        D.     The applicable GM Buyer and applicable Company Buyer will
        enter into a lease for a portion of the Lockport, New York technical center in form and
        substance reasonably acceptable to the parties providing, among other things for
        Company to pay its pro rata share of costs on a triple net basis, plus $1.00 per year,
        having a term of two years, providing for a mutually acceptable allocation of use of
        personal property during the term of such lease.

                        E.     The applicable GM Buyer and applicable Company Buyer will
        enter into a lease for the Kokomo, Indiana technical center in form and substance
        reasonably acceptable to the parties providing, among other things for Company to pay
        its pro rata share of costs on a triple net basis, plus $1.00 per year, having a term of two
        years. The applicable GM buyer and applicable Company Buyer will use commercially
        reasonable efforts to develop and implement a separation plan for their respective
        businesses conducted at Kokomo, Indiana and following such separation, the applicable
        Company Buyer shall have an option to purchase the real property for the price of $1.00,
        subject to a lease back to the applicable GM Buyer of the portion that will continue to be
        occupied by the applicable GM Buyer. The lease back to the GM buyer shall provide
        for the applicable GM Buyer to pay its pro rate share of costs on a triple net basis, plus
        $1.00 per year and having such other terms and conditions as agreed to by such parties.

                11.2.2. Patent Rights assignments by the applicable GM Sellers to the
applicable GM Buyer substantially in the form of Exhibits 9.2.2.A.1 through 9.2.2.A.16, a
Trademark Assignment by the applicable GM Seller to the applicable GM Buyer substantially in
the form of Exhibit 9.2.2.B, and a Copyright Assignment by the applicable GM Seller to the
applicable GM Buyers substantially in the form of Exhibit 9.2.2.C, whereby recorded title to the
Purchased Intellectual Property may be recorded as being transferred from the applicable GM
Seller to the applicable GM Buyers, as well as any other deeds, bills of sale, endorsements,
assignments, affidavits and other instruments of sale, conveyance, transfer and assignment
relating to the Purchased Intellectual Property, including an assignment to the applicable GM
Sellers’ rights in and to the “Saginaw Steering” name and trademark, any assignment of rights to
Intellectual Property under any employment or independent contractor agreements and any
necessary releases of security interest in forms appropriate for releasing any security interests
filed in any patent offices.

            11.2.3.      The    following    agreements    (collectively   the   “GM      Transfer
Agreements”):




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                       A.       France Asset Sale Agreement, substantially in the form set forth in
        Exhibit 9.2.3.A.

                        B.      Australia Asset Sale Agreement, substantially in the form set forth
        in Exhibit 9.2.3.B.

                       C.       India Asset Sale Agreement, substantially in the form set forth in
        Exhibit 9.2.3.C.

                        D.      Germany Asset Sale Agreement, substantially in the form set forth
        in Exhibit 9.2.3.D.

                       E.       Italy Asset Sale Agreement, substantially in the form set forth in
        Exhibit 9.2.3.E.

                       F.       Korea Asset Sale Agreement, substantially in the form set forth in
        Exhibit 9.2.3.F.

                       G.       Japan Asset Sale Agreement, substantially in the form set forth in
        Exhibit 9.2.3.G.

                        H.     Share Transfer Agreement with respect to Delphi Polska,
        substantially in the form set forth in Exhibit 9.2.3.H.

              11.2.4.       The Bill of Sale, substantially in the form set forth in Exhibit 11.2.4.

                11.2.5. The Assignment and Assumption Agreement, substantially in the form
set forth in Exhibit 11.2.5.

              11.2.6.       The GM IP License Agreement.

             11.2.7. The applicable Seller Transition Services Agreement between Delphi
and GM substantially in the form set forth in Exhibit 11.2.7.

               11.2.8. Share transfer agreements in customary form as required to effect the
sale and transfer of the Sale Securities of the Sale Companies without any Encumbrances other
than Permitted Encumbrances.

             11.3       Company Ancillary Agreements.

        At or prior to the Closing, the applicable Company Sellers will duly execute and deliver
to the Company Buyer, and the Company Buyer will duly execute and deliver to the applicable
Company Sellers, each of the following agreements to which they are to be a party:

                11.3.1. Assignments, in recordable form, with respect to each of the
Copyrights, Patent Rights, Trademark Rights included within the Purchased Intellectual
Property, duly executed by each Seller, as applicable, and in form and substance reasonably
satisfactory to Buyer.



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               11.3.2.     The Buyer Transition Services Agreement substantially in the form set
forth in Exhibit 11.3.2;

               11.3.3. The transition services agreements between Delphi and the Company
Buyer and between Delphi and GM Buyers, substantially similar to the Buyer Transition
Services (the “Seller Transition Services Agreement”).

               11.3.4.     The bills of sale, substantially in the form set forth in Exhibit 11.3.4.

                11.3.5. The assignment and assumption agreements, substantially in the form
set forth in Exhibit 11.3.6.

               11.3.6.     The Company IP License Agreements.

              11.3.7. Lease by GM to Company Buyer of technical centers at Kokomo,
Indiana and Lockport, New York pursuant to Sections 11.2.1.D and 11.2.1.E.

               11.3.8. Share transfer agreements in customary form as required to effect the
sale and transfer of the Sale Securities of the Sale Companies without any Encumbrances other
than Permitted Encumbrances.

               11.3.9.     The Operating Agreement.

               11.3.10. Other Ancillary Agreements.

              11.4       Sellers’ Deliveries at Closing.

       At or prior to the Closing, the appropriate Sellers will deliver or cause to be delivered to
the applicable Buyer:

                11.4.1. To the extent that equity interests of Sale Companies or the JV
Companies are represented by stock certificates, original certificates evidencing the Sale
Securities (to the extent applicable in the respective jurisdiction), which certificates will be duly
endorsed for transfer or accompanied by duly executed stock transfer powers or other
appropriate instruments of assignment and transfer in favor of the relevant Buyer or its permitted
assigns.

               11.4.2. Quitclaim deeds (or non U.S. equivalent) for the GM Owned Real
Property and the Company Owned Real Property, substantially in the form of Exhibit 11.4.2 or
such other form of conveyance in substance equivalent to such form of deed.

               11.4.3. Copies of the resolutions (or local equivalent) of the boards of directors
of each Seller and, where required, the stockholders/owners of each Seller, authorizing and
approving this Agreement, Ancillary Agreements and the transactions contemplated hereby and
thereby.




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               11.4.4. Certified copies of all orders of the Bankruptcy Court pertaining to the
transactions contemplated by this Agreement and the Ancillary Agreements, including the Plan
Modification Order.

              11.4.5. The minutes and other partnership or limited liability company record
books of the Sale Companies and all stock transfer ledgers and other records evidencing the
equity ownership of the Sale Companies.

               11.4.6. Resignations of all directors (or equivalent) and officers of the Sale
Companies and of any Seller representatives in similar positions with the JV Companies, except
as otherwise requested by Parent no less than ten (10) Business Days prior to the Closing Date.

              11.4.7. A non-foreign affidavit dated as of the Closing Date and in form and
substance required under the Treasury Regulations issued pursuant to Section 1445(b) of the
Internal Revenue Code so that Buyers are exempt from withholding any portion of the Purchase
Price thereunder.

                 11.4.8. All other documents and papers reasonably requested by Buyers to
transfer title to the Acquired Assets or Sale Securities in accordance with this Agreement or to
otherwise effect the transactions contemplated by this Agreement or the Ancillary Agreements.

               11.4.9. A certificate signed by each Seller, dated the date of the Closing Date
(in form and substance reasonably satisfactory to Buyer), certifying that the conditions specified
in Section 10.3 have been satisfied as of the Closing.

                11.4.10. Written acknowledgements from the applicable Governmental
Authorities that all material Environmental Permits have been transferred, assigned or reissued to
Buyer or, with respect to any material Environmental Permit which cannot be transferred,
assigned or reissued prior to Closing, written or other satisfactory acknowledgment from the
appropriate Governmental Authority that continued operation after Closing by Buyers pending
transfer, assignment or reissuance of any such material Environmental Permit is permissible.

               11.4.11. Environmental Records and GM Environmental Records without
redaction or deletion. Environmental Records and GM Environmental Records located at the
Real Property immediately following the Closing will be deemed to be delivered for purposes of
this Section 11.4.

               11.4.12. Copies of all documents required to effect the transfer of ownership and
possession of any Real Property under the Indiana Responsible Property Transfer Law, Indiana
Code Section 13-25-3.

               11.4.13. The applicable Transition Services Agreements substantially set forth
in Exhibits 11.3.3 and 11.3.4.

              11.4.14. Delphi shall assign to Company Buyer and Company Buyer shall
assume all of Delphi's rights and obligations under (A) the GM-Delphi Memorandum of
Understanding Flint East Operations between Delphi and GM, dated as of December 23, 2008,
and (B) the Leased Hourly Employees Services Agreement dated as of December 19, 2008.


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               11.4.15. Amendments to the Rhodes I and Rhodes II Operating Agreements in
the forms previously provided to Sellers.

               11.4.16. DIP Agreement payoff letter in customary form or reasonably
acceptable to Buyers.

            11.5     Buyers’ Deliveries at Closing.

               11.5.1. At or prior to the Closing, GM Buyers will deliver or cause to be
delivered the following:

                     A.    The waiver by GM of its pre-petition Claims, Administrative
       Claims, and future Claims in the Bankruptcy Cases including without limitation any
       such Claims pursuant to the Global Settlement Agreement, as amended, effective as of
       September 29, 2008, between Delphi and GM and each of the GM-Delphi Liquidity
       Agreements;

                         B.   The payment to Delphi of the DIP Priority Payment;

                         C.   The payment to Delphi of $291,020,079 in cash;

                    D.        The assumption or payment of the applicable Cure Amounts for
       the GM Business;

                       E.    The payment to Delphi of certain expenses of Delphi and its Filing
       Affiliates following the Closing as set forth on Exhibit 3.1.1.F.

                      F.     Where required by applicable Law in the jurisdiction concerned,
       copies of the resolutions (or local equivalent) of the boards of directors of each Buyer
       and, where required, the stockholders/owners of each Buyer, authorizing and approving
       this Agreement, the Ancillary Agreements and the transactions contemplated hereby and
       thereby;

                       G.    An officer’s certificate, dated as of the Closing Date, executed on
       behalf of each of the Buyers, certifying that the conditions specified in Section 10.2 have
       been fulfilled;

                         H.   Each GM/Company Ancillary Agreement to which a GM Buyers
       is a party; and

                       I.     50% of certain Administrative Claims required to be paid in cash
       by the Filing Affiliates in connection with the Filing Affiliates' emergence from Chapter
       11 pursuant to the Plan of Reorganization, including, certain professional fees and
       transaction costs not to exceed $15,000,000 in the aggregate (excluding the costs of
       solicitation of approval for the Plan of Reorganization); provided, that the sum of (x) the
       amounts paid pursuant to this Section 3.1.1.G, plus (y) applicable Cure Amounts paid or
       assumed by the GM Buyers, plus (z) the costs of solicitation of approval for the Plan of
       Reorganization shall not exceed, in the aggregate, $148,000,000..


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               11.5.2. At or prior to the Closing, Company Buyer will deliver or cause to be
delivered the following;

                       A.     $1.00 (one dollar);

                        B.     The payment to Delphi of the Parnassus Class C Interest of
        Company Buyer, either directly or indirectly through one or more intermediaries, which
        shall be held either by Sellers, a trust or an agent, as determined by Sellers.

                        C.     50% of certain Administrative Claims required to be paid in cash
        by the Filing Affiliates in connection with the Filing Affiliates' emergence from Chapter
        11 pursuant to the Plan of Reorganization, including, certain professional fees and
        transaction costs not to exceed $15,000,000 in the aggregate (excluding the costs of
        solicitation of approval for the Plan of Reorganization).



                       D.     The assumption or payment of the Cure Amounts for the Company
        Business;

                       E.     Where required by applicable Law in the jurisdiction concerned,
        copies of the resolutions (or local equivalent) of the boards of directors of each Buyer
        and, where required, the stockholders/owners of each Buyer, authorizing and approving
        this Agreement, the Ancillary Agreements and the transactions contemplated hereby and
        thereby;

                       F.     Each GM/Company Ancillary Agreement to which a Company
        Buyer is a party;

                        G.    An officer’s certificate, dated as of the Closing Date, executed on
        behalf of each of the Buyers, certifying that the conditions specified in Section 10.2 have
        been fulfilled; and

                        H.    Delphi shall assign to Company Buyer and Company Buyer shall
        assume all of Delphi's rights and obligations under (i) the GM-Delphi Memorandum of
        Understanding Flint East Operations between Delphi and GM, dated as of December 23,
        2008, and (ii) the Leased Hourly Employees Services Agreement dated as of December
        19, 2008.

             11.6     Post-Closing Deliveries.

       Promptly following the Closing, the Sale Companies will deliver to the applicable Buyer
signature cards from all banks or financial institutions with which the Sale Companies have any
account, designating signatures approved by the applicable Buyer.




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              11.7       Post-Closing Transfer of Intellectual Property Rights.

                11.7.1. If, after the Closing, either Party identifies any Intellectual Property
right, including any application or registration for the Intellectual Property that such Party
believes should have been included in its Purchased Intellectual Property, the Parties shall
cooperate to determine in good faith whether such Intellectual Property right should have been
included in such party Purchased Intellectual Property and assigned to such Buyer. If the Parties
agree that such Intellectual Property right should have been included in the Purchased
Intellectual Property and assigned to another Buyer, Sellers or Buyer or their respective Affiliate,
as applicable, shall assign or cause to be assigned such Intellectual Property right to Buyers at no
additional cost to Buyers. The Parties each covenant and agree on behalf of themselves and their
respective Affiliates to execute at no additional cost to Buyers all documents reasonably
requested by the other Party to effect such transfer and/or assignment.

                11.7.2. If, after Closing, a Buyer identifies any Intellectual Property right,
including any patent or patent application that it believes should have been included in the
Shared Intellectual Property licensed under the GM IP License Agreement or the Company IP
License Agreement, as applicable, but which is reasonably within the scope of Excepted Shared
Intellectual Property identified in the GM IP License Agreement or the Company IP License
Agreement, as applicable, the Parties shall cooperate to determine in good faith whether such
Intellectual Property right should have been included in the Shared Intellectual Property licensed
to Buyers hereunder. If the Parties agree that such Intellectual Property right should have been
included in the Shared Intellectual Property licensed to Buyers hereunder, the Parties shall
amend Schedule 7.9.1.A to specifically exclude such Intellectual Property right from the
Excepted Shared Intellectual Property, and Buyers shall receive, via amendment to this
Agreement, a license under such Intellectual Property right with terms identical to those of the
license granted in Section 7.9.1. The Parties each covenant and agree on behalf of themselves
and their respective Affiliates to execute all documents reasonably requested by the other Party
to effect such license. All amendments, covenants and agreements to be provided under this
Section shall be at no additional cost to Buyers.

                                         ARTICLE 12.
                                        TERMINATION.

              12.1       Termination.

       This Agreement may be terminated at any time prior to the Closing:

               12.1.1.     By the mutual written consent of Delphi, Parent and Company Buyer.

                12.1.2. By any Party if the Closing has not occurred by September 30, 2009,
provided such date shall be extended until November 30, 2009 in the event that all conditions to
Closing are satisfied or capable of being satisfied on the Closing Date, other than the condition
set forth in Section 10.1.2 and provided further that the terminating party will not have the right
to terminate this Agreement if it is in material default hereunder.

              12.1.3. By Delphi if (a) the Interim Financing Amendment shall not have been
executed and delivered by GM on or prior to June 1, 2009, (b) the Interim Financing Amendment


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have not been approved by the Bankruptcy Court on or prior to June 10, 2009, pursuant to one
or more orders in form and substance reasonably satisfactory to Delphi, (c) the GM-Delphi
Liquidity Agreements (as modified by the Interim Financing Amendment) fail or otherwise cease
to be in full force and effect at any time on or after June 10, 2009 or (d) GM breaches any of its
material covenants, obligations or agreements under either of the GM-Liquidity Agreements (as
modified by the Interim Financing Amendment).

               12.1.4. By GM if (a) the Interim Financing Amendment has not been approved
by the Bankruptcy Court on or prior to June 10, 2009, pursuant to one or more orders; (b) the
GM-Delphi Liquidity Agreements (as modified by the Interim Financing Amendment) fail or
otherwise cease to be in full force and effect at any time on or after June 10, 2009; or (c) Delphi
breaches any of its material covenants, obligations or agreements under the GM-Liquidity
Agreements (as modified by the Interim Financing Amendment), or an event of default has
occurred and is continuing under the Interim Financing Amendment; or (d) the Interim Financing
Amendment has otherwise been terminated in accordance with its terms.

                12.1.5. This Agreement may be terminated by either of GM or Company Buyer
if (x) the Plan Modification Order in form and substance satisfactory to GM or Company Buyer,
as applicable, has not been entered by the Bankruptcy Court on or prior to July 23, 2009, or (y)
such Plan Modification Order in form and substance satisfactory to GM or Company Buyer, as
applicable, has not become a Final Order within ten (10) days of such order’s entry.

                 12.1.6. This Agreement will automatically terminate, without any further
action by any party hereto, on July 15, 2009 (or such later date as may be mutually agreed upon
by GM, Company Buyer and Delphi in writing) if GM is the subject of a case under the
Bankruptcy Code and (a) federal court approval of GM’s entry into, and performance under, this
Agreement and all Ancillary Agreements to which GM is or is to be a party has not been
obtained, (b) federal court authority to assume all purchase orders and commercial agreements
between Sellers and GM the Ancillary Agreement to which GM is or is to be a party and the
Securities Purchase Agreement, (the “GM Assumed Contracts”), upon the closing of this
Agreement has not been obtained, (c) if GM has received federal court authorization to transfer
assets (including the stock of subsidiaries) related to the GM Assumed Contracts to any other
person that will then hold substantially all of the Existing GM Assets, GM has not received
authority to assign such contracts to such transferee, or (d) GM, or if substantially all of the
existing GM Assets have been transferred, the entity that then holds substantially all of the
Existing GM Assets, has not agreed in writing to assume the GM Assumed Contracts upon the
closing of this Agreement. For purposes of this Section 12.1.6, "Existing GM Assets" means
the assets of GM as of the time immediately prior to one of the events set forth in clauses (a), (b),
(c) or (d) of the preceding sentence, as applicable.

              12.2     Procedure and Effect of Termination.

        In the event of the termination of this Agreement pursuant to Section 12.1, written notice
thereof will forthwith be given to all other Parties. If this Agreement is terminated:




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                12.2.1. Buyers will redeliver to Sellers all documents, work papers and other
material of any of Sellers relating to the transactions contemplated hereby, whether so obtained
before or after the execution hereof;

               12.2.2. The provisions of the GM or Company Confidentiality Agreement, as
applicable, will continue in full force and effect; and

               12.2.3. The following Sections of this Agreement will survive any termination
of this Agreement and remain in full force and effect: ARTICLE 12 (Termination) and; Sections
14.1 (Fees and Expenses), 14.5 (Assignment), 14.7 (Waiver), 14.8 (Notices), 14.9 (Entire
Agreement), 14.11 (Publicity), 14.15 (Governing Law) and 14.16 (Venue and Retention of
Jurisdiction).

              12.2.4. No party to this Agreement will have any Liability under this
Agreement to any other except that nothing herein will relieve any party from any Liability for
any breach of any of the representations, warranties, covenants and agreements set forth in this
Agreement occurring before such termination, and no Party waives any Claim with respect
thereto.

              12.2.5. The MRA, including Section 4.06(c) and related provisions, shall be
unaffected by such termination. For avoidance of doubt, under no circumstances shall a default
under this Agreement constitute a default under the MRA.

                                      ARTICLE 13.
                                  LIABILITY, SURVIVAL.

              13.1    LIMITATIONS OF LIABILITY.

     NOTWITHSTANDING ANYTHING HEREIN TO THE CONTRARY, NO PARTY
SHALL HAVE ANY LIABILITY FOR ANY SPECIAL, INCIDENTAL, CONSEQUENTIAL,
EXEMPLARY, INDIRECT OR PUNITIVE DAMAGES. IN NO EVENT WILL THE
COMPANY BUYER OR ANY OF ITS AFFILIATES HAVE ANY LIABILITY PRIOR TO
THE CLOSING FOR DAMAGES OF ANY KIND, INCLUDING BUT NOT LIMITED TO
ACTUAL, SPECIAL, INCIDENTAL, CONSEQUENTIAL OR PUNITIVE DAMAGES, TO
ANY PARTY OR ANY OF THE PARTIES’ RESPECTIVE AFFILIATES OR TO ANY
OTHER PERSON WITH RESPECT TO THIS AGREEMENT EXCEPT TO THE EXTENT OF
THE TERMINATION FEE SET FORTH IN THE EQUITY COMMITMENT LETTER AND
THEN SOLELY TO THE PARTIES THERETO TO THE EXTENT PROVIDED THEREIN.

              13.2    Termination Fee.

         In the event that a Termination Fee (as defined in the Securities Purchase Agreement) is
payable under the Equity Commitment Letter or the Securities Purchase Agreement to GM, and
GM receives such termination fee in full, then GM shall either (i) agree to consummate all of the
transactions under this Agreement in accordance with the terms thereof, including fulfilling the
obligations of Company Buyer hereunder, as if this Agreement were not terminated if applicable,
or (ii) if GM elects not to so consummate such transactions, then GM shall pay to Delphi an
amount equal to the positive difference, if any, equal to (a) the total amount of such Termination


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Fee less (b) the amount advanced under the Interim Financing Amendment after the date of this
Agreement as Tranche C Advances.

      Nothing in Section 13.1 or 13.2 shall limit a Party's rights under Section 14.18 of this
Agreement.

              13.3    Survival.

         The parties hereto agree that the representations and warranties contained in this
Agreement shall not survive the Closing hereunder, and none of the parties shall have any
liability to each other after the Closing for any breach thereof. The parties hereto agree that the
covenants contained in this Agreement to be performed at or after the Closing shall survive the
Closing hereunder until fully performed, and each party hereto shall be liable to the other after
the Closing for any breach thereof.

                                        ARTICLE 14.
                                      MISCELLANEOUS.

              14.1    Fees and Expenses.

       Except as may otherwise be specifically provided in this Agreement, each of the Parties
will be responsible for its own costs and expenses related to this Agreement, the Ancillary
Agreements and the transactions contemplated hereby and thereby.

              14.2    Bulk Sales Laws.

       Each Party hereto waives compliance by the other Parties with any applicable bulk sales
Law.

              14.3    Payments in Dollars.

       Except as otherwise provided in this Agreement or an Ancillary Agreement, all payments
pursuant hereto will be made by wire transfer in U.S. dollars in same day or immediately
available funds.

              14.4    Amendment.

        This Agreement may not be amended, modified or supplemented except upon the
execution and delivery of a written agreement executed by the duly authorized representative or
officer of the Parties. The Parties acknowledge and agree, however, that the Schedules and the
Exhibits, other than Schedule 1.1.A “Assumed Administrative Liabilities”, Schedule 2.1.5
“Excluded Assets”, and Exhibit 3.1.1.F “Wind Up Costs”, the IP License Agreements and the
GM Company Ancillary Agreements, which are not executed on the date hereof, are in draft
form and will be revised and finalized in a manner consistent with this Agreement to the mutual
satisfaction of the Parties each acting reasonably, prior to Closing.




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              14.5     Assignment.

        This Agreement will be binding on and inure to the benefit of the successors and assigns
of each Party and their Affiliates, provided, that except as otherwise provided in this Section
14.5, no assignment of any rights or obligations hereunder will be made by any Buyer without
the written consent of Delphi, or by any Seller hereto without the written consent of one or both
of GM and Company Buyer based on which Buyer is impacted by the request, except in
connection with a Pending Transaction. Any GM Buyer may assign this Agreement and any or
all rights or obligations hereunder (including, without limitation, such Buyer’s rights to purchase
the applicable Acquired Assets or Sale Securities and assume the applicable Assumed Liabilities)
(i) to GM or any of its Affiliates (including any Affiliate formed after the date hereof that may be
a corporation or limited liability company), (ii) to the applicable Buyer's lenders or (iii) in
connection with the direct or indirect sale, merger, consolidation or similar reorganization of all
or a substantial portion of GM’s business; provided that each such assignee agrees in writing to
be bound by all of the terms, conditions and provisions contained herein and that no party is
released from its obligations hereunder. Upon any such permitted assignment, the references in
this Agreement to the applicable Buyer shall also apply to any such assignee unless the context
otherwise requires. Any Company Buyer may assign this Agreement and any or all rights or
obligations hereunder (including, without limitation, such Buyer’s rights to purchase the
applicable Acquired Assets or Sale Securities and assume the applicable Assumed Liabilities) to
any Affiliate or other designee of Company Buyer; provided that each such assignee agrees in
writing to be bound by all of the terms, conditions and provisions contained herein and that no
party is released from its obligations hereunder. Upon any such permitted assignment, the
references in this Agreement to the applicable Buyer shall also apply to any such assignee unless
the context otherwise requires.

              14.6     No Successor Liability.

        Except where expressly prohibited under applicable law , upon the Closing, the Buyers
shall not be deemed to: (a) be the successor of the Filing Affiliates; (b) have, de facto, or
otherwise, merged with or into the Filing Affiliates; (c) be a mere continuation or substantial
continuation of the Filing Affiliates or the enterprise(s) of the Filing Affiliates; or (d) be liable
for any acts or omissions of the Filing Affiliates in the conduct of the Business or arising under
or related to the Acquired Assets other than as set forth in this Agreement. Without limiting the
generality of the foregoing, and except as otherwise provided in this Agreement, the Buyers shall
not be liable for any Claims against the Filing Affiliates or any of their predecessors or affiliates,
and the Buyers shall have no successor or vicarious liability of any kind or character whether
known or unknown as of the Closing Date, whether now existing or hereafter arising, or whether
fixed or contingent, with respect to the Business or any obligations of the Filing Affiliates arising
prior to the Closing Date, including, but not limited to, Liabilities on account of any Taxes
arising, accruing, or payable under, out of, in connection with, or in any way relating to the
operation of the Business prior to the Closing Date, except as expressly provided in this
Agreement. The Buyers acknowledge and agree that this Section 14.6 shall not in any be
deemed to expand or modify Sellers’ indemnification obligations under this Agreement or any
Ancillary Agreement. Nothing in this provision shall preclude the application of the Alternate
Procedure set forth in Section 5 of the Revenue Procedure 2004-53.



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              14.7     Waiver.

        Any waiver by Sellers or Buyers of any breach or of a failure to comply with any
provision of this Agreement: (i) will be valid only if set forth in a written instrument signed by
the Party to be bound; and (ii) will not constitute, or be construed as, a continuing waiver of such
provision, or a waiver of any other breach of, or failure to comply with, any other provision of
this Agreement. At any time prior to the Closing Date, the Parties may: (a) extend the time for
the performance of any of the obligations or other acts of the other Parties; (b) waive any
inaccuracies in the representations and warranties contained in this Agreement or in any
document delivered pursuant hereto; and (c) waive compliance with any of the agreements or
conditions contained herein. Except as otherwise expressly provided in this Agreement, any
agreement on the part of a Party to any such extension or waiver will be valid only if set forth in
an instrument in writing signed on behalf of such Party.

              14.8     Notices.

        Any notice, request, consent or other communication required or permitted to be given
under this Agreement will be in writing and will be deemed to have been sufficiently given or
served for all purposes: (i) when personally delivered; (ii) on the first (1st) Business Day after
sent by a nationally or internationally recognized overnight courier service with signature to the
recipient at the address below indicated; (iii) on the third (3rd) Business Day after sent by
registered or certified mail, return receipt requested, postage prepaid; or (iv) when sent if sent by
facsimile with confirmation of receipt:

        If to any GM Buyer:         c/o General Motors Corporation
                                    767 Fifth Avenue
                                    14th Floor
                                    New York, NY 10153
                                    Attn: Director of Business Development
                                    Fax: (212) 418-3623

                                    and


                                    General Motors Corporation
                                    300 GM Renaissance Center
                                    Detroit, MI 48265
                                    Attn: General Counsel
                                    Fax: 313-665-4960


        With a copy to:             Honigman Miller Schwartz and Cohn LLP
                                    2290 First National Building
                                    660 Woodward Ave.
                                    Detroit, MI 48226
                                    Attn: Robert B. Weiss
                                    Tel.: (313) 465-7596


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                                   Fax.: (313) 465-7597


        If to any Company          Parnassus Holdings II, LLC
        Buyer:                     c/o Platinum Equity
                                   360 North Crescent Drive
                                   South Building
                                   Beverly Hills, CA 90210
                                   Attn:
                                   Tel.:
                                   Fax:

        With a copy to:            Schulte Roth & Zabel LLP
                                   919 Third Avenue
                                   New York, NY 10022
                                   Adam Harris, Marc Weingarten
                                   and David E. Rosewater;
                                   Tel.: (212)-756-2000
                                   Fax: (212) 593-5955


        If to Delphi:              DELPHI CORPORATION
                                   5725 Delphi Drive
                                   Troy, Michigan 48098
                                   Attn: Executive Director of Restructuring
                                   Fax: (248) 813-2612

        With a copy to:            DELPHI CORPORATION
                                   5725 Delphi Drive
                                   Troy, Michigan 48098
                                   Attn: Deputy General Counsel -
                                         Transactional & Restructuring
                                   Fax: (248) 813-2491

        With a copy to:            SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
                                   4 Times Square
                                   New York, New York 10036
                                   Attn: Eric Cochran
                                         Marie Gibson
                                   Fax: (212) 735-2000

provided, however, if either Party will have designated a different addressee by notice, then to
the last addressee so designated.




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              14.9    Entire Agreement.

        This Agreement, including all agreements incorporated by reference herein, the Ancillary
Agreements and the GM Confidentiality Agreement or the Company Confidentiality Agreement,
as applicable, constitute the entire agreement of the Parties with respect to the subject matter
hereof and supersede all prior agreements and understandings, both written and oral, between the
Parties with respect to the subject matter hereof, provided, however that existing commercial
agreements between GM and Delphi which are otherwise addressed in this agreement shall not
be superceded. This Agreement is the product of negotiations between the Parties and represents
the Parties’ intentions. In any action to enforce or interpret this Agreement, this Agreement shall
be construed in a neutral manner, and no term or provision of this Agreement, or this Agreement
as a whole, shall be construed more or less favorably to any Party.

              14.10   Counterparts.

       This Agreement may be executed in two or more counterparts, each of which will be
deemed an original, and all of which will constitute one and the same Agreement. Facsimile
signatures will be treated as originals.

              14.11   Publicity.

       Except for statements by Delphi in connection with the Bankruptcy Cases or as otherwise
required by Law, neither Party (nor any of the other Buyers and Sellers) will issue any press
release or make any public announcement concerning this Agreement or the transactions
contemplated hereby without consulting with the other Party.

              14.12   Headings.

        The headings contained in this Agreement are for convenience only, do not constitute a
part of this Agreement and will not be deemed to limit or affect any of the provisions hereof.

              14.13   Severability.

        The provisions of this Agreement will be deemed severable and the invalidity or
unenforceability of any provision will not affect the validity or enforceability of the other
provisions hereof. If any provision of this Agreement, or the application thereof to any Person or
any circumstance, is invalid or unenforceable: (i) a suitable and equitable provision will be
substituted therefore in order to carry out, so far as may be valid and enforceable, the intent and
purpose of such invalid or unenforceable provision; and (ii) the remainder of this Agreement and
the application of such provision to other Persons or circumstances will not be affected by such
invalidity or unenforceability, nor will such invalidity or unenforceability affect the validity or
enforceability of such provision, or the application thereof, in any other jurisdiction.

              14.14   Third Parties.

       Nothing expressed or implied in this Agreement is intended or will be construed to confer
upon or give to any Person, other than the Parties, their Affiliates and their respective permitted
successors or assigns, any Claims, rights or remedies under or by reason of this Agreement.


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              14.15   Governing Law.

        This Agreement shall be governed and construed in accordance with the internal laws of
the State of New York, the forum state in which the Bankruptcy Court sits, without regard to any
conflict of law provision that could require the application of the law of any other jurisdiction.

              14.16   Venue and Retention of Jurisdiction.

        By its execution and delivery of this Agreement, each Party hereby irrevocably and
unconditionally agrees that the Bankruptcy Court shall retain exclusive jurisdiction over all
matters related to the construction, interpretation or enforcement of this Agreement; provided,
however, that after the second (2nd) anniversary of the date of this Agreement, the Bankruptcy
Court and the Supreme Court of New York, New York County and the United States District
Court for the Southern District of New York (the “New York Courts”) shall have non-exclusive
jurisdiction over all matters related to the construction, interpretation or enforcement of this
Agreement; and, provided, further, that the jurisdiction of the Bankruptcy Court over all matters
related to this Agreement shall terminate upon the fourth (4th) anniversary of the date of this
Agreement and the New York Courts shall have exclusive jurisdiction after the fourth (4th)
anniversary of the date of this Agreement. Each Party further agrees to waive any objection
based on forum non conveniens.

              14.17   Risk of Loss.

      Prior to the Closing, all risk of loss, damage or destruction to all or any part of the
Acquired Assets or the Business will be borne exclusively by Sellers.

              14.18   Enforcement of Agreement.

       The Parties acknowledge and agree that the covenants and undertakings contained in this
Agreement and the Ancillary Agreements relate to matters which are of a special, unique and
extraordinary character and that a violation of any of the terms of this Agreement or any
Ancillary Agreement will cause irreparable injury to the other Parties and that the amount of
such injury will be extremely difficult, if not impossible, to estimate or determine and may not be
adequately compensated by monetary damages alone. Therefore, each Party acknowledges that
the other Party will be entitled, in addition to all other rights and remedies available under this
Agreement, and Ancillary Agreement, and applicable law, as a matter of course, to an injunction,
order of specific performance, restraining order or other equitable relief from any court of
competent jurisdiction, restraining any violation or threatened violation of any terms of this
Agreement or any Ancillary Agreement without proof of actual damages and without any
requirement for the securing or posting of any bond.

              14.19   Sellers’ Obligations.

        Nothing contained in any chapter 11 plan confirmed in these cases or any order
confirming any such plan or in any other order in these cases (including any order entered after
any conversion of these cases to cases under chapter 7 of the Bankruptcy Code) shall alter,
conflict with, or derogate from, the provisions of the Agreement and the Plan Modification
Order. The Filing Affiliates’ obligations under this Agreement (including all Exhibits and


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Ancillary Agreements) shall survive confirmation of any plan of reorganization or discharge of
claims thereunder and shall be binding upon the Filing Affiliates, and the reorganized or
reconstituted Filing Affiliates, as the case may be, after the effective date of the confirmed plan
or plans in the Filing Affiliates’ cases.

                14.20   Bankruptcy Court Approval.

      Notwithstanding anything to the contrary herein, the Parties’ obligations under this
Agreement are expressly subject to entry of the Plan Modification Order.

                14.21   Reasonably Equivalent Value.

        As set forth in the Recitals to this Agreement, consideration under the Agreement was
provided by all Parties to the Agreement. This Agreement is not the product of collusion among
the Parties and is the result of arms’ length negotiations. Each of the Parties hereto acknowledge
and agree that it received reasonably equivalent value for the consideration provided by such
Party.

       14.22 Identification of Exhibits and Schedules to be Filed Under Seal.

                        (i)        The parties agree that certain documents attached as Exhibits
                and Schedules hereto contain sensitive and confidential business terms which, if
                publicly disclosed, could detrimentally affect the parties. Certain of these
                documents contain detailed proprietary information describing certain aspects of
                the business relationship between the parties and the parties believe these
                documents contain sensitive and confidential information of a type not typically
                disclosed to the public or made available in the automotive industry. Moreover,
                certain of these documents contain confidentiality provisions which compel the
                parties to maintain the confidentiality of the terms of such agreements.

                         (ii)      The parties hereto agree to use commercially reasonable efforts
                to obtain approval by the Bankruptcy Court of an order authorizing the parties to
                file the following Exhibits and Schedules hereto under seal:


                                                 Schedules

   Schedule 1              Detail of Sellers and GM Buyers
   Schedule 1.1.A          GM Buyers’ Knowledge, Company Buyers’ Knowledge and Sellers’
                           Knowledge
   Schedule 1.1.B          Assumed Administrative Liabilities
   Schedule 1.1.C          Steering Products
   Schedule 1.1.D          Excluded Insurance Policies
   Schedule 1.1.D.1        Patents
   Schedule 1.1.E          Transferred Insurance Policies
   Schedule 2.1.5.F        Excluded Facilities



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Schedule 2.1.5.K       Pending Transactions
Schedule 2.3.2         Administrative Claims
Schedule 2.1.5.L       Other Excluded Assets
Schedule 4.3.1         Sale Companies and JV Companies
Schedule 4.3.2         Capital Stock
Schedule 4.4           No Conflicts or Approvals
Schedule 4.5           Sufficiency of Acquired Assets
Schedule 4.6.2         Licenses to Affiliates
Schedule 4.6.3         Infringement and Allegations of Infringement of Third Party Intellectual
                       Property
Schedule 4.6.4         Infringement of the Purchased Intellectual Property
Schedule 4.6.5         Intellectual Property Notices
Schedule 4.8.1         GM Leased Real Property
Schedule 4.8.2         GM Owned Real Property
Schedule 4.9.1.        Historical Financial Statements
Schedule 4.9.2         Financial Statement Exceptions
Schedule 4.10          Compliance with Laws
Schedule 4.13.1        Employee List
Schedule 4.13.5        Proceedings Relating to Employee Benefit Plan
Schedule 4.13.6        Employee Benefit Plan/No Material Liability or Encumbrance under Title IV
                       of ERISA
Schedule 4.13.8        Welfare Benefits
Schedule 4.13.9        Contributions to Seller Employee Benefit Plan
Schedule 4.15          Environmental Matters
Schedule 4.16          Insurance Policies
Schedule 7.20.1(i)     Mexico LTA – Rio Bravo Electricos S.A. de C.V.
Schedule 7.20.1(ii)    Mexico LTA – Alambrados y Circuitos Electricos, S.A. de C.V.
Schedule 7.20.3(iii)   Mexico LTA – Delphi Ensamble de Cables y Componentes, S. de R.L. de
                       C.V.
Schedule 7.20.2        Post-Closing Mexico Utility Contracts
Schedule 9.1.1         Exceptions to Covenants Regarding Conduct of Business prior to the
                       Closing
Schedule 9.9.1.A       Excepted Shared Intellectual Property
Schedule 9.9.1.B       Steering Excluded Products
Schedule 9.9.9         Transfer of Shared Software Licenses
Schedule 9.9.10        Facilities Separation & Relocation Plan
Schedule 9.10          Shared Items Transferred to Buyers
Schedule 9.12          Letters of Credit



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                                          Exhibits

3.1.1.F            Certain Payment Re: Expenses of Delphi and Filing Affiliate


9.2.1              Form of Interim Financing Amendment
9.9.1              GM IP License Agreement
9.9.3              Company IP License Agreement
9.9.4              Pending Transaction IP License Agreement
9.22               Novation Letter
9.29               Form of Privilege Waivers
11.2.1.A           Somerton, Australia Transfer and Variation of Lease (Assignment and
                   Assumption Agreement)
11.2.1.B           Paris Technical Center Sublease
11.2.1.C           Casa Grande Sublease
11.2.2.A.1         U.S. Patent Assignment (Delphi Technologies)
11.2.2.A.2         EP Jointly Held Patent Applications Assignment (Delphi Technologies)
11.2.2.A.3         EP Solely Owned Patent Applications Assignment (with Annex 1) (Delphi
                   Technologies)
11.2.2.A.4         DE Patents Assignment (Delphi France)
11.2.2.A.5         ES Patents Assignment (Delphi France)
11.2.2.A.6         FR Patents Assignment (Delphi France)
11.2.2.A.7         GB Patents Assignment (Delphi France)
11.2.2.A.8         IT Patents Assignment (Delphi France)
11.2.2.A.9         U.S. Patent Assignment (Delphi France)
11.2.2.A.10        AU Patent Assignment (Delphi Technologies)
11.2.2.A.11        BR Patent Assignment (Delphi Technologies)
11.2.2.A.12        CN Patent Assignment (Delphi Technologies)
11.2.2.A.13        HK Patent Assignment (Delphi Technologies)
11.2.2.A.14        IN Patent Assignment (Delphi Technologies)
11.2.2.A.15        JP Patent Assignment (Delphi Technologies)
11.2.2.A.16        KP Patent Assignment (Delphi Technologies)
11.2.2.B           Omnibus Trademark Assignment (Delphi Technologies)
11.2.2.C           Copyright Assignment (Delphi Technologies)
11.2.3.A           France Asset Sale Agreement*
11.2.3.B           Australia Asset Sale Agreement*
11.2.3.C           India Asset Sale Agreement*
11.2.3.D           Germany Asset Sale Agreement*
11.2.3.E           Italy Asset Sale Agreement*



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11.2.3.F           Korea Asset Sale Agreement*
11.2.3.G           Japan Asset Sale Agreement*
11.2.3.H           Netherlands Asset Sale Agreement
11.2.7             Delphi/GM Buyers Transition Services Agreement
11.3.2             GM Buyers/Company Buyers Transition Services Agreement
11.3.3             Delphi/Company Buyers Transition Services Agreement



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       IN WITNESS WHEREOF, each of the Parties hereto has caused this Agreement to be
executed by its duly authorized officer, in each case as of the date first above written.

                                            DELPHI CORPORATION


                                            By:
                                                  Name:
                                                  Title:


                                            GM COMPONENTS HOLDINGS, LLC


                                            By:
                                                  Name:
                                                  Title:


                                            GENERAL MOTORS CORPORATION (solely
                                            with respect to ARTICLE 6 and Sections 9.11.1,
                                            9.19, AND 9.38)


                                            By:
                                                  Name:
                                                  Title:


                                            PARNASSUS HOLDINGS II, LLC


                                            By:
                                                  Name:
                                                  Title:




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                                       SCHEDULES

                                   [NOT UPDATED]

Schedule 1         Detail of Sellers and GM Buyers
Schedule 1.1.A     GM Buyers’ Knowledge, Company Buyers’ Knowledge and Sellers’
                   Knowledge
Schedule 1.1.B     Assumed Administrative Liabilities
Schedule 1.1.C     Steering Products
Schedule 1.1.D.1   Patents
Schedule 1.1.D.2   Trademark Rights
Schedule 1.1.D.3   Copyrights
Schedule 1.1.E     Transferred Insurance Policies
Schedule 1.1.1 F   Filing Affiliates

Schedule 2         Detail of Sellers and Company Buyer
Schedule 2.1.5.F   Excluded Facilities

Schedule 2.1.5.K   Pending Transactions

Schedule 2.1.5.L   Other Excluded Assets

Schedule 2.3.2     Administrative Claims

Schedule 4.3.1     Sale Companies and JV Companies
Schedule 4.3.2     Capital Stock
Schedule 4.4       No Conflicts or Approvals
Schedule 4.5       Sufficiency of Acquired Assets
Schedule 4.6.2     Licenses to Affiliates
Schedule 4.6.3     Infringement and Allegations of Infringement of Third Party
                   Intellectual Property
Schedule 4.6.4     Infringement of the Purchased Intellectual Property
Schedule 4.6.5     Intellectual Property Notices
Schedule 4.8.1     GM Leased Real Property
Schedule 4.8.2     GM Owned Real Property
Schedule 4.9.1.    Historical Financial Statements
Schedule 4.9.2     Financial Statement Exceptions



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Schedule 4.10          Compliance with Laws
Schedule 4.12.1        Tax Allocation, Tax Sharing/Tax Indemnity Agreements
Schedule 4.12.3        Tax Deficiencies
Schedule 4.12.5        Tax Liens
Schedule 4.12.6        Tax Waivers or Extensions
Schedule 4.13.1        Employee List
Schedule 4.13.2        Employee Benefit Plans
Schedule 4.13.4        ERISA Compliance
Schedule 4.13.5        Proceedings Relating to Employee Benefit Plan
Schedule 4.13.6        Employee Benefit Plan/No Material Liability or Encumbrance under
                       Title IV of ERISA
Schedule 4.13.8        Welfare Benefits
Schedule 4.13.9        Contributions to Seller Employee Benefit Plan
Schedule 4.13.11       Collective Bargaining Agreements
Schedule 4.13.12       No Threatened Labor Stoppage
Schedule 4.14.1        Material Contracts
Schedule 4.14.2        Default/Post-Petition Contracts
Schedule 4.15          Environmental Matters
Schedule 4.16          Insurance Policies
Schedule 7.1.1         Exceptions to Covenants Regarding Conduct of Business prior to the
                       Closing
Schedule 7.3           Assumed and Assigned Contracts
Schedule 7.9.1.A       Excepted Shared Intellectual Property
Schedule 9.9.1.B       Steering Excluded Products
Schedule 7.9.9         Transfer of Shared Software Licenses
Schedule 7.9.10        Facilities Separation & Relocation Plan
Schedule 7.10          Shared Items Transferred to Buyers
Schedule 7.12          Letters of Credit
Schedule 7.13.1        Competition Clearance/Governmental Approvals
Schedule 7.17          Other Services
Schedule 7.20.1(i)     Mexico LTA – Rio Bravo Electricos S.A. de C.V.
Schedule 7.20.1(ii)    Mexico LTA – Labradors y Circuits Electricos, S.A. de CV.
Schedule 7.20.3(iii)   México LTA – Delphi Ensamble de Cables y Componentes, S. de



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                  R.L. de CV.
Schedule 7.20.2   Post-Closing Mexico Utility Contracts
Schedule 8.1.2    Approvals under Competition or Investment Law




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                                        EXHIBITS

                                    [NOT UPDATED]

Exhibit 1            Buyer Transition Services Agreement

Exhibit 3.1.1        Sources and Uses

Exhibit 3.1.2        Allocation of Purchase Price

Exhibit 7.9.1        GM IP License Agreement

Exhibit 7.9.3        Company IP License Agreements

Exhibit 7.9.4        Pending Transactions IP License Agreement

Exhibit 7.2.1        Interim Financing Amendment

Exhibit 7.22         Novation Letter

Exhibit 9.2.1.A      Somerton, Australia Assignment and Assumption Agreement

Exhibit 9.2.1.B      Paris Technical Center Sublease

Exhibit 9.2.1.C      Casa Grande Sublease

Exhibit 9.2.2.A.1    U.S. Patent Assignment (Delphi Technologies)

Exhibit 9.2.2.A.2    EP Jointly Held Patent Applications Assignment (Delphi
Technologies)

Exhibit 9.2.2.A.3    EP Solely Owned Patent Applications Assignment (with Annex 1)
                     (Delphi Technologies)

Exhibit 9.2.2.A.4    DE Patents Assignment (Delphi France)

Exhibit 9.2.2.A.5    ES Patents Assignment (Delphi France)

Exhibit 9.2.2.A.6    FR Patents Assignment (Delphi France)

Exhibit 9.2.2.A.7    GB Patents Assignment (Delphi France)

Exhibit 9.2.2.A.8    IT Patents Assignment (Delphi France)

Exhibit 9.2.2.A.9    U.S. Patent Assignment (Delphi France)

Exhibit 9.2.2.A.10   AU Patent Assignment (Delphi Technologies)

Exhibit 9.2.2.A.11   BR Patent Assignment (Delphi Technologies)



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Exhibit 9.2.2.A.12   CN Patent Assignment (Delphi Technologies)

Exhibit 9.2.2.A.13   HK Patent Assignment (Delphi Technologies)

Exhibit 9.2.2.A.14   IN Patent Assignment (Delphi Technologies)

Exhibit 9.2.2.A.15   JP Patent Assignment (Delphi Technologies)

Exhibit 9.2.2.A.16   KP Patent Assignment (Delphi Technologies)

Exhibit 9.2.2.B      Omnibus Trademark Assignment (Delphi Technologies)

Exhibit 9.2.2.C      Copyright Assignment (Delphi Technologies)

Exhibit 9.2.3.A      France Asset Sale Agreement

Exhibit 9.2.3.B      Australia Asset Sale Agreement

Exhibit 9.2.3.C      India Asset Sale Agreement

Exhibit 9.2.3.D      Germany Asset Sale Agreement

Exhibit 9.2.3.E      Italy Asset Sale Agreement

Exhibit 9.2.3.F      Korea Asset Sale Agreement

Exhibit 9.2.3.G      Japan Asset Sale Agreement

Exhibit 9.2.3.H      Poland Share Transfer Agreement

Exhibit 9.2.3.I      Brazil Quota Transfer Agreement

Exhibit 9.2.4        GM Bill of Sale

Exhibit 9.2.5        GM Assignment and Assumption Agreement

Exhibit 9.2.7        Transaction Services Agreement between GM and Delphi

Exhibit 9.3.2.A      Company Asset Sale Agreement

Exhibit 9.3.2.B      Company Share Transfer Agreement

Exhibit 9.3.3        Transition Services Agreement between Company Buyer and GM

Exhibit 9.3.4        Seller Transition Services Agreement

Exhibit 9.3.5        Company Bill of Sale

Exhibit 9.3.6        Company Assignment and Assumption Agreement



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Exhibit 9.4.2     Form of Special Warranty Deed for Owned Real Property




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                                     Exhibit 7.9

                  Post-Confirmation Reorganized DPH Holdings
                             Share Trust Agreement

                  [To be filed on or before the Exhibit Filing Date]
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                                    Exhibit 7.11

                          Management Compensation Plan

                  [To be filed on or before the Exhibit Filing Date]
05-44481-rdd Doc 16646-2 Filed 06/01/09 Entered 06/01/09 12:14:03 Exhibit
    1-A-1 Plan Exhibits Including Master Disposition Agreement Pg 136 of 139



                                    Exhibit 7.17

                        Delphi-PBGC Settlement Agreement

                  [To be filed on or before the Exhibit Filing Date]
05-44481-rdd Doc 16646-2 Filed 06/01/09 Entered 06/01/09 12:14:03 Exhibit
    1-A-1 Plan Exhibits Including Master Disposition Agreement Pg 137 of 139



                                    Exhibit 7.19

                             Retained Causes Of Action

                  [To be filed on or before the Exhibit Filing Date]
05-44481-rdd Doc 16646-2 Filed 06/01/09 Entered 06/01/09 12:14:03 Exhibit
    1-A-1 Plan Exhibits Including Master Disposition Agreement Pg 138 of 139



                                   Exhibit 8.1(a)

             Executory Contracts And Unexpired Leases To Be Rejected

                  [To be filed on or before the Exhibit Filing Date]
05-44481-rdd Doc 16646-2 Filed 06/01/09 Entered 06/01/09 12:14:03 Exhibit
    1-A-1 Plan Exhibits Including Master Disposition Agreement Pg 139 of 139



                                    Exhibit 10.5

                        Administrative Claim Request Form

                  [To be filed on or before the Exhibit Filing Date]
